     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 1 of 282



 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Friday, July 28 , 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:4 5 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS TESTIMONY AND PROCEEDINGS             AS
15       RECORDED AND REQUESTED BY COUNSEL.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 2 of 282



 1                               I N D E X

 2                         DIRECT       CROSS    REDIRECT   RECROSS

 3 Reece Whiting                        16       103        109

 4 Raquel Whiting          115          117      135

 5 Lavon Dobie             179

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23                                                          Page

24 Reporter's Certificate                                   28 2

25 Concordance                                              28 3




                                                                   Page   2
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 3 of 282



 1           THE COURT:      Counsel , a couple   of matter s.      I am

 2 concerned    about the pace of the case , and I want you to

 3 know that I'm explori ng options        which would include

 4 sitting    next Monday    -- not next Monday , but the

 5 follow ing Monday .

 6           MS. JOHNSTON:      As I told the court , I will be

 7 out of town that day .        I have child care

 8 responsibilities       that will put me in New Jersey , based

 9 on the court 's prior schedule .

10           THE COURT:      We may be going later than 5 o'clock

11 or start ing at 9:00 .      I can't sit this Monday .          We have

12 this Monday    comi ng up for the charge       conference .      I

13 want you to know to bring your toothbrush , because

14 we're going to start that charge         conference    at 2:00

15 with all counsel       and parti es present , and we're going

16 to get the instruction s whip ped into shape as long as

17 it take s.    I mean , I can't have , you know , end less

18 charge    conference s.    I've made a lot of effort to go

19 through    those instruction s from begin ning to        end and

20 put in everything       I thought   was appropriate , leavi ng a

21 few issue s for discussion .        It would certain ly seem to

22 me that from 2:00 to 5 o'clock         we should    be able to get

23 those instruction s whip ped into shape .          If I run into a

24 large number    of issue s, I'm going to address         and

25 resolve    that large number     of issue s on Monday , because




                                                                  Page     3
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 4 of 282



 1 I really     have to get them done .

 2           Mr. Suss man .

 3           MR. SUSSMAN:       Two thing s I want ed to re mind the

 4 court .     I mention ed that I have a status       in D. C. and

 5 have somebody     stand in for me .     I did submit        stuff in

 6 writing .     The second    thing I want ed to ask the court is

 7 the draft instruction s that you've         given , just to save

 8 time .    They include     all of the kind of housekeeping

 9 kind of thing s you tell the jury .         I remember       when I

10 read it there was nothing         about note taking .        You know ,

11 the kind of thing s that obvious ly .        --

12           THE COURT:       I gave them a preliminary

13 instruction     on note taking .     That was covered        in the

14 preliminary     instruction s.     What is not in the written

15 instruction s, which I'm going to do in this case , is

16 that I'm going to give them the verdict            form .     I'm also

17 going to give them the instruction s in writing               when I'm

18 finish ed , and I will probably       spend a couple        of minute s

19 -- not with a speech        in front of me -- explain ing the

20 verdict     form to them and tell ing them it 's arrange d

21 defendant     by defendant , offense    by offense , and that

22 they need to complete        this so that they have some -- I

23 want them to see the verdict         form before    they hear the

24 closi ng argument      so that they can really      understand

25 when they're     listening    to you and , you know , listening




                                                                   Page   4
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 5 of 282



 1 to you in a mean ing ful way , know ing that once they've

 2 listened     to you and evalu ated all the evidence , they

 3 have to fill this form out .            It will b e better      to see

 4 the form before       that closi ng argument       process     begin s.

 5            MS. JOHNSTON:       Your Honor , can we perhaps

 6 resolve     the issue of which call s the court is going to

 7 allow them to play through            Sergeant   Sakala ?

 8            THE COURT:      I've asked to be provided          with the

 9 reason    for the call s.

10            Are counsel     ready to give that to me ?

11            MS. JOHNSTON:       Your Honor , my suggestion        is ,

12 could we do that Monday         afternoon    so that Tuesday

13 morn ing --

14            THE COURT:      On Monday ?    If I haven't       got it

15 before    then .    I hope we can get it today , if not Monday

16 morn ing.     I want to have from the defense,              with respect

17 to each call you want to play , you know , some precise

18 few words as to why that call is appropriate                  to be

19 play ed and we a can address           that Monday   as well .

20            MR. MONTEMARANO:       Mr. McKnett and I will

21 provide     that , as well .    Your Honor has already          ruled

22 that the call s -- we can authenticate             the call s by

23 having    a par ticipant    speak :     For example , Marsha Jean

24 West, LaNora Ali.        Y our Honor has ruled those will be

25 admissible .       We have now reduced      the body of call s in




                                                                     Page     5
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 6 of 282



 1 contention     to a bare hand ful .     Most of them are exact ly

 2 what the court has ruled are permissible , and in deed we

 3 winnowed    call s --

 4            THE COURT:   I've made some rulings       on admissible

 5 in general .     I said you need to tell me how the

 6 specific    call fit s the parameter s that I've indicated

 7 are appropriate .

 8            MR. MONTEMARANO :   Then we will provide        the court

 9 an explanation     as to each call .      We'll do it either        via

10 fax or via E- mail to Mr. Krinsky 's E- mail address .

11            THE COURT:   Let me re mind -- maybe my

12 recollection     is not perfect    on this , but I think what I

13 ruled was there was basically          two categori es that I

14 thought    the play ing of further      call s by Sergeant    Sakala

15 would be appropriate .      One was when there was an

16 excerpt    play ed and you felt in fairness       and

17 completeness     the balance   of the call s should       be play ed ,

18 and if we're in that territory          there 's -- just tell me

19 that 's what it is .     The other would be in the nature             of

20 show ing or testing     Sergeant   Sakala 's opinion      about

21 those call s in which he did give an opinion            and testing

22 him as to why didn't      he take into account       this one

23 which talk s about actual      ticket s to a show or actual

24 dresses    being sold , whatever      the case may be .     Those

25 are the two major rulings       that I made .




                                                                 Page     6
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 7 of 282



 1            I don't know     anything   about these call s, so you

 2 need to give me , before        the conference    on Monday , the

 3 reason s for each call being appropriate            under those

 4 rulings .

 5            MR. MONTEMARANO :     We will be happy to do that .

 6 We have given a reasonably          final version    of the mass of

 7 call s.     Because   a few of the call s were request ed by

 8 Mr. Martin , he had not yet seen the final book , and he

 9 is going to double        check those and get back to us and

10 make sure all of his call s are there .

11            At this point , from Mr. McKnett        and me, the book

12 has been as sembled .       It was pro duced.     I pick ed up the

13 30 copies     this morn ing .    The government     is provided   a

14 copy , Mr. Krinsky      has one in on the bench in front of

15 him --

16            THE COURT:     We will   go through    that Monday   as

17 well .

18            MS. JOHNSTON:      In that regard , we did prepare         a

19 limiting     instruction.

20            THE COURT:     You 've got to give it to me .

21            MS. JOHNSTON:      We had draft ed one .    Let me pass

22 two cop ies to    the court and pass out to counsel          copies

23 for defense .     I will give that to Mr. Krinsky .

24            MR. SUSSMAN:      Judge , probably    just my role in

25 this case , I've had time to think about these kinds of




                                                                Page         7
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 8 of 282



 1 thing s.     One of the thing s that I think we've never

 2 gotten , and Ms. Johnston           -- some of the defendant s got

 3 dropped     out of the indict ment at the last minute

 4 because     of plea s.    So the number s on the indict ment --

 5 I'm not sure the numbering            on the current   indict ment ,

 6 the last , match es the number s on the verdict            form in

 7 term s of the count s.        If they do , I'm wrong .      But I

 8 think that --

 9            THE COURT:      I believe    that the verdict    form is

10 appropriate .     It does n't have the defendant s who are no

11 long er on trial in it .

12            MR. SUSSMAN :     Well , I have not seen a copy of

13 the indict ment that would be the final one .

14            MS. JOHNSTON:      I don't think    the court sen ds a

15 copy of the indict ment back .

16            THE COURT:      I'm not going to be send ing the

17 indict ment back to the jury .           The instruction s that I'm

18 giving     quote or para phrase       the charge   as to each

19 defendant .     So , they're       not going to be sitting      there

20 with an indict ment in front of them .

21            MR. SUSSMAN:      The verdict    form is last -- in its

22 last lifetime     and has     the correct    numbering   of the

23 count s as they go .

24            THE COURT:      Yes .    I'll ask you , as officer s of

25 the court , to make sure we have the numbering              correct ,




                                                                   Page    8
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 9 of 282



 1 but I believe     the last time we look ed at the verdict

 2 form that it was appropriate .

 3            MS. GREENBERG:    Your Honor , there 's been some --

 4 counsel     have highlight ed some min or typ os during          the

 5 course     of this case and clean ing up the line s and

 6 maki ng sure they're      exact .     We'll bring a clean , exact

 7 copy to court on Monday          and give everybody      a copy and

 8 give the court one on disk .

 9            THE COURT:    We will walk through         the verdict

10 form on Monday , too .

11            I don't want to pro long our delay for the jury ,

12 but I will tell you this .           With regard     to the issue we

13 were discuss ing at the end of the day yesterday , I

14 don't believe     that the inquiry       begin s and ends with the

15 case s that you've      given me in term s of bring ing in a

16 conviction     under 60 9(a) .      I don't think     that excludes

17 consideration     of 404 (b) .

18            The matter s that the prosecution          has been

19 bring ing out in its cross-examination              are not mere ly

20 going into de tail s of the crime s beyond            the essential

21 matter s which would arguably          be not authorize d by 609

22 but , rather , are matter s that may be considered under

23 404 (b).     I'm under 404 (b).       I'm inclined , after the

24 con clusion    of this witness , or wherever          this happen s,

25 to give a 404 (b) instruction          explain ing to the jury the




                                                                    Page   9
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 10 of 282



 1 fact of these convictions            is before     them and may be

 2 considered     under our evidence        rule s.     The times of

 3 these convictions        that have been brought         out in the

 4 question s are before       them .     I will give them the 404 (b)

 5 instruction     that limit s it to say that they may

 6 consider    it for these other purpose s.

 7            MS. GREENBERG:      Your Honor , just to complete          the

 8 record   -- I appreciate       the court 's ruling , but one

 9 thing that is quite clear from -- that adds to this

10 witness ' t estimony      is he has testifi ed that he didn't

11 need ticket s in the phone call s and that he was n't

12 deal ing drug s with      Paulette     Martin .     The jury can

13 assess   his credib ility as         a long -term , large scale drug

14 trafficker     since 19 68 .    So , that is of course

15 in dependent    of the    404 (b) and 609 analysis .        I just

16 want ed to make that on the record           in this case .

17 There 's an appeal       issue on this --

18            MR. HALL:     Just a couple     of points,     Your Honor ,

19 and I don't want to be labor it since the court has made

20 the ruling     after readdin g the government 's memorandum

21 and the case s that I cite d yesterday .              However , first

22 of all , I appreciate       the fact the court is going to

23 give the 404 (b) limiting        instruction        after my client

24 has complete d his testimony           or whenever     the court feel s

25 is appropriate .       Obvious ly , I dis agree with the court




                                                                   Page 10
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 11 of 282



 1 based upon what I cite d yesterday .            I would poin out

 2 that the government 's memorandum            actual ly is referring

 3 to a case that is the conflict           between    608 and 404(b)

 4 not 609 , which is impeachment .

 5            Nevertheless , what I'm going to ask the court to

 6 do , so I don't have       to continue      to interrupt      counsel 's

 7 cross , is to give me a continui ng objection                to any

 8 further    de tail s comi ng out regard ing the fact s which

 9 under lie the prior convictions .

10            THE COURT:     In the absence      of any objection         from

11 the government , I will give you that continui ng

12 objection .

13            MR. HALL:     Thank you , Your Honor .

14            MR. MONTEMARANO :    Your Honor , I have          one thing I

15 would like to put on the record             in re viewing     the

16 government 's memorandum       and arguments made yesterday

17 relative to the cross-examination             by the other

18 defendant s of defense       witness es .     In particular ,

19 codefendant s.     I point the court to the follow ing --

20 and I do not wish this to sound as confrontation al as

21 it does , but I am obligated        to make the record          in a

22 complete    fashion .

23            The Supreme    Court has spoken to this issue

24 previously.      They did it in United         States   versus

25 Dennis.    They admitted      either   487 or 488,      in




                                                                       Page 11
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 12 of 282



 1 Pennsylvania     v Ri tchie .     Defense     counsel    is the person

 2 sole ly and best suit ed to determine            what evidence      is of

 3 utility     to his defense .

 4            If the court is to limit my cross of anybody ,

 5 but especially        any defense    witness , including      Mr.

 6 Whiting , the court cannot          begin to understand       where I

 7 am going , because       maybe even I don't .

 8            THE COURT:     I haven't     complete ly excluded        you

 9 from cross-examination       , Mr. Montemarano .

10            MR. MONTEMARANO :       I didn't    suggest     that for a

11 second .     But to the ex tent you limit my cross , Your

12 Honor , you are creat ing a Bruton            on issue .    He is

13 being permitted        to speak , and I am not being allow ed my

14 full cross- examination         as I, in my discretion        as

15 defense     counsel   am indeed.    To that extent,         while I was

16 not un happy with what I was able to get from Mr.

17 Whiting     -- but we had a long discussion             about that at

18 the bench , and I believe         the court understand s my point

19 of view .     I'm driving    this bus , with all due respect ,

20 to the court .

21            THE COURT:     All right .     You're   drivi ng the bus ,

22 but I'm in charge        of the signals at the          inter section s.

23            MR. MONTEMARANO :       I understand    that , Judge , and

24 I'm not wish ing to be --

25            THE COURT:     When I say stop , you have to stop ,




                                                                      Page 12
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 13 of 282



 1 even though --

 2          MR. MONTEMARANO :       I don't question     that .    I

 3 understand     that cross is vested     in the court 's

 4 discretion .

 5          THE COURT:     I don't think       we have come to the

 6 point where I have to put a red light in front of you .

 7 I have   put caution    light s in front of you , and I think

 8 there is a light that I may pull as red , but please

 9 don't do go there .

10          MR. MONTEMARANO :       I simply    want ed the court to

11 understand     where I am comi ng from .      It is not just a

12 mad de sire to hear my own voice .

13          THE COURT:     I have    not shut you down yet .

14          MR. MONTEMARANO :       Thank you , Your Honor .

15          THE COURT:     Without    any thing further , I am going

16 to bring them in and I am going to tell the jury we're

17 not sitting     next Monday   because   we are confer ring on

18 other matter s in this case ; I am going to tell them I

19 will be constant ly consulting        with counsel for      both

20 sides about our progress , and if I am concerned               that we

21 are not maki ng sufficient        progress , I will have to

22 explore additional hours or additional days.              I already

23 told them we would go into a two -week recess            and return

24 --

25          MS. JOHNSTON:      Your Honor , has the court made




                                                                  Page 13
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 14 of 282



 1 arrangements , if they are in deliberation s, to have

 2 another     judge preside    over the deliberation s while

 3 you're     gone so that this jury doesn't have           to be --

 4            THE COURT:    If that happen s, I'll make that

 5 arrangement .     I mean , if they're       deliberati ng and I

 6 have my non- refundable       tickets    -- I covered     one for

 7 Judge Williams     once , an d we got him on the speaker

 8 phone so he could talk to his juror s.

 9            MS. JOHNSTON:     It just would make more sense .                    I

10 know we have one college          student   who is going to have

11 to go back to school .

12            THE COURT:    I am will ing to     do everything        I can

13 to get this case over with my by then .               If they're

14 deliberating, they can deliberate with another judge                    .

15            MR. MONTEMARANO :        One last matter    concern ing

16 scheduling .     I have an appointment with my "orothopod                   "

17 next Thursday , the third , at 7:30 in the morn ing .               I

18 reasonably     believe   I will     be here by 9:30 .     I'm

19 literal ly the first appointment .           I made sure it was as

20 early as possible .        I will    be going to his office

21 dress ed for court and leavi ng direct ly from .            I want ed

22 to advise     the court there is at least        the possibility ,

23 if we're start ing at 9:00, that I will           be dragging       a

24 little .     I can't imagine      I won't be here by 10:00 , but

25 it's not up to me .




                                                                   Page 14
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 15 of 282



 1            THE COURT:   Ms. Johnston , what was the        day you

 2 said you could not be in court?

 3            MS. JOHNSTON:     Monday , August   7.

 4            THE COURT:   The whole day?       Not at all?

 5            MS. JOHNSTON:     I'm not suppose d to be here that

 6 whole week , quite frankly , and I have         a commit ment to

 7 my ten year -old god son .

 8            THE COURT:   I will   be explori ng , then , early and

 9 late hour s, as long as       it take s to get it done .

10            Counsel , are we ready ?     I'm going to bring them

11 in now .

12                   (Witness   resumes   the stand .)

13                   (Jury return s at 10 :01 a.m. )

14            THE COURT:   Good morn ing , ladies and gentlemen           .

15 Sorry for the delay .        I was resolving    some

16 administrative     matter s, and the sentencing        took a

17 little     long er than I thought .    We are going to go today

18 until plus or minus 4: 15 and get you out of here so you

19 don't have any problem s.        We will not sit next Monday .

20 I don't want you to        think we're not maki ng any progress

21 in this case .     I am meet ing with the attorney s on some

22 legal matter s that I have to deal with for a good part

23 of Monday , and this is not my only case , so I have some

24 other matter s to attend       to in some other case s on

25 Monday .




                                                                Page 15
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 16 of 282



 1          The same thing appli es to the follow ing Monday .

 2 We will not be sitting         on that Monday .    That case --

 3 that day is just jam pack ed because          of the huge

 4 problem s cause d by this       case evaporati ng my calendar .

 5 I am going    to be explori ng other option s, if we're not

 6 maki ng enough     progress , of going earlier      or later , and

 7 I'll keep you apprise d of that , but we're going to try

 8 to go as absolutely         efficient ly as we can , and I'm

 9 push ing everybody , including       myself , to get this thing

10 done in time .      With that , we will proceed .

11          Ms. Green berg .

12          MS. GREENBERG:        Your Honor , may I approach      the

13 witness ?

14          THE COURT:     You may .

15                     FURTHER CROSS-EXAMINATION

16          BY MS. GREENBERG:

17 Q.       Sir , to get back to our chart which we left off

18 with yesterday .      Where we left off yesterday , sir , we

19 were talk ing about your 19 94 arrest         and conviction     in

20 the Eastern      District    of Virginia , the Virginia     U. S.

21 Attorney 's office , a federal       conviction , and we had

22 talk ed about the two trip s, if you recall , that you

23 sent Ms. Wither s on to Tokyo to get heroin ; correct ?

24 Multi -kilo s of heroin ; is that correct ?

25 A.       Yes .




                                                                Page 16
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 17 of 282



 1 Q.       And we had gone on to Ms. Free man when we

 2 stopped .    Do you recall      that ?

 3 A.       Do .

 4 Q.       We're talk ing about Ms. Freeman , and I was

 5 asking   you about your role in pick ing her up at the

 6 Washington      National   Airport .     This is reference d in

 7 Miscellaneous      32 , your Statement      of Fact s, and you

 8 talk ed about your role of pick ing her up at the

 9 Washington,      D. C. National    Airport , now name d the

10 Ronald   Reagan    airport , on November      12 , 19 91 .   You went

11 there to pick her up to get her and the heroin ;

12 correct , sir ?

13 A.       No .

14 Q.       She was comi ng back from San Francisco             and she

15 was suppose d to meet you there ; is that correct ?

16 A.       She was suppose d to meet me there , yes .

17 Q.       But she didn't , because          she had been arrested       by

18 law enforcement      official s in San Francisco .

19          MR. HALL:     Objection .

20          Basis for knowledge .

21          THE COURT:        If he know s.

22          BY MS. GREENBERG:

23 Q.       You later learn ed she had been arrested             by law

24 enforcement      authorit ies in   San Francisco ; correct ?

25 A.       Yes .




                                                                  Page 17
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 18 of 282



 1           MR. HALL:      Object ion .

 2           BY MS. GREENBERG:

 3   Q.      In fact , you did n't meet her there that day to

 4 pick up the heroin; is that correct?

 5 A.        I did not.

 6 Q.        You went there in order to meet her; correct?

 7 A.        I did.

 8 Q.        You park ed your Jaguar in the vicinity            of th e U.

 9 S. Air terminal       that day , on November      12 , 19 91 ;

10 correct ?

11 A.        No .

12 Q.        So , this Statement      of Fact s that 's contain ed in

13 Miscellaneous       32 that says as follow s, "O n November         12 ,

14 19 91 , in Arlington , Virginia , within         the Eastern

15 District     of Virginia,      Reece Coleman    Whiting , Jr.

16 arrive d at Washington National         Airport    and park ed his

17 burgundy -colored       Jaguar in the vicinity      of the U. S.

18 Air terminal ."       You're    say ing that 's not correct ?

19 A.        No , that 's not correct .

20 Q.        You sign ed this document       that said , "A fter

21 consulting       with my attorney , an d pursuant      to the plea

22 agreement     entered    into this day between      the defendant .

23 Reece Coleman       Whiting    and the United    States , I here by

24 stipulate     the above Statement s of Fact s as true an d

25 correct     and that had the matter       proceed ed to trial , the




                                                                    Page 18
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 19 of 282



 1 United States       would have prove n the same beyond a

 2 reasonable doubt ."       That 's your signature ; correct ?

 3 A.       That is my signature , yes .

 4 Q.       In June of 19 94, you stipulate d that that fact

 5 was correct .

 6 A.       No .     What I stipulate d in June of 1994 was that

 7 I park ed my car , I think , near the Hilton         hotel in

 8 Washington , D. C.       My accomplice , Mr. Phillip s, was at

 9 National    Airport , and he was in contact        with me by

10 telephone    let ting me know what the situation         was .

11 Q.       Okay .     Let 's see if we can read along .

12          Do you see Paragraph       10 in front of you ?         Do you

13 see that on your screen ?

14 A.       Yes .

15 Q.       Is it work ing okay ?

16 A.       Yes .

17 Q.       Are you able to read that ?

18 A.       Yes .

19 Q.       Could you read that first sentence           under

20 Paragraph    10 ?

21          MR. HALL:      Your Honor , I'm going to object .

22          This has now been asked and answered .            It 's

23 going back over the same --

24          MS. GREENBERG:      Your Honor , he 's say ing he

25 stipulate d to something      different .     I want to ask the




                                                                 Page 19
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 20 of 282



1 witness      what he stipulate d to .

2           MR. HALL:       Your Honor , counsel      just read this

3 portion .

4           THE COURT:       You jus t read it to him .      He does n't

5 have to read it out loud .

6           BY MS. GREENBERG:

7 Q.        Sir , you're     say ing you stipulate d to something

8 not contain ed in this document ?

9 A.        I'm say ing that Phillip s was at Washington

10 National     Airport    and I was in Washington , D. C. , and we

11 were in contact        by phone .     There was no need for me --

12 for Phillip s and I both to be at Washington N ational

13 Airport .

14 Q.       Sir , just to be clear , and so the jury can see

15 it on their screen .        This is Mi scellaneous      32.   Is that

16 your signature     right here ?

17 A.       That is my signature , yes .

18 Q.       In June 19 94 ?

19 A.       Yes .

20 Q.       And to continue       with your -- you admitted       this

21 was all true and correct            before   the judge in Virginia ;

22 correct ?

23 A.       I did .

24 Q.       And just to continue          with your stipulation .      Is

25 it correct , sir , at your direction            a woman entered   the




                                                                 Page 20
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 21 of 282



 1 terminal     and approach ed U. S. A ir represent atives ,

 2 identifi ed herself      as Ms. Freeman 's sister      and asked

 3 the representative      --

 4            MR. HALL:    Your Honor , again , I'm going to

 5 object   for the same reason .

 6            THE COURT:    Over ruled .

 7            BY MS. GREENBERG:

 8 Q.         -- a nd ask that the representative        to give

 9 Free man a message      to go to the Washington      Hil ton in

10 Washington , D. C. ?     D id you do that , sir ?

11 A.         Yes .

12 Q.         Now , this jaguar we're talk ing about on this

13 subject .     Is this the Jaguar       you purchase d with Ms.

14 Martin 's help ?

15 A.         No .

16 Q.         It 's a different   one ?

17 A.         Yes .

18 Q.         What color was the one that you purchase d with

19 Ms. Martin 's help ?

20 A.         The Jaguar   that I purchase d with Ms. Martin 's

21 help is a gray Jaguar        that was a 19 94.     I pur chased    it

22 in 2000 .     This Jaguar    I had in '91 .

23 Q.         What were the tag s?        Were the tag s on the Jaguar

24 you purchase d with Ms. Martin 's help Maryland           tag s or

25 Illinois     tag s?




                                                                Page 21
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 22 of 282



 1 A.        The Jaguar     that I purchase d with Ms. Martin 's

 2 help had neither        of those tag s on it .     It had

 3 Washington , D. C. tag s -- still does have Washington ,

 4 D. C. tag s.

 5           This Jaguar     has Illinois     tag s on it .    (Witness

 6 indicating.)

 7 Q.        Just to be clear .         In 19 91 , you had a burgundy

 8 Jaguar    with Illinois        tag s, and in 19 92 , 1993, 1994,

 9 when you're       deal ing with Ms. Martin , you had a Jaguar

10 with D. C. tag s that was gray .

11 A.        No .     You are wrong .

12           MR. HALL:      Objection .

13           Mis state s the testimony , Your Honor .

14           BY MS. GREENBERG:

15 Q.        What color was your Jaguar          in 19 92 , 19 93 and

16 19 94 ?

17 A.        It was red .     Burgundy .

18 Q.        In 2002 , 2003 , 2004 , what color was your Jaguar ?

19 A.        Burgundy .

20 Q.        Burgundy ?

21 A.        Yes .     I didn't    get the Jaguar   that I got with

22 the help from Ms. Martin           until the year 2000 .

23 Q.        Okay .     The Jaguar    that you got in the year 2000 .

24 What color was it ?

25 A.        It 's gray .




                                                                  Page 22
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 23 of 282



 1 Q.        What kind of tag s did it have on it ?

 2 A.        Washington , D. C.

 3 Q.        Thank you .

 4           Get ting back to the situation        in 19 91 .      You

 5 didn't    approach    Ms. Freeman   at all , did you , that day ?

 6 A.        No .

 7 Q.        Were you aware that law enforcement               had arrested

 8 her prior to her comi ng back from Washington , D. C?

 9           MR. HALL:     Objection .

10           It 's been asked and answered , Your Honor .

11           THE COURT:      Over ruled .

12           BY MS. GREENBERG:

13 Q.        Were you aware that law enforcement               arrested   her

14 when she got back -- before         she got back to Washington ,

15 D. C. ?

16 A.        Yes .

17 Q.        In Arlington , Virginia ?

18 A.        Yes .

19 Q.        Is that why you didn't         approach   her ?

20 A.        Yes .

21 Q.        How much was Ms. Freeman         paid for this trip ?

22 A.        I don't remember      the exact figure .          It was maybe

23 Ten , Fifteen,    $20,000 .    I don't know     what the exact

24 figure    was , because   it 's some time ago .

25 Q.        How about Ms. Wither s?         Would she be about the




                                                                    Page 23
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 24 of 282



1 same amount ?       $10,000 -20,000 ?

2 A.        Yes, ma'am .

3 Q.        How many other courier s did you send over to

4 Japan or Thailand       to pick up heroin        for you ?

5 A.        None .

6 Q.        Just those two ladi es ?

7 A.        That 's correct .

8 Q.        At the time you were operati ng with -- who were

9 you operati ng with as a suppli er ?

10 A.       I don't know     what you're    talk ing about .

11 Q.       Who was the suppli er of this heroin ?              Phil

12 Phillip s?

13 A.       Phil Phillip s and I were in business              together ,

14 yes , but he was n't a suppli er of the heroin .

15 Q.       Is he the individual        that -- this source        of

16 heroin   from Thailand     and Japan ?

17 A.       No .     We both had the source .

18 Q.       Who was the person        over in Thailand     and Japan

19 that you had heroin       from ?

20 A.       His name is a Achoochi .

21 Q.       Could you spell that for the record ?

22 A.       I don't know     how to    pell it .

23 Q.       Phonetically,     just to help the       court reporter .

24 A.       A C H O O C H I.

25 Q.       But you're     -- back in the time period           we're




                                                                   Page 24
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 25 of 282



1 talk ing about here , the early nineties , your heroin

2 deal ing didn't       stop with these courier s going over to

3 pick up multi -kilogram         quantiti es of heroin      for you ,

4 did it ?

5 A.         It did not stop ?

6 Q.         Did not stop with those two ladi es going to pick

7 up -- courier s pick ing up heroin           for you .    You

8 continued     to deal heroin ; is that correct ?

9 A.         Yes .

10 Q.        In fact , on two occasion s you provided             heroin   to

11 what turn ed out to be a confident ial informant               for law

12 enforcement ; correct ?

13 A.        Yes .

14 Q.        On December     17 , 19 93 , specifically , you provided

15 personally     one and a half ounce s of heroin          to what

16 turn ed out to be a confidential         informant      for $10,000

17 in official       government   funds ; correct ?

18 A.        That 's correct .

19 Q.        On February     10 , 19 94, you distributed      about a

20 half ounce of heroin       to what turn ed out to be a

21 confidential       informant   for $3,500    in government      funds ;

22 correct ?

23 A.        Yes .

24 Q.        You didn't    know at the time that they were

25 confidential       informant s you were deal ing drug s to.




                                                                   Page 25
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 26 of 282



 1 A.         I did not know that she was a confidential

 2 informant?

 3 Q.         Correct , sir .

 4 A.         No , I didn't know     at the time .

 5 Q.         We're talk ing about November      19 84 when   you got

 6 an eight -year and three month sent ence.           W hen did you

 7 get out of jail for that ?         You said in approximately

 8 when ?

 9 A.         '88 .

10 Q.         And we talk ed about you send ing courier s over to

11 Thailand     and J apan in approximately      19 90 .   Between

12 19 88 and 19 90 , were you deal ing drug s?

13 A.         Yes .   But I didn't    start courier s to Japan

14 until , I think it was '91 .

15 Q.         Would you agree , sir , that in about August           19 90

16 you start ed -- at least        in August   19 90 you start ed

17 deal ing drug s again ?

18 A.         Yes .

19 Q.         And that was in what sense , if you weren't

20 send ing courier s over ?

21 A.         What do you mean , "in what sense ?"

22 Q.         What sense were you deal ing drug s?

23 A.         I don't understand      the question .

24 Q.         How were you deal ing drug s if you weren't

25 send ing courier s over to Japan ?




                                                                Page 26
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 27 of 282



 1 A.        We had drug s comi ng before          I start ed send ing

 2 courier s to Japan .

 3 Q.        In what quantiti es were you get ting drug s?

 4 A.        I don't know .       Kilo s.

 5 Q.        Kilogram s of what ?

 6 A.        Of heroin .

 7 Q.        Start ing when ?

 8 A.        I don't remember         the date .

 9 Q.        How long after your re lease from the Mexican

10 prison    -- from prison      after the Mexican       conviction ?

11 A.        I don't know .       A year or so .

12 Q.        And you were get ting kilogram           quantiti es --

13 A.        Yes, ma'am .

14 Q.        -- of heroin .

15 A.        Yes, ma'am .

16 Q.        When you were caught           with this pistol   without       a

17 license , were you deal ing drug s during            that period     of

18 time , October       3rd 19 92 ?

19 A.        Yes .

20 Q.        Were you also friends           with Ms. Martin   during

21 this period       of time that we're talk ing about , 19 88

22 through    19 94 ?

23 A.        I've been friends         with Ms. Martin    since about

24 19 81 -82 , somewhere      around   there .     I'd like to add that

25 Ms. Martin     was not part of this project .




                                                                  Page 27
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 28 of 282



 1 Q.          All right , sir .

 2             Were you aware that there was a search             warrant

 3 at Ms. Martin 's school         of perform ing art s on April 26 ,

 4 19 94 ?

 5             MR. HALL:      Objection .

 6             THE COURT:      Over ruled .

 7             MR. HALL:      It 's outside    the scope , Your Honor .

 8             THE COURT:      Over ruled .

 9             THE WITNESS:      No .

10             BY MS. GREENBERG:

11 Q.          Were you aware that there was heroin            seize d from

12 her school         of perform ing art s during    that search

13 warrant      on April 26 th of 19 94 ?

14 A.          No .

15             MR. HALL:      Objection , Your Honor .

16             If he 's not aware of the search           warrant , he 's

17 not aware of what was seize d.

18             THE COURT:      Over ruled .

19             BY MS. GREENBERG:

20 Q.          You were friends         with Ms. Martin    at this time ?

21 A.          Yes .    I've been friends      of Ms. Martin     since

22 '81 -82 .

23 Q.          Close friends ?

24 A.          Yes .    But I was not in contact      with her during

25 this period .




                                                                    Page 28
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 29 of 282



 1 Q.         Did she at any time tell you she was arrested                as

 2 a result     of a search     which re covered      heroin   at her

 3 school   of perform ing art s in 19 94 ?

 4 A.         No , she did not make me aware of that .

 5 Q.         Between    the time that you start ed deal ing heroin

 6 in kilogram     quantiti es of heroin , one year later ,

 7 approximately        19 99 , until your arrest        in March of 19 94 ,

 8 was your heroin        deal ing continuous       during   that period

 9 of time ?

10 A.         I did not deal heroin         in 19 99 .

11 Q.         I'm sorry .    From 19 89 -- you said one year after

12 your re lease ; is that correct          --

13 A.         That 's right .

14 Q.         -- from the jail , you start ed deal ing heroin            --

15 kilogram     quantiti es of heroin       until your arrest       in

16 March of 19 94 .       Was your heroin        deal ing continuous

17 during   that period      of time ?

18 A.         During    that period   of time , yes .

19            MS. GREENBERG:      Your Honor , for the record , this

20 is Chart 15 , and I believe           I am done with that chart .

21            MR. WARD:     You don't mind if I move it so that I

22 can see the witness .

23            THE COURT:     Certain ly .

24            MR. WARD:     Thank you .

25            BY MS. GREENBERG:




                                                                    Page 29
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 30 of 282



 1 Q.        Sir , on the date of your arrest        by law

 2 enforcement       authoriti es in Virginia     on March 28 of

 3 19 94 , they provided     you with your Miranda      right s, and

 4 you agreed to cooperate         with them ; correct ?

 5 A.        I was not arrested      in Virginia .

 6 Q.        By the authoriti es in Virginia .

 7 A.        Yes .

 8 Q.        They arrested     you and they gave you Miranda

 9 right s, and you talk ed to them about corroborati ng ;

10 correct ?

11 A.        Yes .

12 Q.        And you said you want ed to help them get other

13 drug deal er s; correct ?

14 A.        No .

15 Q.        Did you specifically      say to them that you could

16 provide     information   on the apprehension      of three

17 international       smuggling   group s --

18 A.        Yes .

19 Q.        -- but first you want ed to talk with your legal

20 counsel ?

21 A.        That 's right .

22           MR. MONTEMARANO :      Objection .

23           Your H onor , may we approach ?

24                     (At the bar of the Court.)

25           MR. MONTEMARANO :      Any trial attorney     with Ms.




                                                                 Page 30
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 31 of 282



 1 Greenberg 's experience       who bring s up the ability        of a

 2 criminal    defendant     or an arrestee     to access     counsel    is

 3 only do ing it deliberate ly .          I move for a mis trial on

 4 the part of Ms. Martin .

 5            MR. HALL:     I would join in that , Your Honor .

 6            MS. GREENBERG:      The proffer    is simply     that he

 7 want ed to help .       It was a week later that they met .

 8 It 's just to put it in context           why he didn't     give them

 9 all the information        that day .

10            MR. MONTEMARANO :     Bull .

11            THE COURT:     All right .     I deny the motion     for

12 mis trial ; I will sustain      the objection .     I will

13 instruct    the jury to dis regard        the question .

14            MR. MONTEMARANO :     I will further     request    the

15 jury be instruct ed that that was im proper , and that

16 whether    or not a person     has access     to counsel     is an

17 absolute    right guarantee d by the F ifth Amendment           to all

18 of u s.

19            Most respect fully , Your Honor , forgive         my tone .

20            MS. GREENBERG:      Your Honor , this is 404 (b) .

21 It 's not in relation       to this case .     It 's going    to put

22 his testimony     in context    with his talk s with the agent s

23 and not to mis lead the jury as to what he was do ing

24 during that period        of time .     It is not meant for any

25 other purpose , and it was not deliberate           in any regard .




                                                                  Page 31
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 32 of 282



 1            MR. HALL:     His consultation      with an attorney

 2 though   is not 404 (b) .

 3            THE COURT:      All right .

 4            MR . MONTEMARANO :     Thank you , Your Honor .

 5            MR. WARD:     You forgot      to ask the VIN number s of

 6 the two Jaguar s.

 7            THE COURT:      Now , now .

 8            MR. WARD:     I mean , you know , the rule says that

 9 some latitude     is allow ed , but my God , when we go -- I

10 mean , I thought       she was going to ask him what kind of

11 tire s he had on the car s.         It 's preposterous .

12            MR. SUSSMAN :     Can I make a request ?         I believe

13 my client     is implicate d in multiple        conspiraci es , and

14 now she 's sitting       in a case where she 's accused , I

15 think , of break ing up eight ball s and sell ing dime s.

16 Now there 's evidence        about international        drug

17 smuggling .     I think she can't not be taint ed by this ,

18 and I'm going to request          that she be severed          and a

19 mistrial    be grant ed .

20            THE COURT:      Your motion     is deni ed .    Thank you .

21                   (Back in open court .)

22            THE COURT:      Ladies and gentlemen     , I sustained        an

23 objection     to the last question .         A person     has an

24 absolute    constitutional      right to con sult with          a lawyer ,

25 and I therefore instruct you to disregard the question.




                                                                      Page 32
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 33 of 282



1           BY MS. GREENBERG:

2 Q.        Sir , it was about a    week later that you met with

3 the agents in       this case ; is that correct ?

4 A.        That 's correct .

5 Q.        That was something     you were willing      to do all

6 along ?

7 A.        What 's this ?

8 Q.        This is something     you were willing      to do all

9 along ; is that correct ?

10 A.       It was something     that I did .

11 Q.       You didn't    have any problem s from day one in

12 talk ing to them about these three international

13 smuggling   operation s; correct ?

14 A.       No , I didn't .

15 Q.       You met with Clyde Shelly,       who testifi ed before

16 the jury ; is that correct ?

17 A.       That 's correct .

18 Q.       And you told Clyde Shell y about Phil Phillip s

19 and about the heroin       that we talk ed about here

20 originating      from Thailand ; correct ?

21 A.       Yes .

22 Q.       You talked    to him about what you guy s had done

23 in the past two years and about Ms. Freeman            get ting

24 arrested , and that was connect ed with Mr. Phillip s; is

25 that correct ?




                                                               Page 33
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 34 of 282



1 A.        That 's correct .

2 Q.        You also told these agent s -- again , I'm just --

3 you told them -- the first day you gave them some names

4 and you were being more specific           at a later date;

5 correct ?

6 A.        Okay .

7 Q.        I'm not try ing to say that delay was anything

8 im proper    or bad on your part .

9 A.        I'm listening .

10 Q.       The second     thing hat you talked to        Clyde Shelly

11 and his associate s about was Mr. Riley,           a source   of

12 heroin   operating    in China ; is that correct ?

13 A.       From Hawaii .

14 Q.       Through     Hawaii   from China ; correct ?

15 A.       Yes .

16 Q.       And Mr. Riley live d in California ; is that

17 correct ?

18 A.       That 's correct .

19 Q.       In fact , you gave the DEA, through           Mr. Shelly,

20 information      about Mr. Riley .    In fact , said one of the

21 sells to one of the confidential          informant s that you

22 sold heroin      to was heroin    that you had got ten from Mr.

23 Riley ; is that correct ?

24 A.       That 's correct .

25 Q.       You didn't     tell him about the     third




                                                                 Page 34
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 35 of 282



 1 organization , did you ?

 2 A.        The third organization ?

 3 Q.        No , the third organization .       You didn't    tell

 4 them about that , did you ?

 5 A.        There was no third organization .

 6 Q.        You did tell them on the day of the arrest             that

 7 you had information      on three international        heroin    --

 8 international      smuggling   operation s; correct ?

 9 A.        I did say that , yes .

10 Q.        That was the reason      that your sentence      got

11 reduced    when you were talk ing to counsel        on direct ,

12 because    of your help with those two case s.

13 A.        That 's correct .

14 Q.        During   all these time s that you're       deal ing drug s

15 -- and you 've been a drug deal er since 19 68 -- did you

16 talk to your co conspirator s on the phone ?

17 A.        My co conspirator s on the phone ?

18 Q.        People   you were deal ing cocaine      with and heroin

19 with .    Mr. Phillip s and Mr. Riley .

20           MR. HALL:    Objection , Your Honor .

21           Your Honor , I'm going to object .        I really     -- I

22 have to renew the objection        I made before .      I real ize

23 this court has given counsel         some latitude     as to going

24 into the de tail s of the past , but I think there has to

25 be some end of that .




                                                                Page 35
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 36 of 282



 1            THE COURT:    Over ruled .

 2            Let 's try to rein it in .

 3            BY MS. GREENBERG:

 4 Q.         Did you talk to people       on the phone that you

 5 were deal ing drug s with ?

 6 A.         Yes .

 7 Q.         When you talked    on the phone , did you say the

 8 words "heroin " and "courier " and "im port ing heroin           from

 9 Japan ?"     Did you say those thing s on the phone ?

10 A.         No , I did not .

11 Q.         You spoke in code words ; correct ?

12 A.         No , I did not .

13 Q.         You spoke in some language       where the person

14 would understand , but you would n't have to say "heroin "

15 or "cocaine ;" correct ?

16 A.         I said to them that I need ed to see them .

17 Nothing     else .

18 Q.         Why would n't you say those words on the phone ,

19 sir ?

20 A.         Because   it would be in criminati ng .

21 Q.         You talk ed about Paulette      Martin   and that you

22 didn't     see her for most of 2003 ; correct ?

23 A.         Right .

24 Q.         You talk ed to her over the      phone ; correct ?

25 A.         Yes .




                                                                Page 36
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 37 of 282



 1 Q.       You didn't     see her in 2003 , but the first call

 2 that we talk ed about in March of 2004 you were talk ing

 3 to her about going to a concert ; correct ?

 4 A.       Talk ing to her about ticket s for a concert , yes .

 5 Q.       What concert      was that ?

 6 A.       Any concert      that would be in Ms. Martin 's -- she

 7 would like to go ahead and take me to .              I was

 8 petition ing , because     I didn't have     the money to pay for

 9 the ticket s to go to the concert          -- Ms. Martin     did --

10 so I could n't specify      a specific     concert    to go to .

11 Q.       Did you go to a concert ?

12 A.       No , we didn't , because       I didn't   see Ms. Martin .

13 Ms. Martin    said no .

14 Q.       You were talk ing about going to Mary J.            Blige

15 at Carter Baron Amphitheater?

16 A.       Those were concert s I was aware of , and I was

17 hopi ng she would want to go to some of those concert s,

18 but I could n't specifically        say to her , oh , Ms. Martin ,

19 would you please       buy ticket s for Mary J.       Blige or the

20 Four Top s or somebody      like that .     No , I could n't do

21 that , because     I was n't pay ing for them .

22 Q.       Correct    me if I'm wrong .      I thought    I heard your

23 testimony    correct    on direct   examination .      You said

24 there was Mary J.       Blige concert at the Carter Baron

25 Amphitheater .      I thought   you were very specific        in




                                                                 Page 37
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 38 of 282



 1 that .

 2 A.         No .   I said that -- Mr. Hall asked me what

 3 concert s did I have in mind , or something             to that

 4 effect , and I said Mary J. Blige .

 5 Q.         Was that at the Carter Baron Amphitheater               ?

 6 A.         No , it was not at the Carter Baron.          It was at

 7 the Constitution        Hall .

 8 Q.         When was that ?

 9 A.         Sometime    in ' 04.      I don't remember    exact ly when .

10 Q.         But you never went .

11 A.         No , we didn't     go .    I didn't   see Ms. Mart in in

12 '04.

13 Q.         You weren't      work ing after February      6 of 2004,

14 were you ?

15 A.         No .   I was work ing up until the time I was

16 arrested     on June 1st 2004 .

17 Q.         You weren't      work ing at the Turk House after

18 February     6 of 2004 , were you ?

19 A.         I'm going to say this one more time , Ms.

20 Greenberg .       I was work ing until June 1st of 2004 at the

21 Turk House .

22 Q.         May I have      the next miscellaneous       number ,

23 please ?

24            Sir , I'm show ing you up on the screen          what is

25 Miscellaneous       49 .




                                                                  Page 38
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 39 of 282



 1            MR. HALL:       Your Honor , I'm going to object      to it

 2 being shown to the jury before          it 's actual ly

 3 introduced .

 4            THE COURT:       Show it to him .

 5            BY MS. GREENBERG:

 6 Q.         May I a pproach     the witness ?

 7            Show ing you what 's been mark ed as Miscellaneous

 8 49 .     Is this a document      from the Turk house ?

 9 A.         Yes .

10 Q.         From Mr. Hick ey , the Executive       director ?

11 A.         Yes .

12 Q.         And it's    date d January   23 , 2004 ; is that

13 correct ?

14 A.         Yes .

15 Q.         It 's to you ?

16 A.         Mm-hmm .

17 Q.         It says , Dear Mr. Whiting , the last day we will

18 be able to employ          you in this position   is February    6,

19 2004 ?

20 A.         That 's correct .

21 Q.         That 's Miscellaneous 49 ?

22 A.         Yes, ma'am .      No w, I'd like to explain    that if I

23 can .

24 Q.         Well , your counsel     can ask you question s to

25 explain     that , sir .




                                                                  Page 39
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 40 of 282



 1           THE COURT:      I'll permit      him to explain .

 2           MR. WARD:     Your Honor , that --

 3           THE COURT:      Mr. Ward , I just told him he can

 4 explain    his answer .

 5           BY MS. GREENBERG:

 6 Q.        The court is allow ing you to explain           it now ,

 7 sir .

 8 A.        Thank you Judge .

 9           I was terminate d from the job of the privacy

10 officer    on February     4, '04 -- February      6, '04 and was

11 continued    as the monitor , another         position   at the Turk

12 House until June 1st           2004 .   That can be verifi ed by Dr.

13 Hickey    when he testifi es .

14           MS. GREENBERG:         Your Honor , at this time I' ll

15 mark all of these exhibit s as Miscellaneous 49 .

16           If I may approach .

17           THE COURT:      You may .

18           BY MS. GREENBERG:

19 Q.        Look ing through       this packet .   Is there anything

20 in there to support        that you continued      to be employ ed

21 at the Turk House ?

22 A.        No documentation        here , but Dr. Hickey    wi ll be

23 able to confirm       that .

24           MR. HALL:     Counsel , may I see the document ?

25           BY MS. GREENBERG:




                                                                 Page 40
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 41 of 282



 1 Q.       Your Honor, testimony on         direct , sir -- be sides

 2 going to concert s with Ms. Martin , your testimony             is

 3 that she is not a drug deal er ; is that correct ?

 4 A.       Not to my knowledge .

 5 Q.       And that she only gave you user quantiti es ; is

 6 that correct?

 7 A.       That's correct .

 8 Q.       Anything    you've   heard during the     last couple

 9 week s change   your mind ?

10          MR. HALL:       Objection .

11          THE COURT:       Sustained .

12          BY MS. GREENBERG:

13 Q.       Did you know about the drug s being kept at

14 Paula 's School of Per form ing Art s when you dealt with

15 Ms. Martin ?

16 A.       No .   No , I did not .

17 Q.       Ms. Mart in is somebody        that you love ; is that

18 correct ?

19 A.       Yes , I do .

20 Q.       Is she your sister ?

21 A.       No, she 's not .

22 Q.       Did you sometimes      refer to her as "sister ?"

23 A.       Yes , I did .

24 Q.       But she is not actual ly your sister ; correct ?

25 A.       She 's my sister     in the context     of being an




                                                                Page 41
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 42 of 282



 1 ex tend ed family   member , yes .

 2 Q.       But you're       not actual ly brother   and sister ;

 3 correct ?

 4 A.       Not by blood .

 5 Q.       Did you live with her at any period           of time ?

 6 A.       I live d at her house maybe for week .

 7 Q.       When was that ?

 8 A.       I don't remember       exact ly when it was .

 9 Q.       In the time frame of what we're talk ing about

10 here , since you've       known her for so long .

11 A.       No , no , no .

12 Q.       After you got out of jail in 19 99 ?

13 A.       Yes .

14 Q.       Was it when Mr. Echarte         was living   there ?

15 A.       No .

16 Q.       Was it after Mr. Echarte         live d there ?

17 A.       I'm not sure when it was .         I stay ed there for a

18 week .   It may have      been after .

19 Q.       Was it in -- before       2003 -2004 ?

20 A.       Yes, ma'am .

21 Q.       But after 19 99 ?

22 A.       It was -- I think it was the latter           part of

23 2002 .

24 Q.       For a week ?

25 A.       Yes, ma'am .




                                                                Page 42
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 43 of 282



 1 Q.       You testif ied, in response       to Mr. Montemarano 's

 2 examination , that you know that Ms. Martin            made money ;

 3 correct ?

 4 A.       Yes, ma'am .

 5 Q.       Do you know if she made money any other way

 6 be sides the two individuals       that you testifi ed that

 7 were elder ly and left her money ?

 8 A.       Yes, ma'am .    Ms. Martin     was -- she sold clothe s,

 9 a lot of clothe s.      She had rack s of clothe s in all

10 room s of her house , plus the garage .         Before   she had

11 the Benz,   she had another      kind of car , and she use d to

12 park that outside      of the garage ; and she store d clothe s

13 in the garage , as well as at the school .

14 Q.       Any other way s?

15 A.       Any other way ?     She play ed the lottery       very

16 heavily .   I'm only    talk ing about hundreds      of dollar s a

17 day .   That 's the only way s I know of .

18 Q.       Did you ever agree      to assist    Ms. Mart in in her

19 maki ng money by insuring       yourself   -- your life --

20 A.       No .

21 Q.       -- i n case you died she would get money .

22          MR. MONTEMARANO :      Objection , Your Honor .

23          May we approach , please ?

24                   (At the bar of the Court.)

25          MR. MONTEMARANO :      I'm wait ing for other counsel .




                                                                Page 43
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 44 of 282



 1            May it please     the court .     I thought    -- and

 2 perhaps     it was a different        case , but I seem to recall       a

 3 specific     preclusion    issue d by the court regard ing

 4 insurance     and all that other stuff which will be the

 5 subject     of a rather    lengthy     trial in a month or so from

 6 now .

 7            THE COURT:      Unless    it get s bump ed by one .

 8            MR. MONTEMARANO:         Actual ly , in term s of comi ng

 9 back after vacation , it seem s that comi ng back on the

10 fifth September        is look ing good .     I thought   that was

11 out .    Mr. Hall went nowhere         near it .

12            I simply    asked about his knowledge         about these

13 people    because     I was try ing to lay a foundation         for the

14 witness es I'll be call ing .          Mr. Shannon   has been

15 subpoena ed by the       defense , and he mention ed Mr.

16 Shannon .     I didn't    prime him with that .       He know s about

17 it .    It 's clear ly the truth .

18            Going to this insurance         stuff , I think , run s a

19 huge risk of spillo ver onto the other codefendant s.                  It

20 is beyond     the scope of what the court permitted             the

21 government     to do ; it has nothing       to do with this case ,

22 and with all due respect            there is no way in the world

23 that this question        -- just like the one on Mr.

24 Whiting 's access       to counsel     -- should   have been asked .

25            MR. HALL:      May I also point out that my client




                                                                   Page 44
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 45 of 282



 1 is not charge d in the next case ?

 2           MS. GREENBERG:      Your Honor , there 's -- it 's very

 3 limited , and there 's two reason s.        Number    1. Du ring the

 4 time period    we're talk ing about here , the time period

 5 of the conspiracy , Mr. Whiting        fill ed out an insurance

 6 policy    certify ing that Paulette     Martin    was his sister

 7 -- his signature        there , or was done on his behalf , and

 8 I'm entitle d to inquire       about that ; and also , it list s

 9 his address    as Bexhill     Court , further    show ing his

10 knowledge,    and contain s a false statement         that it was

11 his sister and contain s a false statement            that he live d

12 at Bexhill    Court .

13           There are only two insurance         polici es .    There 's

14 about five that he fill ed out that are under his name

15 as the insured , and there 's two , and I'm entitle d to

16 explore    that for both of those reason s -- both those go

17 to his character        and his truthfulness     in term s of Ms.

18 Martin    being his sister     and living   at Bexhill       Court .

19           Second ly , Mr. Martin    -- Mr. Montemarano        open ed

20 the door about how she made money .

21           MR. MONTEMARANO:      May it please     the court .      Ms.

22 Greenberg    is entire ly right that she 's entitle d to

23 explore    that .   I would not have object ed if she had

24 gone right to the question         of , didn't   you once tell an

25 insurance    company     that she was your sister , etcetera .




                                                                  Page 45
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 46 of 282



 1 This is the very same thing Ms. Greenberg                  did with

 2 regard   to Mr. Whiting 's access           to counsel .        If she had

 3 asked the question       in the follow ing form , at least , I

 4 would n't have object ed -- Mr. Hall might have because

 5 it's his client .       If she had said , you met with the

 6 agents ; correct ?      Yes .     That was about a week later ;

 7 correct ?    Yes .    And before        then you had a chance         to

 8 meet with your attorney ; correct ?

 9          That would have been perfect ly fine .                   But the

10 first thing she did is try to pollute                  the well and

11 suggest , you want ed to talk to your attorney                    first .

12 She had a way to ask it which was not inflammatory , and

13 she chose the inflammatory              fashion .     For an attorney       of

14 her experience , there is no question                 than she 's do ing

15 it deliberate ly .

16          MS. GREENBERG:          Your Honor , just so the record

17 is clear .    I didn't    intend        this .   My voice has not been

18 inflammatory .       I have     been very care ful in my approach

19 of this witness .       If Mr. Montemarano            want s to

20 character ize the witness          --

21          THE COURT:      Counsel , I will over rule the

22 objection    because    this goes to the            main -- to the     issue

23 of whether    he listed       this as his add ress and            whether   he

24 said she was his sister , and therefore                 it is

25 appropriate    to inquire        into those limit ed area s, and I




                                                                        Page 46
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 47 of 282



 1 will permit     that .    But I will caution     counsel        to not go

 2 farther    than that .

 3            MS. GREENBERG:         Your Honor , there is a

 4 certification     he sign ed .      I am referring     to the

 5 certif ication    underneath       the signature .     If he admit s

 6 that 's his signature        --

 7            THE COURT:      What , this ?

 8            MS. GREENBERG:         The certification .        Yes.

 9            THE COURT:      You may ask him if that 's his

10 signature .

11            MS. GREENBERG:         And the certification .

12            MR. MCKNETT :     Your Honor , may I be heard on

13 this ?    I want to make the record         clear that I join in

14 the previous     motion s for mis trial for the reason s

15 state d, and I am also concerned           about the question

16 about insurance .        I suspect     that my client        may well

17 testify,    and I'm afraid        that by allow ing the government

18 to ask question s about insurance           with regard        to Mr.

19 Good win , the court may be opening          the door for the

20 government     -- and Mr. Whiting , excuse       me --

21            THE COURT:      If your client    were to say something

22 that were to be impeachable            by that - if there 's

23 nothing    -- if her testimony         is consistent        with this

24 kind of thing , I'm not going to permit              it .     But in this

25 case , the witness       has indicated     he never referred         to




                                                                       Page 47
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 48 of 282



 1 her -- he 's not in fact          her sister -- her brother ,

 2 although     he , you know --

 3            MR. MCKNETT:        I understand .

 4            THE COURT:      In the colloquial       sense , perhaps ,

 5 and this is legitimate          to challenge      that .   But , you

 6 know , I'm going to make these rulings              document    by

 7 document .     I'm not opening       a door that says all

 8 insurance     matter s are in in this case --

 9            MR. MCKNETT:        I want ed to be clear about that ,

10 because    that may affect        a decision to     testify    or not .

11            THE COURT:      Thank you .

12            MR. MCKNETT:        Thank you .

13                   (Back in open court .)

14            BY MS. GREENBERG:

15   Q.       Sir , let me show you what 's been mark ed as

16 Miscellaneous     50 for the record .

17            MR. HALL:    Your Honor , I'm going to object .

18            MS. GREENBERG:        I'll approach     the witness .

19            MR. HALL:    She can show it to the witness               before

20 she show s it to the jury .

21            MR. WARD:    I'm sorry .      What is it ?

22            MS. GREENBERG:        Miscellaneous     50 , counsel .

23            MR. WARD:    50 ?

24            BY MS. GREENBERG:

25 Q.         Miscellaneous       50 is an application        to Omaha L ife




                                                                    Page 48
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 49 of 282



 1 Insurance    Company     ;is that correct , sir ?

 2 A.        That 's what that says .

 3 Q.        That 's your name down here at the bottom , Reece

 4 C. Whiting , Jr. ?

 5 A.        Yes , it is .

 6 Q.        Date 7/1 /2002 ?

 7 A.        That 's what it says .

 8 Q.        It says , my beneficiary      -- to the person       to be

 9 paid at my death is Paulette         Martin ?

10 A.        Yes .

11 Q.        Sister ?

12 A.        Yes .

13 Q.        It says this person      is Reece Whiting , Jr ., 9002

14 Bexhill    Court , Hyattsville , Maryland,        20 783-2038 ?

15 A.        That 's what that says .

16 Q.        Okay .    L et 's look at this .

17           Do you recognize     this telephone      number , 301 -439-

18 3545 ?

19 A.        I believe     it 's Ms. Martin 's phone number .

20 Q.        And your age in 2002 was 64 ; is that correct ?

21 A.        No .     I was 62 in 2002 .

22 Q.        Is that your correct      date of birth , sir ?

23 A.        No , that 's not my correct        date of birth .      My

24 correct    date of birth is 6/13/40 .

25 Q.        So this is a year off ?




                                                                  Page 49
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 50 of 282



 1 A.       Yes, ma'am .

 2 Q.       Is that your correct       Social Security        number ?

 3 A.       No , it 's not.

 4 Q.       What is your correct       Social Security        nu mber ?

 5 A.       XXX-XX-XXXX .

 6 Q.       Sir , this does say "Paulette         Martin ?"

 7 A.       Yes , it does .

 8 Q.       And "sister ?"

 9 A.       Yes .

10 Q.       And this signature       here .   Is that your

11 signature ?

12 A.       No , it 's not .

13 Q.       Do you recall       if you were associate d with Ms.

14 Martin   on July 1st of 2002 ?

15 A.       I knew Ms. Martin       then , of course .

16 Q.       This document       purport s -- and it 's stamp ed here .

17 See that as "R eceived ?"        Do you see that there ?

18 A.       Yes , I see it .

19 Q.       It purport s to insure      your life .      Do you

20 understand    that ?

21 A.       Yes .

22 Q.       Did you ever authorize        Ms. Martin     to get this

23 policy   on your behalf ?

24          MR. MONTEMARANO:        Objection .

25          MR. MARTIN:        Your Honor , objection .




                                                                  Page 50
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 51 of 282



 1           THE COURT:     Sustained .

 2           MR. MONTEMARANO :       -- to be heard at the bench .

 3           THE COURT:     Dis regard     the question .

 4           MR. MARTIN:        Objection , Your Honor .

 5           MR. MONTEMARANO :       Objection , Your Honor .

 6           Move to strike       all the evidence    regard ing this

 7 document .

 8           THE COURT:     Sustained .

 9           Your motion    is deni ed .

10           MS. GREENBERG:        Let 's move on to the next one .

11           MR. MONTEMARANO :       Your Honor , may we be heard at

12 the bench ?

13                         (At the bar of the court.)

14           MR. MONTEMARANO :       Mr. Hall avers to me .      I have

15 no reason     to dis credit    his testimony,     but the

16 government     will now attempt       to do the same thing again

17 and again and again with other document s.               I suggest

18 this is a functional         equivalent   of put ting a witness       on

19 the stand before       the jury to deny , or to take the

20 Fifth,    I should   say .    All this does is if Mr. Whiting

21 denies    this , and absent      some sort of expertise      or

22 witness    to the signature       or something    like that , is to

23 attempt    to black en my client 's name collateral ly .

24           This has nothing       to do , at the end of the        day ,

25 with Mr. Whiting .       It has everything       to do with Ms.




                                                                 Page 51
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 52 of 282



 1 Martin .     For that reason , I suggest          this line of

 2 inquiry     should    end here .     He has deni ed it .     If he

 3 denies     it once , he denies       it five time s.      The question

 4 of his honesty        has been place d at issue , and there 's

 5 enough     other thing s the court -- the government              has

 6 been permitted        to do that and will do that with regard

 7 to Mr. Whiting , in my view , but he 's not my client .

 8            The confusion     to the jury and the spill over of

 9 this kind of evidence        to my client        -- what we are now

10 do ing is try ing a fraud case against             my client .    There

11 was a suggestion        at the last bench conference , but I

12 did not real ize there were more of these same document s

13 that the government        was going to go into .          There is

14 just no reason        for this .     Mr. Whiting , I proffer       to the

15 court , is going to deny , and that therefore               turn s this

16 full on Ms. Martin .

17            MS. GREENBERG:         Your Honor , I have no idea

18 whether     he 's going to admit or deny each one .              This one

19 has his correct        date of birth .        I didn't   check the

20 Social Security        number .     I'm entitle d to inquire       when

21 his signature        is on a document        and his coconspirator's

22 name is on the document            whether    or not he had any

23 connection     with this .

24            THE COURT:     Ms. Gree nberg, i f he is shown a

25 document     and he says that is not his signature               and he




                                                                     Page 52
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 53 of 282



 1 has not seen the document           before , I think you're       stuck

 2 with that .

 3            MS. GREENBERG:        Okay .

 4            THE COURT:     You can't go any farther .

 5            MS. GREENBERG:        Okay .

 6            THE COURT:     I think what Mr. Montemarano           is

 7 saying    is correct .     If he denies       see ing the document

 8 and does n't recognize          the signature , I think your

 9 inquiry    is at an end .

10            MS. GREENBERG:        Your Honor , to tie him to the

11 document , may I ask him about his date of birth an d

12 Social Security        number    on this next one ?       If they're

13 correct , those are important             fact s to show that

14 somebody    --

15            MR. MONTEMARANO :       If he denies       it , Your Honor --

16            MS. GREENBERG:        If he denies    it , I'm stuck wit h

17 it.   I agree .

18            THE COURT:     You're stuck with it .

19            MR. MONTEMARANO :       If he denies       it , it should   not

20 come into evidence.

21            THE COURT:     You can say , is that your signature .

22            MR. MONTEMARANO :       Therefore , it should      not be

23 put on the ELMO .

24            MR. HALL:     I was going to ask that .

25            MS. GREENBERG:        I will    approach    the witness .




                                                                    Page 53
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 54 of 282



 1           THE COURT:    You may show him the document            and

 2 say , is that your signature ?        If he says it 's not his

 3 signature     and he does n't recognize      the document    --

 4           MR. HALL:    I suggest    we start with the

 5 signature .

 6           MS. GREENBERG:     Your Honor , the identify ing

 7 information     is important    to tie it all --

 8           MR. MONTEMARANO:      Paulette     Martin 's name on it

 9 is not key .

10           THE COURT:    If it 's not attributable       to him , I

11 don't see how you can use this to impeach            him .   If this

12 is his own document      sign ed by him , you can use it for

13 the purpose s indicated .       You may not use it if he does

14 not admit that that 's his document          or his signature ,

15 and that 's the end of the       inquiry .

16                        (Back in open court .)

17           MR. MONTEMARANO:      I renew my request , Your

18 Honor , that the evidence       regard ing the last document           be

19 stricken , based upon the court 's ruling .

20           MS. GREENBERG:     Your Honor , I belie ve that what

21 we agreed to is that it will be mark ed for

22 identification     and not receive d into evidence .

23 Miscellaneous     50 will be for identification         only .

24           THE COURT:    It 's identification      only , the last

25 exhibit   and this one .




                                                                Page 54
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 55 of 282



 1          MS. GREENBERG:          Yes, sir .

 2          MR. MONTEMARANO :          Your Honor , it has been put on

 3 the ELMO.      I submit      it should      be stricken , therefore .

 4 It should     never have gone on the ELMO .

 5          THE COURT:         Well , all right .

 6          Ladies and gentlemen           , the last document      that you

 7 had a series      of questions         asked about is a document

 8 that this witness          has indicated      he did not sign and

 9 he 's not familiar         with it .     Therefore , it should     not be

10 use d in evidence         against   him .    I therefore    am direct ing

11 that his testimony          concern ing the last document         is

12 stricken , and you should           dis regard   it .

13          BY MS. GREENBERG:

14 Q.       Sir , I'd like to approach            you and show you

15 miscellaneous      51 .

16          Show ing you Miscellaneous            51 .     Take a second   to

17 look at that document .

18 A.       Okay .

19 Q.       Sir , is that your signature            on this document ?

20 A.       No , it 's not .

21 Q.       Do you have any knowledge             of this document ?

22          MR. HALL:         Objection , Your Honor .

23          No further        question s.      He 's deni ed it 's his

24 signature .

25          THE COURT:         Sustained .




                                                                     Page 55
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 56 of 282



 1          MS. GREENBERG:        If he has knowledge     of the

 2 document , Your Honor --

 3          MR. HALL:       Objection .

 4          THE COURT:       Over ruled .

 5          You may ask if he has any knowledge .

 6          BY MS. GREENBERG:

 7 Q.       Do you have any knowledge        of this document ?

 8 A.       No, ma'am .

 9 Q.       Show ing you Miscellaneous       52 .

10          Take a second      to look at that document .

11 A.       Okay .

12 Q.       Do you have any -- is that your signature              on

13 that document ?

14 A.       No, ma'am .

15 Q.       Do you have any knowledge        of that document ?

16          MR. HALL:       Objection .

17          THE COURT:       Over ruled .

18          THE WITNESS:       No, ma'am .

19          BY MS. GREENBERG:

20 Q.       And except      for one week in 2001 -2002 , you didn't

21 live at Bexhill      Court ?

22 A.       Pardon   me ?

23          MR. MONTEMARANO:        Objection , Your Honor .

24          MR. HALL:       Objection .

25          THE COURT:       Sustained .




                                                                Page 56
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 57 of 282



 1            BY MS. GREENBERG:

 2 Q.         Now , you also testifi ed on direct          that in 2000

 3 Ms. Martin     lent you money for a car ?

 4 A.         Yes, ma'am .

 5 Q.         Did she also lend you money to re pair the car ?

 6 Was that your testimony ?

 7 A.         Yes, ma'am .

 8 Q.         And that was in 2000 or 2001 ?

 9 A.         I don't know     when she -- she loan ed me money on

10 several    occasion s for the re pair s of the car .

11 Q.         Okay .   Mr. Ward show ed you Hayward         28 in

12 relation     to that testimony ; is that correct ?

13            MR. HALL:      I believe     it was Mr. Hall .

14            MR. WARD:      I didn't    show him anything .

15            MS. GREENBERG:      I'm sorry .     It was    Mr. Hall .

16            MR. WARD:      Thank you .

17            BY MS. GREENBERG:

18 Q.         I must have Mr. Ward 's conversation           on my mind .

19 A.         That 's correct .

20 Q.         He show ed you Hayward        28 , correct , which is what

21 we're see ing up here on the screen ?

22 A.         Yes, ma'am .

23 Q.         You testifi ed that those figure s were in

24 relation     to Ms. Martin     loan ing you money for this gray -

25 colored    Jaguar   that you got in 2000 ; is that correct ?




                                                                    Page 57
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 58 of 282



 1 A.       Yes, ma'am .

 2 Q.       And these continued      up until April 2002 ;

 3 correct ?

 4 A.       That 's what the date is .       Yes, ma'am .

 5 Q.       And the final amount       with $11,500 .

 6 A.       I don't remember      exact ly what I owe her .       I know

 7 I still owe her the bulk .

 8 Q.       That 's about right ; right ?

 9 A.       It could be .

10 Q.       And yet your testimony       is that you didn't       see

11 her in 2003 ; correct ?

12 A.       I didn't   see her but a couple       of time s in early

13 2003 .   I did not see her at all in 2004 .          I did not see

14 her in 2003 after June .

15 Q.       But you still talk ed to her on the phone .

16 A.       Yes, ma'am .

17 Q.       In your testimony      -- your testimony      is that you

18 still owe her the bulk of this money ; correct ?

19 A.       Yes, ma'am .

20 Q.       The first contact      you have with her -- strike

21 that .

22          The first time that you're        try ing to see her is

23 reflect ed in Page 8 of this transcript          book when you're

24 try ing to get her to go to a concert          with you ; correct ?

25 A.       I was try ing to    get her to purchase       ticket s to




                                                                Page 58
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 59 of 282



 1 take me to the concert , and other people .

 2 Q.       After not see ing her for most of 2003 --

 3 A.       Yes, ma'am .

 4 Q.       -- and ow ing her over $11,000        --

 5 A.       Yes, ma'am .

 6 Q.       -- she is going to take you to a concert ?

 7 A.       Yes, ma'am .     Ms. Mart in is very generous .

 8 Q.       It happen s to be just when our wiretap           goes up ;

 9 correct ?

10 A.       Ma'am ?

11 Q.       That's    just about when the wiretap        went up ;

12 correct ?

13          MR. HALL:      Objection .

14          Basis of knowledge .

15          THE WITNESS:      I don't know .

16          THE COURT:      If he know s.

17          BY MS. GREENBERG:

18 Q.       And your testimony       is , when you talked     about

19 "ticket s" with Ms. Martin , you mean ticket s; correct ?

20 A.       Yes, ma'am .

21 Q.       You mean actual       ticket s to actual    event s.

22 A.       Yes, ma'am .

23 Q.       With all this talk about ticket s, you never went

24 to a concert      with her .

25 A.       Not during     that period   of time .     I had gone with




                                                                Page 59
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 60 of 282



 1 her on other occasion s.         We went to Cart er Baron once .

 2 There was a group of us .

 3 Q.         When ?

 4 A.         I don't remember      the exact date , but it was -- I

 5 think it might have been in 2002 .          Mr. Good win , myself ,

 6 Gene B ird , Ms. Martin , Ms. Mar tin 's daughter , Tom my

 7 Taylor.     It was     a whole group of us that went .       That

 8 was the last event I think we went to together .

 9 Q.         So the last event you went to with Ms. Martin

10 was 2002, and on Page 8 of the transcript            book , the

11 transcript     that you re view ed -- we'll get to that in a

12 second     -- you're    talk ing about ticket s and you're

13 talk ing about want ing to go to a concert          with her

14 again ; correct ?

15 A.         Yes .    That was the way we did thing s.

16 Q.         And you're    not offering   -- you're   not say ing

17 what these other people         talk ed to her about ticket s.

18 You're     not say ing what that was about , are you ?

19 A.         No , I'm not .   I'm talk ing about me .

20 Q.         Your testimony      is that -- if I could have CH-1 ,

21 please .

22            Your testimony      is quite clear that you had no

23 knowledge     that Ms. Martin     was a drug deal er ; correct ?

24 A.         That 's correct .

25 Q.         Let me bring up to you CH-1 .       Start ing with the




                                                                Page 60
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 61 of 282



 1 first line here .      Do you know any of these people          on

 2 the top row ?

 3          MR. HALL:      Objection .

 4          Outside    the scope .

 5          THE COURT:      Over ruled .

 6          THE WITNESS:      I know Ms. Gwen Levi .          Can I say

 7 this , please ?

 8          BY MS. GREENBERG:

 9 Q.       Sure .

10 A.       I have come to know who some of these people

11 were after my arre st on June 1st.

12 Q.       Let 's talk about before        your arrest .

13 A.       Okay .

14 Q.       Before    your arrest     on June 1st   2004 .

15          Now , starting    with the top row .

16 A.       You want me to start left to right or right to

17 left ?

18 Q.       Let 's make sure -- Steve Campbell .             Do you know

19 him ?

20 A.       I don't know     him .

21 Q.       Do you know a person         name d "Cuba ?"

22 A.       No , I do not know him .

23 Q.       Juan Encarnacion?

24 A.       No, ma'am .

25 Q.       Luis Mangual,     Jr. ?




                                                                 Page 61
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 62 of 282



 1 A.       No , I don't know     him .

 2 Q.       Pernell Philpot ?

 3 A.       Met him one time .

 4 Q.       How did you meet Mr. Phil pot?

 5 A.       He was at Ms. Martin 's house .

 6 Q.       What was he do ing there ?

 7 A.       Eat ing .

 8 Q.       Do you know whether      or not   Mr. Phil pot was a

 9 drug deal er ?

10 A.       No , I don't know     him .

11 Q.       Mr. Brim .    S teve Brim .

12 A.       Never met him .

13 Q.       Mr. Uriarte ?

14 A.       Never met him .

15 Q.       Mr. Turn er , also known as "D og ?"

16 A.       Never met him .

17 Q.       Ms. Levi ?

18 A.       Know her from Baltimore .

19 Q.       How do you know her ?

20 A.       She 's the god -daughter      of Eddie Tucker .

21 Q.       Was Ms. Levi , to your knowledge , involve d in

22 drug deal ing ?

23 A.       Not to my knowledge .

24 Q.       Mr. King .

25 A.       Met him when he was about seven year s old .            He 's




                                                                Page 62
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 63 of 282



 1 the son of Estelle B rim .

 2 Q.        Was Mr. King i nvolve d in drug deal ing ?

 3 A.        I don't know .     He was n't when I met him .

 4 Q.        Mr. Thurman ?

 5 A.        Don't know him .

 6 Q.        Ms. Vessel s?

 7 A.        Don't know her .

 8 Q.        Mr. McKenzie ?

 9 A.        I don't know him .

10 Q.        Mr. Irby ?

11 A.        Don't know him .

12 Q.        Mr. Moore ?

13 A.        Don't know him .

14 Q.        Mr. Good win ?

15 A.        I k now Mr. Good win .    Yes , I know Mr. Good win .

16 Q.        Is Mr. Goodwin     involve d in deal ing drug s?

17 A.        Not to my knowledge .      I don't know     what Mr.

18 Goodwin   does .

19 Q.        Ms. Ali?

20 A.        Ms. Ali is a schoolteacher       and has been for some

21 year s.   I know Ms. Ali , because      many year s ago she was

22 a very good friend      of a -- a very close fiend of mine ,

23 a bail bondsman      by the name of Mickey Lewis.         That 's

24 how I know Ms. Ali .

25 Q.        Was Ms. Ali involve d with drug s?




                                                                Page 63
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 64 of 282



 1 A.       Not that I     know of .

 2 Q.       Mr. Arnold ?

 3 A.       Do not know him .

 4 Q.       Mr. Bynum ?

 5 A.       The only thing I know about Mr. Bynum is he is

 6 the father    of Ms. Martin 's youngest       daughter 's baby .

 7 Q.       Mr. Bird ?

 8 A.       Gene B ird I've been know ing for year s.          Mr. Bird

 9 own s several   nightclub s in the Washington        area , and

10 I've known Mr. Bird for year s.

11 Q.       Does Mr. Bird have anything         to do with drug

12 deal ing ?

13 A.       He did,   yes .

14 Q.       What did Mr. Bird hav e to do with drug deal ing ?

15          MR. HALL:      Objection , Your Honor .

16          THE COURT:        Basis ?.

17          MR. HALL:      Well , both relevance     and scope .     I

18 don't -- Mr. Bird is not on trial here .            What his

19 involve ment was and what time period          is irrelevant      to

20 any issue before      this jury .

21          THE COURT:         Over ruled .

22          BY MS. GREENBERG:

23 Q.       What did Mr. Bird have to do with drug deal ing ?

24 A.       Mr. Bird dealt drug s back in the '70s and ' 80 s.

25 He use d to have a club and I use d to go to the club ,




                                                                Page 64
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 65 of 282



1 and he and I use d to talk .

2 Q.       What kind of drug s?

3 A.       Cocaine , as far as     I knew .

4 Q.       Did you ever see him with Ms. Martin ?

5 A.       Yes .    He was Ms. Martin 's oldest      daughter 's

6 fiance at one time .

7 Q.       When did you see him with Ms. Martin ?

8 A.       He went to the affair         with us to the Cart er

9 Baron,   and he was -- he went to Ms. Martin 's house with

10 her daughter .

11 Q.      This would be the Cart er Baron event in 2001 ?

12 A.      Yes, ma'am .

13 Q.      Did you see Mr. Bird after that?

14 A.      I think it was      2002 .    It might have been 2001 .

15 Q.      Did you see Mr. Bird after that ?

16 A.      Yeah .    I saw him at Ms. Martin 's .

17 Q.      How frequent ly ?

18 A.      I didn't    go that frequent ly , but I went there on

19 an occasion     and I saw Mr. Bird there .

20 Q.      Ms. Dobie ?

21 A.      Didn't    know Ms . Dobie .

22 Q.      Ms. Harden ?

23 A.      Didn't    know Ms. Harden .

24 Q.      Mr. Harris?

25 A.      Don't know Mr. Harris .




                                                               Page 65
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 66 of 282



 1 Q.          Mr. Lane ?

 2 A.          Don't know Mr. Lane .

 3 Q.          Mr. Martin .      You 've talk ed about him .

 4 A.          Yeah .     Mr. Martin    is the boyfriend    of Ms.

 5 Martin .

 6 Q.          And your testimony        is that Mr. Mart in is a drug

 7 deal er ?

 8 A.          That 's right .

 9 Q.          Did Mr. Martin        deal drug s -- to your knowledge ,

10 did Mr. Martin         deal drug s after you got out of jail

11 from the con viction in           19 99 ?

12 A.          After I got out of jail ?

13 Q.          Yes .     Did you know him to deal drug s?

14 A.          I heard that .

15 Q.          Who did you hear that from ?

16             MR. HALL:      Objection .

17             Your Honor , that would be hearsay .

18             THE COURT:      Sustained .

19             BY MS. GREENBERG:

20 Q.          Did you ever see Mr. Martin          with drug s?

21 A.          No , I didn't     see him .

22 Q.          Your testimony        on direct   exam in ation was that

23 Mr. Martin         was a drug deal er and was      based on what

24 other people         told you .

25 A.          No .     It was based on conversation s I had with




                                                                     Page 66
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 67 of 282



 1 Mr. Martin .

 2 Q.        Base d on those conversation s with Mr. Martin , do

 3 you know when he was deal ing drug s?

 4 A.        Mr. Martin     was deal ing drug s ever since I've

 5 known Mr. Martin .

 6 Q.        Until when ?

 7 A.        I don't know .

 8 Q.        When is the last conversation              you had with Mr.

 9 Martin    about deal ing drug s?

10 A.        I didn't have       a conversation        with him about

11 that .    Mr. Martin    would talk about , well , I got to go

12 and make a run to take care of some business .                     I took

13 that to mean that he was deal ing drug s.

14 Q.        When was the last time you had a conversation

15 with Mr. Martin       when he said he was "taking            care of

16 business ," which you understood                that to mean deal ing

17 drug s?

18           MR. HALL:      Objection .

19           THE WITNESS:        I don't remember        exact ly .

20           THE COURT:        Over ruled .

21           BY MS. GREENBERG:

22 Q.        2000 ?   2001 ?     2002 ?     2003 ?    2004 ?

23 A.        I don't remember .           I did not see him in 2003 , so

24 it would have to be before             that .

25 Q.        Was it after you got out of jail in Virginia                  in




                                                                       Page 67
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 68 of 282



 1 19 99 ?

 2 A.         After I got out of jail ?       Of course .

 3 Q.         Mr. Walker?

 4 A.         I saw Mr. Walk er on occasion .

 5 Q.         Where did you see Mr. Walk er ?

 6 A.         I saw Mr. Walk er drivi ng down the street        -- I

 7 think it was Ninth Street -- on one occasion .              He had a

 8 convertible     Jaguar , I believe .

 9 Q.         To your knowledge , did Mr. Walker        have anything

10 to do with drug s?

11 A.         I don't know     Mr. Walker .

12 Q.         I skip ped over Mr. Nunn.

13 A.         Larry Nunn?      I did not know him before .

14 Q.         In front of you are transcript        book s so you can

15 follow     along with the call s.       It will be up on the

16 screen .     If you can't see it on the screen , here are

17 some book s.     Start ing with Page 8 in Book 1.

18            MR. WARD:      I'm sorry .   These are the telephone

19 transcript s?

20            MS. GREENBERG:      Page 8, Book 1.

21            MR. WARD:      Do I need all three of them ?

22            MS. GREENBERG:      You do , Mr. Ward .

23            BY MS. GREENBERG:

24 Q.         Do you have that in front of you , sir ?

25 A.         Yes, ma'am .




                                                                Page 68
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 69 of 282



 1 Q.        This is the call where you said that you were

 2 wait ing to get ticket s print ed to go to a concert            with

 3 Ms. Martin ?

 4 A.        I said I was wait ing to get ticket s print ed ?

 5 Q.        This is the call on direct         examination .     Correct

 6 me if I'm wrong .       These were relating      to ticket s that

 7 you want ed to go to a concert        and that you had to wait

 8 for the ticket s to get print ed ; correct ?

 9 A.        I never talk ed about having        any ticket s print ed .

10 Q.        Sir , why don't you tell the jury what this call

11 mean s on Page 8.

12 A.        Do what , now ?

13 Q.        What does this call mean ?         What were you and Ms.

14 Martin    talk ing about on Page 8?

15 A.        I spoke with Mr - -- I said , yeah .        She said , he

16 says he don't have any print ed so I have to wait until

17 I get some print ed tomorrow .        That 's what she said .       I

18 said , okay .   And she said , okay , good-bye ; and I said ,

19 thank you .

20 Q.        Why don't you tell the jury , so I don't

21 mis character ize what you said on direct , what were you

22 and Ms. Martin       talk ing about here ?

23 A.        Whenever    I call ed Ms. Martin , I call ed her in

24 regards    to ticket s.     She 's say ing in this transcript

25 here she didn't       have any print ed .    I said , okay .




                                                                  Page 69
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 70 of 282



 1 Q.        So your testimony      is that she 's in the business

 2 of print ing ticket s for concert s?

 3 A.        No .   I'm say ing that 's what she said , and I said

 4 okay .

 5 Q.        And your testimony      is this is you call ing for

 6 concert    ticket s; correct ?

 7 A.        I'm call ing Ms. Martin     about going to a concert

 8 at her expense     whenever   she want s to take me .       All of

 9 my call s are in regards      to that .

10 Q.        Your understand ing when she said , he said he

11 don't have any print ed , is that she had to wait for the

12 concert    ticket s to get print ed ?

13 A.        I didn't know    what she meant .      I know what it

14 said was -- what she was say ing to me was , no , she did

15 not have any intention s of going to a concert             at that

16 time , and that 's why I said okay .

17 Q.        You understood    that she didn't      have any print ed

18 to mean that she didn't       want to go to a concert .

19 A.        What I understood      was that she did not have any

20 ticket s to take me to a concert          at that time .

21 Q.        Your testimony    is this is not a call where you

22 were look ing for drug s from Paulette         Martin .

23 A.        Exact ly .

24 Q.        Instead , she was wait ing for some concert

25 ticket s to get print ed .




                                                                Page 70
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 71 of 282



 1           MR. HALL:      Objection .

 2           Asked and answered .

 3           THE COURT:      Sustained .

 4           BY MS. GREENBERG:

 5 Q.        What did you understand        "print ed " to mean ?

 6           MR. HALL:      Objection .

 7           THE COURT:      Sustained .

 8           BY MS. GREENBERG:

 9 Q.        Turn ing to Page 56 , still in Book 1.          This is

10 call B38 4 on March 12 , 2004, and Ms. Martin            call ed --

11 answer s, hello .      You ask how you're     do ing .   You say s,

12 you're    try ing to   keep it together ; and you asked her

13 whether    she's heard anything .

14 A.        Right .

15 Q.        You said , huh ?    You said , you heard anything ?

16 And she said , no , not yet .      And you said , okay .      And

17 she said , hope fully they should         be back here tonight        or

18 tomorrow .    You said , oh , okay .      And she said , okay .       As

19 soon as I do , I'll call you .          You said , absolute ly .

20 And she said that she thanks you           for call ing , and you

21 hung up.

22           Do you see that ?

23 A.        Yes, ma'am .

24 Q.        Who were you referring        to -- who did you

25 understand    she was referring        to when she said , they




                                                                Page 71
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 72 of 282



 1 should   be back here tonight          or tomorrow ?

 2 A.         I just took that to mean to call back later and

 3 quite possibly        we could get together       later .

 4 Q.         To be more specific , "hopeful ly , they ."            Who did

 5 you understand        "they " to mean ?

 6 A.         I didn't understand       it to mean anything         other

 7 than the fact that she did not have -- was going to

 8 take me to a concert        at that particular         time .    That 's

 9 what I understood        this to mean .     No , I'm not going to

10 go ahead and hang out .

11 Q.         So your understand ing -- your testimony              is that

12 this call is relating           to go to a concert      also ?

13 A.         What I'm say ing to you is , I'm call ing Ms.

14 Martin   about the possibility          of going to some sort of

15 affair , and Ms. Martin          is say ing to me , no , it 's not

16 possible    now .     It 's a thing call ed "jargon ."

17 Q.         The phrase , "they should       be back here tonight            or

18 tomorrow ."     Did you have any knowledge          at that time

19 that Pernell Philpot        was maki ng a trip out west ?

20 A.         I don't know     anything    about Mr. Philpot .        I

21 didn't know     Mr. Philpot .

22 Q.         Turn ing to Page 72 .       Paul ette Martin     answer s.

23 This is call B572 , for the record , on March 14 , 2004 .

24            Paulette    Martin    says , hello .   You say , hey ,

25 baby , how you do ing ?         You say , I'm all right .        All




                                                                     Page 72
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 73 of 282



 1 right .    Try ing to    keep it together .     She said , I

 2 haven't    heard anything      yet .    You said , is that right ?

 3 How you feel ing ?       She says , I feel fine o therwise .         You

 4 say , that 's good .      I'm glad to hear that .        And she

 5 says , so , hope fully any day .         They say any time now

 6 it 's due .     And you say , all right .      Right .    Right .

 7 Okay , baby .

 8            What are you two talk ing about there , sir ?

 9 A.         It 's the same thing , Miss.        My interest   was to

10 get with Ms. Martin , and the overture s I was maki ng

11 were overture s in that regard .           The way that I normally

12 got with Ms. Martin        would be at concert s, to hang out .

13 Q.         So you're    say ing this call , B572 , "hope fully any

14 day ;" " they said any time now it 's due " is related              to a

15 concert?

16 A.         That 's the way I took it .

17 Q.         Did you have any knowledge        at this time , on

18 March 14 , 2004 , that Mr. Philpot          was still out west

19 try ing to     get heroin ?

20 A.         Let me -- Ms. Greenberg , I did not know Mr.

21 Philpot    at all .     I met him one time at Ms. Martin 's.             I

22 did not know anything         about the man 's activities .         He

23 was eat ing .     He was a young man .       We had nothing    in

24 common .      I had no knowledge       of Mr. Philpot 's do ing

25 anything .




                                                                  Page 73
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 74 of 282



 1 Q.        Just to be clear .     Through    any conversation s or

 2 any discussion s with anyone , did you have any knowledge

 3 that on March 14 , 2004 , Mr. Philpot         was still out in --

 4 on the west coast try ing to get drug s for the

 5 organization ?

 6           MR. HALL:    Objection .

 7           Asked and answered .

 8           THE COURT:     Over ruled .

 9           THE WITNESS:     I did not know that Mr. Philpot

10 existed    on 3/14/04.

11           BY MS. GREENBERG:

12 Q.        So your answer    is no ?

13 A.        I did not know he existed .

14 Q.        Did you have any knowledge        -- I'll ask it again .

15 A.        No , I had no knowledge .

16 Q.        So your testimony     is , when -- your understand ing

17 of what Ms. Martin       meant by " so hope fully any day ; they

18 said any time now it 's due ," that you were talk ing

19 about a concert ; correct ?

20 A.        No .   What I understood      it to mean was that she

21 was n't say ing , yes , I'm going to take you to see Alesha

22 Keys.     Come by on Friday     so we can go .     Anything   else

23 was irrelevant .

24 Q.        Just to be clear .     You hadn't    gone to a concert

25 with her since 2002 ; correct ?




                                                                 Page 74
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 75 of 282



 1 A.         That is correct .     It was probably      more on my

 2 part than on her s, because        I hadn't    been in contact

 3 with her .

 4 Q.         You hadn't     seen her but a couple     of time s in

 5 early 2003 .

 6 A.         That 's correct .

 7 Q.         All of these call s we're going over so far all

 8 relate d to a concert        you want ed to go to .

 9            MR. HALL:      Objection .

10            Asked and answered .

11            THE COURT:      Sustained .

12            BY MS. GREENBERG:

13 Q.         If we could turn to Page 137 , still in Book 1 .

14 This is a call on March 19 , 2004 .           Paulette     Martin

15 says , hello .    You say , hey , Sis , how you do in' ?        She

16 says , hey , okay .     I'm hanging      in there , Bro.     You say ,

17 I can dig it .     You tell me you want to look at those

18 paper s.

19            Do you see that ?

20 A.         Yes, ma'am .

21 Q.         What did you mean by "paper s?"

22 A.         She had been talk ing to me on some -- several

23 occasion s about look ing at some paper s in regards                to

24 some sort of project         that she had , and that 's what I

25 was talk ing about .




                                                                  Page 75
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 76 of 282



 1 Q.        What project      was that ?

 2 A.        She said she had a project       she wanted     to talk to

 3 me about .      I later found out that Ms. Martin         was try ing

 4 to promote      some show s.

 5 Q.        And your testimony       is --

 6 A.        I didn't know      that at the time .

 7 Q.        Through     March 19 , 2004 to the date of your

 8 arrest    in June of 2004 , you never met her to go get

 9 those paper s; correct ?

10 A.        No , I didn't .

11 Q.        Okay .    And then she said , uh-huh .      And you said ,

12 yeah , it was fun ny .      Try and get over there or

13 whatever , you know , was convenient        for you .     And she

14 said , okay .      I have to get them together.         I still

15 haven't    heard nothing       about the ticket   thing yet .

16           And your testimony       is that , again , is ticket s

17 for a concert ?

18 A.        Yes, ma'am .

19 Q.        And you never went to the concert .

20 A.        I never saw her , as I indicated , in 2004 .

21 Q.        And you say , oh , is that right ?       And she said ,

22 not a word .

23           Correct ?

24 A.        Yes, ma'am .

25 Q.        And on Page 213 of the transcript         book , still in




                                                                Page 76
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 77 of 282



 1 Book 1 -- this is March 26 , 2004 ; correct ?

 2 A.         Yes, ma'am .

 3 Q.         Call B17 81 , a call from Paulette      Martin .    You

 4 say , hey , Sis .      She says , hey , Bro , how you do ing ?       You

 5 say , try ing to make it .        Heard that .   Anything   happen ?

 6 No , in deed .    And you said , god damn .

 7            Correct ?

 8 A.         Yes, ma'am .

 9 Q.         Goody had something      and they messed    him up real

10 bad .

11            Do you see that there ?

12 A.         Yes, ma'am .

13 Q.         What is your testimony        -- what does that relate

14 to ?

15 A.         I didn't    really   know .   That 's why I asked the

16 question    rhetorically , "is that right ?"

17 Q.         And she said , yes .     And then you said , man , it 's

18 a mother fucker .       I ain't gonna tell .     And she said , and

19 Phil pot down .       And you said , wow .

20            Do you see that there ?

21 A.         Yes, ma'am .

22 Q.         "Phil pot " mean ing Pernell Philpot?

23 A.         I guess that 's who she meant , yes .

24 Q.         Well you didn't      ask her is that who she meant .

25 You said , wow .




                                                                 Page 77
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 78 of 282



 1 A.        I said , wow .     Yes .   I'm surprise d at what

 2 they're    talk ing about and what 's going on .

 3 Q.        This relate s to Mr. Philpot 's arrest        in Wyoming

 4 by Officer       David Chat field in March of 2004 ; correct ?

 5 A.        I don't know      what it related    to .

 6           MR. HALL:      Objection .

 7           Basis for knowledge , Judge .

 8           THE COURT:       See if he has a basis for it .

 9           BY MS. GREENBERG:

10 Q.        Here she 's say ing , and Phil pot down .       She 's

11 report ing that to you ; correct ?

12 A.        She said that to me , yes .

13 Q.        You're    acknowledgi ng that ; correct ?

14 A.        No .    I just said , wow .

15 Q.        You don't ask , what do you mean by that ?            Who

16 are you talk ing about ?        You say , wow ?

17 A.        No , I didn't     ask who you're    talk ing about

18 because    I didn't    care .

19 Q.         Because     you know .

20 A.        Because    I didn't     care .

21           Mr. Martin:       Objection .

22           Argument .

23           THE COURT:       Over ruled .

24           BY MS. GREENBERG:

25 Q.        Because    you knew .




                                                                  Page 78
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 79 of 282



 1 A.        Because     I didn't    care .

 2 Q.        And then you move on and you're          say ing -- your

 3 testimony    is when she said , and Philpot         down , you

 4 didn't    know that Mr. Philpot        had been arrested      out in

 5 Wyoming    by Officer    Chatfield ; correct ?

 6 A.        Yes , that 's correct .

 7 Q.        You didn't     know he had been arrested         at all ?

 8 A.        I didn't know     he had been arrested         at all .

 9 Q.        And then here we get on , do you have anymore

10 from Julio .

11           Who is Julio ?

12 A.        Julio is Emilio Echarte .

13 Q.        This is somebody        you met on just a few occasion s

14 back in 2001 -2002 ; correct ?

15 A.        That 's correct .

16 Q.        And you're     asking    her whether   or not    she has

17 anymore    from Julio;     correct ?

18 A.        That 's right .

19           MR. HALL:      Objection .

20           Your Honor , that mis character ize s what was

21 there .    I don't believe        that was an exact quote .

22           THE COURT:      Re phrase    your question .

23           BY MS. GREENBERG:

24 Q.        Mr. Whiting :     Do you have anymore      from Julio ?

25           Correct ?     Is that what you say to her ?




                                                                  Page 79
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 80 of 282



 1 A.       That 's what the transcript           says .

 2 Q.       So you're        inquiring    about Mr. Echarte .

 3 A.       Yes .    She had complain ed constant ly about Mr.

 4 Echarte , and I said to her , have you heard anymore

 5 about him ?

 6 Q.       He had been arrested           in Florida ; is that

 7 correct ?

 8 A.       I didn't know        what had happen ed to Mr. Echarte ,

 9 and I didn't      really     rare care .

10 Q.       You're    inquiring     about him here ?

11 A.       I was inquiring        to Ms. Mart in in the context of ,

12 has she been worried          anymore .

13 Q.       And here she talk s to you about him going to

14 court and get ting 30 to life and they dropped               it from

15 ten to life ; correct ?

16 A.       Yes .    Yes .

17 Q.       And you explain        to her here about a quarter         of

18 the way down that they charge d him because              the feds

19 don't have indeterminate          sentence s.

20          You told her about that ; right ?

21 A.       Yes , because       she said to me -- it occurred        to me

22 that this was an in determin ate sentence .             I s aid , oh ,

23 wow .   It mus t be the state , because          the feds don't have

24 in determi nate sentence s.

25 Q.       Just to    be clear .        In this call , B17 81 , you're




                                                                  Page 80
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 81 of 282



 1 talking to Ms. Martin about Goody;            is that correct ?

 2 A.         No .

 3 Q.         Right here , Goody --

 4            MR. MONTEMARANO:      Objection .

 5            THE COURT:      Sustained .

 6            BY MS. GREENBERG:

 7 Q.         And Julio mean s Mr. Echarte ; is that correct ?

 8            MR. MONTEMARANO :     Asked and answered .

 9            THE COURT:      Sustained .

10            BY MS. GREENBERG:

11 Q.         Turn ing to    page 250 .

12            Is that a conversation        between   you and Ms.

13 Martin ?

14            Page 250 .

15 A.         Yes, ma'am .

16 Q.         And you say , yeah , I'm over here .        I'm just

17 wondering , you know .        And she said , Mm-hmm .        And you

18 say , yeah .      And she says , I ain't forgot      you .     As soon

19 as I hear something , you will be one of the               first I

20 call .     It 's like that, B rother .     It 's rough .      And you

21 re ply , I love you , babe .      And she said , okay .        If you

22 hear anything , you let me know .          You say , I most

23 certain ly will .

24            What are you two talk ing about there ?

25 A.         I'm just maki ng conversation       with the person




                                                                   Page 81
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 82 of 282



 1 that I sincere ly care about .

 2 Q.       What are you talk ing about there ?

 3          MR. HALL:      Objection .

 4          Asked and answered .

 5          THE COURT:      Has n't he already      answered    that ?

 6          MS. GREENBERG:      He said he was maki ng

 7 conversation , Your Honor .       I'm asking      what he was

 8 talk ing about in the conversation .

 9          THE COURT:      All right .    Over ruled .

10          THE WITNESS:      I'm say ing to a person        that I care

11 about , hey , how you do ing ?     What's      happening ?   That 's

12 just the way I talk to Ms. Martin .

13          BY MS. GREENBERG:

14 Q.       Let me ask you specifically           then .   Going to Ms.

15 Martin   say ing , I ain't forgot      you .    As soon as I hear

16 something , you will be one of the first I call .

17          What did you understand        that to mean ?

18 A.       I understood     her to mean that if she hang s out ,

19 she would get in contact        with me .

20 Q.       If she hang s out , she will get in contact            with

21 you ?

22 A.       Yes, ma'am .     If she goes some place , you know ,

23 and she 's going to hang out , she will get in contact

24 with me .

25 Q.       What did you understand        her to mean when she




                                                                  Page 82
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 83 of 282



 1 said , if I hear something ?         Hear what ?

 2 A.        Hear about --

 3           MR. MONTEMARANO :        Asked and answered , Your

 4 Honor .

 5           THE COURT:      Over ruled .

 6           THE WITNESS:         Hear about going to some affair .

 7           BY MS. GREENBERG:

 8 Q.        What affair ?

 9 A.        Any affair    that Ms. Martin       want ed to choose , Ms.

10 Greenberg .

11 Q.        When she says , it 's like that , Brother , it 's

12 rough ; what does she mean by , "it 's rough ?"

13           MR. HALL:     Objection .

14           Basis for knowledge .

15           BY MS. GREENBERG:

16 Q.        What did you understand          it to mean when she said

17 to you it was rough ?

18 A.        She was n't re ady to      go out and -- go hang out at

19 that particular       time .

20 Q.        Sir , through    your time in the drug business , you

21 knew a lot of deal er /suppliers ; correct ?

22 A.        I knew some .

23 Q.        What was the smallest          amount   that you ever

24 dealt ?

25 A.        Probably    an ounce , and that was really        just to




                                                                 Page 83
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 84 of 282



 1 let somebody        know what I had when I was really          deal ing .

 2 Q.         An ounce of what ?

 3 A.         It does n't -- cocaine .         Heroin .

 4 Q.         Did you deal both type s of drug s?

 5 A.         Pardon    me ?

 6 Q.         Did you deal both type s of drug s?

 7 A.         At one time .

 8 Q.         Did you use both type s of drug s?

 9 A.         At one time .

10 Q.         When is the last time you use d drug s?

11 A.         Oh , my goodness .       Sometime    in '03.

12 Q.         What is the largest        amount    of drug s that you

13 got ?

14            MR. HALL:        Objection .

15            Beyond    the scope .

16            THE COURT:        Over ruled .

17            THE WITNESS:        The largest     amount   that I've

18 gotten ?

19            BY MS. GREENBERG:

20 Q.         Yes, sir .

21 A.         I don't know .       Multiple    key s.

22 Q.         How many kilogram s?

23 A.         I don't know .       Four or five , something      like

24 that .

25 Q.         Four or five what ?




                                                                   Page 84
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 85 of 282



1 A.       Four or five key s.

2 Q.       Of what ?

3 A.       Of heroin .

4 Q.       When is the last time you got a ship ment of

5 heroin   or cocaine ?

6 A.       It was probably     in '91 .

7 Q.       When is the last time you talk ed to one of your

8 source s of supply      for cocaine ?

9 A.       I haven't     talk ed to one since about '90 .

10 Q.      I'm sorry ?

11 A.      '90 .

12 Q.      How about heroin ?      When is the last time you

13 talk ed to the last source      of supply    for heroin ?

14 A.      '90 -91 .

15 Q.      And the individuals      that you met that suppli ed

16 you for the situation      in Virginia    in 19 94 , Mr.

17 Phillip s and Mr. Riley .      Where did you meet them ?

18 A.      I met Mr. Phillip s when I was in Mexico .

19 Q.      In what -- what context ?

20 A.      He was at Santa Mon ica .

21 Q.      In the jail with you ?

22 A.      Yes, ma'am .

23 Q.      And Mr. Riley ?

24 A.      I met Mr. Riley in San Diego .

25 Q.      In what context ?




                                                               Page 85
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 86 of 282



 1 A.         He was in the FCI.

 2 Q.         In the jail with you ?

 3 A.         Yes, ma'am .

 4 Q.         Did you meet any heroin         suppliers     when you were

 5 in jail for your Eastern            District   of Virginia       charge ?

 6            MR. HALL:      Objection , Your Honor .

 7            THE COURT:      Sustained .

 8            BY MS. GREENBERG:

 9 Q.         Did you know any deal er s -- heroin           or cocaine

10 deal er s when you got out of jail in 19 99 ?

11            MR. HALL:      Objection .

12            THE COURT:      Over ruled .

13            THE WITNESS:      No .

14            BY MS. GREENBERG:

15 Q.         But you were using drug s when you got out of

16 jail in 19 99 .

17 A.         No , not in 19 99 .

18 Q.         2000 ?

19 A.         Maybe the latter         part of 2000 .     Maybe .

20 Q.         Did you get drug s from anyone            else be sides Ms.

21 Martin ?

22 A.         Yes .

23 Q.         Who did you get drug s from ?

24 A.         I got drug s from over on the street s of

25 Baltimore     City .




                                                                      Page 86
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 87 of 282



1 Q.          How often ?

2 A.          Not that often .

3 Q.          How often ?

4 A.          Every once in a while .

5 Q.          What do you mean by , "every once in a while ?"

6 A.          Once every three or four month s or something

7 like that when the urge hit me .

8 Q.          How much would you buy ?

9 A.          I would buy a $10 thing of rock or $20 worth of

10 powder   cocaine .

11 Q.         So you use d crack ?

12 A.         I've use d a rock , yes .

13 Q.         Have you sold crack ?

14 A.         No, ma'am .

15 Q.         In connection    with people    that you can name .

16 Be sides pick ing drug s up on the street,         and be sides Ms.

17 Martin , did you get user quantiti es of drug s from

18 anyone   else be sides Ms. Martin       or the people    that you

19 met on the street s of Baltimore ?

20 A.         No, ma'am .

21 Q.         Your testimony     is that you didn't    know the

22 source   of supply    after you got out of jail in 19 99 ?

23 A.         I ceased and desisted       from that -- all that

24 activity    in that regard .

25 Q.         You're   a drug deal er from 19 68 until you went to




                                                                Page 87
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 88 of 282



 1 jail in 19 94 , but you stop ped in       19 99 ; is that correct ?

 2 A.       There is a thing call ed "change ," Ms. Greenberg .

 3 Q.       That 's when you changed ?       You stop ped in    19 99 ?

 4 A.       Yes .   I had a "on the road to Damascus " type of

 5 conversion .     I went from Saul to being Paul .

 6 Q.       If I can ask you to turn to Page 38 6 of Book 2

 7 of your transcript      Book H.

 8 A.       What page was that , Ms. Greenberg ?

 9 Q.       Page 38 6.    I t's Call B4226 .

10          Do have that in front of you , sir ?

11 A.       Yes, ma'am .

12 Q.       Why don't we go ahead and play that call ,

13 Detective   Eveler ?

14          (Record ing begin s play ing at 11 :22 a.m. )

15          (Record ing stops playing       at 11 :23 a.m. )

16          BY MS. GREENBERG:

17 Q.       That 's you and Ms. Martin       talk ing on the phone ?

18 A.       Yes, ma'am .

19 Q.       That 's April 25 , 2004 ?

20 A.       Yes, ma'am .

21 Q.       Just to be clear .       You were still driving       the

22 Jaguar   that she hel ped you purchase ?

23 A.       Yes, ma'am .

24 Q.       The gray -colored Jaguar ?

25 A.       Yes, ma'am .




                                                                Page 88
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 89 of 282



 1 Q.       With D. C. tag s?

 2 A.       Yes, ma'am .

 3 Q.       You still owe d her $11,000        for that car ?

 4 A.       Yes, ma'am .

 5 Q.       She said to you , I don't have         no ticket s now ?

 6 A.       Yes, ma'am .

 7 Q.       You're    say ing that 's for a concert ?

 8 A.       Yes, ma'am .

 9 Q.       And then you're     going to help her re solve the

10 fact that she does n't have ticket s for a concert ?

11 A.       That 's correct .

12 Q.       And she said that she was wait ing to hear about

13 that ; correct ?

14 A.       Yes, ma'am .

15          Can I explain     what I meant ?

16 Q.       Sure .

17 A.       Thank you .

18          I had been frustrate d by the fact that Ms.

19 Martin   had not purchase d any ticket s to take me and

20 other s to concert s, so I had gotten         in contact    with a

21 friend   of mine , a fellow     name d Mickey   Craig , who 's from

22 South Boston , Virginia , but he 's been in Baltimore            for

23 some time , to try to get in contact          with Chris

24 Rob in son , who was a promoter      of video s.    I thought    he

25 might be able to get a couple         of complement ary ticket s




                                                                Page 89
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 90 of 282



 1 so we might be able to go see Will Down ing at the

 2 Ronald    Reagan   building on May 9.      But Mickey was unable

 3 to secure the tickets, and that's what I was talking

 4 about.

 5 Q.        Paulette   Martin     had the money to buy the

 6 ticket s, didn't     she ?

 7 A.        Yeah , but I want ed to treat Ms. Martin         on that

 8 occasion .

 9 Q.        That 's what you were say ing ?      You were going to

10 resolve    the problem       that she could n't get any ticket s

11 by going and get ting complimentary         tickets ?

12 A.        Yes, ma'am .

13 Q.        That 's your testimony      of what you guy s meant by

14 "ticket s?"

15 A.        Yes .

16 Q.        You didn't     tell her what type of concert?

17 A.        No, I didn't.      I wanted to surprise her.

18 Q.        You didn't tell her where it was?

19 A.        No, ma'am .

20 Q.        You said you had to go over there to talk to her

21 about resolving      it ?

22 A.        Had to go where ?

23 Q.        You had to come over -- you had to go over there

24 to talk to -- see here?           She says at the end , see you

25 here ?




                                                                Page 90
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 91 of 282



 1 A.         Yeah .   I was going to surprise      her if I got the

 2 ticket s, but I didn't        get the ticket s so I didn't      go

 3 over there .

 4 Q.         This is when you haven't      gone to a concert      in

 5 about two year s with Ms. Mart in; is         that correct ?

 6 A.         That 's true .

 7 Q.         Your testimony      is that even though     you talk ed

 8 about how you were going to resolve           the problem    when

 9 she said she didn't         have any ticket , on April 25 , 2004 ,

10 that you didn't       go over there that day ; correct ?

11 A.         That 's correct .

12 Q.         And you specifically      said , on direct

13 examination , that Sergeant        Sakala   was mis taken when he

14 said that you went there ; correct ?

15 A.         He was wrong .

16 Q.         He was wrong .      The same way that Mr. Echarte         was

17 wrong ?

18 A.         That 's correct .

19 Q.         The way same way the Mexican       police    were wrong ?

20 A.         Well , Ms. Greenberg , I think that it 's common

21 knowledge     about the corruptibility       of the Mexican

22 police .

23 Q.         But you had a trial and an appeal         in that case ;

24 correct , sir ?

25 A.         Pardon   me ?




                                                                Page 91
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 92 of 282



 1 Q.        You had a trial and an appeal ?

 2 A.        Yes .

 3 Q.        Your testimony      today is the Mexican       police      were

 4 wrong ?

 5 A.        I'm say ing the Mexican       police     are corrupt , and

 6 that 's a common      knowledge .

 7 Q.        I'm just try ing to       clear up what you said .          You

 8 said Sergeant     Sakala    was in correct ; you s aid Mr.

 9 Echarte    was in correct , and you also said the Mexican

10 police    were in correct .    Is that your testimony ?

11           MR. MONTEMARANO:       Asked and answered , Your

12 Honor .

13           MR. HALL:     Objection .

14           THE COURT:     Sustained .

15           BY MS. GREENBERG:

16 Q.        Jus t to be clear .       The Mexican     police   were --

17           MR. MONTEMARANO:       Objection .

18           Asked and answered        Your Honor .

19           MS. GREENBERG:       It 's been asked a number        of

20 time s, Your Honor .       I don't think    it 's been answered

21 yet .

22           THE COURT:     I sustained     the objection .

23           BY MS. GREENBERG:

24 Q.        Sir , you testifi ed that Sergeant          Sakala   was

25 mis taken .   Is that as to the fact that you went over to




                                                                  Page 92
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 93 of 282



 1 Ms. Martin 's and the fact s that you were talk ing about

 2 drug s in this call , both ?

 3          MR. HALL:     Objection .

 4          I think that 's been asked and answered , also .

 5          THE COURT:     Over ruled .

 6          BY MS. GREENBERG:

 7   Q.     Both aspect s of that call ?

 8 A.       You know , Ms. Greenberg , the only thing I can

 9 say is that , you know , the pole camera s were working .

10 If I had gone there,      they could have seen me .

11          No , I was not talk ing about anything           other than

12 ticket s.

13 Q.       So you're    say ing Sergeant     Sakala   is wrong on

14 both fact s?

15 A.       I'm say ing --

16          MR. HALL:     Objection .

17          THE WITNESS:      -- the pole cam eras can verify            who

18 is right and who is wrong .

19          MS. GREENBERG:      Your Honor it 's been asked a

20 number   of time s and it has n't been answered .          I can

21 either   ask the question     again --

22          THE WITNESS:      He 's wrong .

23          MS. GREENBERG:      -- or the court can --

24          THE COURT:     He answer ed the     question .     That 's

25 the best you can get .




                                                                 Page 93
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 94 of 282



 1            MS. GREENBERG:       Thank you , Your Honor .

 2            BY MS. GREENBERG:

 3 Q.         Now , we just heard this call .       And just to be

 4 clear for the record , this is April 25 , 2004 ; correct ?

 5 A.         Yes, ma'am .

 6 Q.         At 3:23 p.m ; correct ?

 7 A.         Yes, ma'am .

 8 Q.         If I could have the next miscellaneous          number ,

 9 please .

10            Video 23 , Your Honor , relating      to Tape 74 on

11 April 25 , 2004 .      I'd like to play it for the jury at

12 this time .

13            MR. WARD:       I'm sorry .   What was it again , Ms.

14 Greenberg ?

15            MS. GREENBERG:       Video 23 .

16            Ms. Holmes, if you could start        this tape at

17 7:35 , please .

18                   (Ms. Holmes indicating.)

19            BY MS. GREENBERG:

20 Q.         You mention ed the     pole camera , sir ; is that

21 correct ?

22 A.         Yes , I did .

23 Q.         Watch this .      This is April 25 at 7:34 p.m.

24            Stop it right there , or pause it.         It does n't

25 pause ?     Play that .     If we could re wind it a little      bit ,




                                                                Page 94
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 95 of 282



 1 please .

 2            Do you see that car , sir ?

 3 A.         Yes , I see the car .

 4 Q.         This is at 7:35 ?     And it 's one of those fast

 5 tape s, so it 's going to go really         fast , so watch very

 6 care fully .

 7            For the record , we're at 7:35 ?

 8 A.         That 's not me .

 9 Q.         Your testimony     is , that 's not you ?

10 A.         Tha t's not me .    I don't know   who that is .     I

11 didn't     see Ms. Martin     in '04.

12 Q.         Why don't we just go ahead and play that ?

13            Going into the house .       Ms. Martin 's house ; is

14 that correct ?

15 A.         I guess that 's --

16 Q.         The person    you say is not you is going into the

17 side door of Ms. Martin 's house ; is that correct ?

18 A.         I'm say ing it 's not me .

19 Q.         The person    that exited    that car went into the

20 side door ; is that correct , sir ?

21 A.         That person    did , yes .

22 Q.         I'm sorry .    I could n't hear you over Mr.

23 Montemarano     sneezi ng .

24 A.         That person    did , yes .

25 Q.         If we could fast forward       to about 8:10 .     That 's




                                                                Page 95
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 96 of 282



 1 about 35 minute s from when we saw this -- 8:10 is about

 2 35 minute s from when we saw this camera           come up .

 3           MR. MONTEMARANO:        Is that a question , Your

 4 Honor ?

 5           BY MS. GREENBERG:

 6 Q.        If you could back it up .       The record    is say ing

 7 8:10 ; is that correct , sir ?

 8 A.        The record   is say ing that , yes .

 9 Q.        8:10 .   And do you observe     a person    come out ,

10 put s a bag in the passenger        seat of the car and get

11 into the driver 's side ?

12           Do you see that there ?

13 A.        I see the person     do ing something , yes .

14 Q.        Is that you ?

15 A.        No , that 's not me .

16 Q.        That 's at 8:11 :34 , is that correct , on the

17 video ?

18 A.        That 's what it says , yes .

19 Q.        And then if we could continue .         The person

20 close s the passenger     door and get s in the driver 's

21 side ; is that correct ?

22 A.        Yes .

23 Q.        Now , the video stop s at 11 :31 a.m.

24           If you could turn your transcript          book to Pa ge

25 B389 .    I f could play call B4438 .




                                                                  Page 96
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 97 of 282



 1                    (Record ing begin s playing     at 11 :31 a.m. )

 2                    (Recording stops playing       at 11 :31 a.m. )

 3           BY MS. GREENBERG:

 4 Q.        For the record , on the transcript         book , that 's

 5 April 25 of 2004 at 8:11 p.m ; is that correct ?

 6 A.        What page is this on ?

 7 Q.        389 .    It 's call B4438 .

 8           And if we could play that brief call again .

 9           (Record ing start s playing       at 11 :32 a.m. )

10           (Recording stops playing         at 11 :32 a.m. )

11           BY MS. GREENBERG:

12 Q.        Did you follow     along with the transcript         that

13 time , sir ?

14 A.        Yes, ma'am , I did .

15 Q.        That 's a call on April 25 , 2004 ; correct          --

16 A.        Yes .

17 Q.        -- at 8:11 p.m. ?

18 A.        Yes .

19 Q.        And that 's Mr. Martin        and Ms. Martin -- P aulette

20 Martin ; correct ?

21 A.        Yes, ma'am .

22 Q.        She said , Reece just left ?

23 A.        Yeah .

24           MS. GREENBERG:      No further     question s, Your

25 Honor .




                                                                  Page 97
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 98 of 282



 1           THE COURT:     All right .      Ladies and gentlemen      ,

 2 we'll take a 15 -minute      recess      and resume   at quarter      of

 3 12 .

 4                  (Jury excused at        11 :33 a.m. )

 5                  (Off the record at 11:33 a.m.)

 6                  (On the record       at 11 :50 a.m. )

 7           THE COURT:     Counsel , before     the jury is brought

 8 in , I want ed to tell you , unless         you have a better       idea

 9 and you want to talk me into it, that I intend               to give

10 a limiting    instruction    to the jury now about the nature

11 of the materials       brought   out on cross- examination       by

12 the government .

13           MR. HALL:     Your Honor , that 's fine .      I just will

14 tell the court that I am going to have a brief re direct

15 of my client .

16           THE COURT:     If you want .      It 's your call .    I can

17 wait until he 's finish ed .

18           MS. GREENBERG:     Judge , what is the limiting

19 instruction ?    Not all my cross was 404 (b) .

20           THE COURT:     No , no, no .     What I   intend   to tell

21 them --

22           MS. GREENBERG:     I think I went into the

23 transcript    book a bit .

24           THE COURT:     No , no , no.     What I intend     to do is

25 to tell them that the fact of these convictions               was




                                                                 Page 98
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 99 of 282



 1 admitted    under a rule which permit s the fact of those

 2 convictions      to be introduced       -- the fact for the

 3 purpose    of attacking      the credibility     of a witness   and

 4 th at I have ruled and concluded           that that examination

 5 was appropriate        to be before     the jury for that purpose .

 6            Then I will point out to them that during

 7 cross-examination         there was inquiry     made in certain

 8 area s with regard        to the under lying fact s pertain ing to

 9 some of those convictions, and then I will give them a

10 404(b) l imiting       instruction     on what those additional

11 fact s are .

12            MR. HALL:      Fine , Your Honor .

13            MR. WARD:      Your Honor , this is one of -- the

14 exhibition      that I    just witness ed bring s up another

15 point that I wish to raise with respect             to my client .

16 I expect    that she will be testify ing , and we will

17 obvious ly want to do the qualification            out of the

18 presence    of the jury .

19            Number   two , I'm going to ask the court , under

20 Rule 609 , to conduct        a hear ing out of the jury 's

21 presence    and make a determination         as to what is

22 admissible      and how far the government        is going to be

23 permitted      to go before    she take s the stand so that she

24 can also factor        that into her consideration .      I intend

25 to bring certain         -- I intend    to bring her aspect s of




                                                                 Page 99
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 100 of 282



 1 her witness    -- her prior record         out on direct .

 2          THE COURT:       Mr. Ward , I don't want to cut you

 3 off , but I can address       that when the jury is not

 4 wait ing .

 5          MR. WARD:       Sure .

 6          THE COURT:       I will be glad to address         that with

 7 you .

 8          MR. WARD:       I want ed to alert the court in case

 9 we finish    up .

10          THE COURT:       What I intend     to do is take a one

11 hour lunch break today .           We can make it 45 minute s

12 while the jury is out for that one hour .

13          MS. GREENBERG:           Judge , it would be help ful to

14 know -- we still don't know who the next witness                   is .

15          MR. HALL:       I have my character      witness       next .

16          MS. GREENBERG:           Is Mr . Good win going to testify ,

17 or Ms. Dobie ?

18          THE COURT:       Is Mr. Goodwin      ready to   go ?

19          MR . MARTIN :     I visited     with the marshals        last

20 night and I was told the earliest            the dentist     would

21 come to Prince George 's County           was Monday , and I'm

22 hope ful they will be able to move Mr. Goodwin               to the

23 front of the line .

24          I asked Mr. Goodwin          a few minute s ago as he came

25 back in if he thought        he was going to be able to




                                                                    Page 100
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 101 of 282



 1 testify    today , and his response        was no because     his

 2 mouth hurt s too much and the bridge           still has not been

 3 re place d.    It 's fit ting in his mouth .       He just push ed

 4 it up there , but it does n't stay .

 5           THE COURT:      Mr. Martin , all I will tell you is

 6 the marshals     have advise d me that this is not a new

 7 problem   and that he 's complain ed about it befor e and

 8 it has never been interfere d with his ability               to speak

 9 before , and he 's not complain ed of pain , including

10 during    lunch yesterday .

11           I will talk to the marshals'          office    about a

12 dental    examination .     He needs to understand         that if he

13 want s to testify , he needs to be prepared              to testify .

14           MR . MARTIN:     I think he 's heard the court , and

15 that 's been re lay ed to him .

16           THE COURT:      Let 's bring the jury in, and I will

17 give a caution ary instruction           at your --

18           MR. HALL:      This would be an appropriate         time ,

19 Your Honor .

20           THE COURT:      Now ?

21           MR. HALL:      Yes .

22           THE COURT:      Fine .

23                  (Witness        resume s the stand .)

24                  (Jury return s at 11 :56 a.m. )

25           THE COURT:      Ladies and gentlemen     , before    we




                                                                  Page 101
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 102 of 282



 1 proceed     with the re direct    examination     of this witness ,

 2 I want to re view a couple        of matter s with you

 3 pertain ing to the nature        of the evidence      that you've

 4 been hear ing regard ing Mr. Whiting .

 5            First of all , you have heard evidence         brought

 6 out about certain      prior convictions        of this witness      of

 7 crime s.     Such evidence    is admissible      for the purpose      of

 8 attack ing the credibility        of a witness , and it has been

 9 received     and permitted    as evidence    for that purpose .

10            The under lying fact s of those convictions         are

11 not admissible     under that rule .      They are , however ,

12 matter s which may be considered         under the rubric      that I

13 have given you in some previous          limiting     instruction s.

14 By that I mean that when the prosecutor              was permitted

15 to ask question s concern ing some of the under lying

16 fact s pertain ing to those convictions , those question s

17 were admitted     by me but for a different          and limited

18 purpose .

19            Our evidence    rule s state , and I quote , that

20 evidence     of other crime s, wrong s or act s is not

21 admissible     to prove the character       of a person    in order

22 to show action     and conformity     there with .     As I've said

23 before , simply    put :   This language     of the rule mean s

24 that evidence     of other crime s, wrong s or act s may not

25 be use d to demonstrate       that a person      has a certain




                                                                Page 102
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 103 of 282



 1 character      and that because    of that character      such

 2 person   is like ly to have committed        the offense    charge d

 3 in this case .

 4            The evidence    rule s provide , however , that such

 5 evidence , and I quote , may be admissible           for other

 6 purpose s such as proof of motive , opportunity , intent ,

 7 preparation , plan , knowledge , identity         or absence      of

 8 mis take or accident .       I have ruled that the examination

 9 of this witness        concern ing some of the under lying fact s

10 pertain ing to those convictions         is ad missible    but only

11 for these other limited        purpose s.    According ly , I

12 instruct    you that you may consider        this evidence       but

13 only for the limited        purpose s that I have just

14 de scribe d.

15            You may proceed , Mr. Hall .

16            MR. HALL:     Thank you , Your Honor .

17                         REDIRECT EXAMINATION

18            BY MR . HALL:

19 Q.         Mr. Whiting , I'm going to ask you to view the

20 videotape      again that you were shown a few minute s ago .

21            (Videotape    begin s play ing at 11 :58 a.m. )

22            BY MR. HALL:

23 Q.         Can you see it ?

24 A.         Yes, sir .

25            MR. HALL:     Your Honor , the assistance      of the




                                                                Page 103
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 104 of 282



 1 government    -- I'm going to ask them to fast forward             to

 2 the point where the gentleman         in question     came out so

 3 we don't have to watch all the silence .

 4          Stop now .

 5                   (Video tape stops playing      at 12 :00 p.m. )

 6          BY MR. HALL :

 7 Q.       Mr. Whiting , did you have an opportunity            to look

 8 at that video again ?

 9 A.       Yes, sir .

10 Q.       Let me ask you this .       Did you see the vehicle ?

11 A.       Yes, sir , I saw it .

12 Q.       How would that vehicle        compare   to the vehicle

13 that you own ed ?

14 A.       I couldn't    tell what type of vehicle         that was ,

15 to be truthful      with you .

16 Q.       All right .     Could you see the tag num ber ?

17 A.       I saw no tag number .

18 Q.       Did you see the individual         that walk ed in and

19 out of the house ?

20 A.       I saw a person , but who it was I don't know .

21 Q.       Okay .   You indicated     that person     was not you ; is

22 that correct ?

23 A.       That 's correct .

24 Q.       Let me ask you this .       To be blunt at the moment ,

25 would it be fair to de scribe        that you are either       bald




                                                                Page 104
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 105 of 282



 1 or shave d your head ; is that correct ?

 2 A.         At all time s since the last 30 -some year s.

 3 Q.         That 's what I was going to ask you .

 4            Has your physical       appearance    been the same for

 5 the last -- for a lengthy          period     of time ?

 6 A.         Yes, sir .

 7 Q.         What was your physical       appearance        during   that

 8 April 25 -26 time period       of 2004 when we saw that video ?

 9 A.         Bald .

10 Q.         Bald ?

11 A.         All bald .

12 Q.         All right .    S ir , let me ask you this .         There was

13 a tape being play ed earlier          concern ing one of your

14 call s in which you asked about Mr. Echarte .

15            Do you recall    that tape -record ed phone call ?

16 A.         Yes, sir .

17 Q.         Okay .    Tell the ladies and gentlemen of the jury

18 why is it you would care about whether              Mr. Echarte       was

19 around ?

20 A.         Because    Ms. Martin    care d.    That 's the only

21 reason .

22 Q.         How would you de scribe      your relationship          with

23 Ms. Martin     in so far as discuss ing her , shall we say ,

24 love life ?

25 A.         Ms. Martin    constant ly complain ed to me about the




                                                                      Page 105
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 106 of 282



 1 fact that she could n't find the man that she want ed to

 2 find , and that was my function , I thought , to console

 3 her in that regard .

 4 Q.       Okay .    And during   the time period      that she had a

 5 relationship      with Mr. Martin , were there ever any time s

 6 in which she stray ed from Mr. Martin          to anyone    else ?

 7 A.       Yes, sir .

 8 Q.       How often ?     That you knew of .

 9 A.       I knew of at least       twice .

10 Q.       Okay .    And one of those would be with Mr.

11 Echarte ; right ?

12 A.       Yes, sir .

13 Q.       The government      asked you a number      of question s

14 concern ing your previous       convictions , and I want to ask

15 you -- and the government        create d a chart back here .

16          MS. GREENBERG:       It 's got a number , Mr. Hall , on

17 the top .

18          MR. HALL:     Excuse   me , counsel .

19          MS. GREENBERG:       It 's got a number , for the

20 record , up on top .

21          BY MR. HALL:

22 Q.       It has a number      of CH-15 .

23          I want to ask you about your 19 68 conviction               for

24 marijuana .

25 A.       Yes, sir .




                                                                Page 106
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 107 of 282



 1 Q.        That was in the state of Texas ; is that right ?

 2 A.        Yes, sir .

 3 Q.        What was your role in that case ?

 4 A.        I was a pass enger in a car with Rudolph Cook .

 5 Rudolph C ook had made the deal with this guy name d

 6 Willie Gardner .       Willie Gardner    knew Jose P alm er .      I

 7 was riding    with Mr. Cook , and we went across the bridge

 8 and we got stopped .

 9 Q.        The purpose     of it was smuggling ; is that right ?

10 A.        Yes, sir .

11 Q.        In regard     to that particular    case .    Who , if

12 anyone    from this case , did you ever see in Ms. Martin 's

13 house ?

14 A.        No one .

15 Q.        All right .     Now let me ask you -- in reference

16 to the 19 73 conviction       you had for heroin       in Baltimore

17 -- in federal     court in Baltimore .

18           Who in that case ever had any relationship               to

19 Ms. Martin    that you knew of ?

20 A.        Nobody .

21 Q.        All right .     How about your conviction       in Mexico

22 in 19 84 ?   Was there anyone      involve d in that case that

23 had anything     to do with Ms. Martin       during    the time

24 period    of this matter ?

25 A.        No, sir .




                                                                Page 107
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 108 of 282



 1 Q.      All right .      How about the 19 94 conviction         you

 2 had in the Eastern       District   of Virginia ?    Anyone     in

 3 that case involve d with Ms. Martin         that you knew of ?

 4 A.      No, sir .

 5 Q.      Let me ask you this .        Counsel   asked you a number

 6 of question s concern ing the phone call s that were

 7 play ed during    the course   of this trial .      The occasion s

 8 in which you were speak ing to Ms. Martin           concern ing

 9 ticket s.   You testifi ed you were actual ly try ing to get

10 ticket s; is that correct ?

11 A.      I was hopi ng that she would purchase           ticket s for

12 us to go to something .

13 Q.      All right .      And you also hope d for something

14 else , didn't    you ?

15 A.      Yes, sir .

16 Q.      What did you hope for ?

17 A.      I hope d that when we went on these affair s she

18 would probably     provide   some sort of cocaine       so we could

19 enjoy ourselves .

20 Q.      Were you hopi ng for something         else ?

21 A.      Probably     some sort of liaison      with Ms. Martin .

22 Q.      Okay .    By that you mean a sexual         liaison ;

23 correct ?

24 A.      Yes .

25 Q.      Just to make it absolute ly clear , because             we




                                                                 Page 108
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 109 of 282



 1 can't have too much information             about the -- your

 2 jaguar s.     The --

 3            MS. GREENBERG:        Objection .

 4            BY MR. HALL:

 5 Q.         I'll withdraw     that .

 6            The Jaguar   that you borrow ed the money from Ms.

 7 Martin .     For what model was it ?

 8 A.         It was an XJ-6 four- door .

 9 Q.         An XJ-6 four- door ?

10 A.         Yes, sir .

11 Q.         It was gray ?

12 A.         Silver   -- gray ish blue .

13 Q.         Gray ish blue ?

14            And the one that you had during              the time period

15 when you were arrested         in 19 94 .    What model was that ?

16 A.         That 's an XJ-S two- door .         It was    burgundy .

17            MR. HALL:    Okay .     No further      question s.

18            THE COURT:      Anything    further ?

19            MR. MONTEMARANO:        If I may , Your Honor ?

20            THE COURT:      All right .

21            MR. MONTEMARANO:        Thank you .

22            THE COURT:      With limit s.

23                         RECROSS EXAMINATION

24            BY MR. MONTEMARANO:

25 Q.         I'd like to clarify        a couple     of thing s, Mr.




                                                                    Page 109
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 110 of 282



 1 Whiting , if I could , please .

 2           You were arrested       in Virginia    in 19 94 ; correct ,

 3 sir ?

 4 A.        Yes, sir .

 5 Q.        As a result , you did dime time until about '99 ;

 6 correct , sir ?

 7 A.        Yes .

 8 Q.        You heard evidence       here at the trial , and Ms.

 9 Greenberg    asked you some question s about Ms. Martin 's

10 arrest    in 19 94 ; correct , sir ?

11 A.        Yes, sir .

12 Q.        And at that time , you were friends ; correct ,

13 sir ?

14 A.        Yeah , we were friends .

15           MS. GREENBERG:       I'm going    to object      to the

16 continued    lead ing .

17           THE COURT:       Over ruled .

18           BY MR. MONTEMARANO:

19 Q.        You heard the evidence .         Was Ms. Martin

20 convict ed in 19 94 of anything ?

21 A.        I don't have      the slightest    idea .    I was not

22 really    in contact      with Ms. Martin in     19 94 .   When I say

23 we're friends , we're friends          because   we have been

24 friends    and our friendship       continued , but I was moving

25 in other circle s at that time .




                                                                  Page 110
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 111 of 282



 1            MR. MONTEMARANO:       O kay .   No further    question s.

 2 Thank you .

 3            MR . MARTIN:     Mr . Goodwin    has no question s, Your

 4 Honor .

 5            MR. HALL:      Obvious ly --

 6            THE COURT:      Any re cross ?

 7            MS. GREENBERG:       Brief ly , Your Honor .

 8                           RECROSS EXAMINATION

 9            BY MS. GREENBERG:

10 Q.         Sir , Mr. Hall had asked you about Mr. Echarte

11 and Julio , the reference        in the phone call s; correct ?

12 A.         Yes, ma'am .

13 Q.         You said on re direct      you were interest ed in        Mr.

14 Echarte     being out of the picture        because   of your

15 interest     in Ms. Martin ; correct ?

16 A.         No .    I said I was concerned      about her concerns

17 about Mr. Echarte .

18 Q.         But he had     been gone from this area since about

19 2002 ; correct ?

20 A.         Yes , I think so .

21 Q.         And living     down in Florida ?

22 A.         I think so .

23 Q.         And these conversation s that you're           having   with

24 her are in 2004 ?

25 A.         Yes .




                                                                 Page 111
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 112 of 282



 1 Q.        Relating    to Julio , which is Mr. Echarte ?

 2 A.        Yes, ma'am .

 3 Q.        And the call that we went over was n't the only

 4 call that you had with Ms. Martin           about Julio;    correct ?

 5 A.        What's    this now ?

 6 Q.        The call that we went over on cross-examination

 7 was n't the only call that you had with Ms. Martin              about

 8 Julio;    correct ?

 9 A.        I don't remember .

10 Q.        Why don't you turn to Page 84 of the transcript

11 book ?

12 A.        Book 1?

13 Q.        Book 1.

14           Let me know when you have it .

15 A.        I've got it.

16 Q.        This is a call that you're        having   with Ms.

17 Martin    on or about March 16 of 2004 ; correct ?

18 A.        Yes, ma'am .

19 Q.        It 's between    you and Ms. Martin ?

20 A.        Yes, ma'am .

21           MR. HALL:      Your Honor , I'm going to object .        I

22 didn't    ask about this phone call .

23           MS. GREENBERG:         He asked about Julio , Your

24 Honor .

25           MR. HALL:      I asked about Julio in reference         to a




                                                                Page 112
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 113 of 282



 1 specific     phone call .

 2            THE COURT:     Over ruled .

 3            BY MS. GREENBERG:

 4 Q.         You're   talk ing to   Ms. Martin ; correct ?

 5 A.         Yes, ma'am .

 6 Q.         About somebody    you haven't    seen since 2002 ?

 7 A.         Yes, ma'am .

 8 Q.         And she tell s you , about three quarter s of the

 9 way down , at the beginning        of the phone call , that

10 Julio went to court yesterday ; correct ?

11 A.         Wait a minute .    Oh , yes, ma'am .

12 Q.         And you say , oh , yeah ?     And she said , they were

13 going to give him 30 to life , but they broke it down to

14 ten to life .

15            Correct ?

16 A.         Yes, ma'am .

17 Q.         And you say , over that non sense ?

18            Correct ?

19 A.         Yes, ma'am .

20 Q.         What did you mean by that?       What " non sense ?"

21 A.         I just was respond ing to what Ms. Martin          said .

22 Q.         About the 30 to life ?

23 A.         Yeah .   I had talk ed -- she and I had talk ed , and

24 she was say ing that it was something          min or.    Then I

25 said , some min or non sense .




                                                                Page 113
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 114 of 282



1 Q.         What was the min or thing ?

2 A.         I don't know      what it was .     She said something

3 about him being arrested             for a, I think , PCP or

4 something     to that nature .

5 Q.         So , the non sense refer s to PCP charge s?

6 A.         Yeah .

7 Q.         And you say , that 's tragic , man ?

8 A.         Yeah , because     I didn't    real ize that it carri ed

9 that kind of time .

10 Q.        And then you offer to her , if you talk to anyone

11 down there ask them to send the paperwork                and I'll    take

12 a look at it and we'll see .            I may be able to see

13 something    I know .

14 A.        Right .

15 Q.        This 's relating     to Mr. Echarte        who --

16 A.        No.      It 's relating    to Ms. Martin 's concerns .

17 Q.        About Mr. Echarte , her former            boyfriend ;

18 correct ?

19 A.        Right .

20 Q.        And your testimony         on re direct    was that every

21 time you talked        to Ms. Mar tin about tick ets , you talked

22 about ticket s in order        to meet with her and go to a

23 concert   and perhaps      become     romantically     involve d with

24 her , and perhaps       do cocaine     with her ; correct ?

25 A.        Yes, ma'am .




                                                                     Page 114
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 115 of 282



 1 Q.         But you hadn't      seen her since 2002 .

 2 A.         That 's correct .

 3 Q.         You never did go to a concert          with her dur ing

 4 the period     of time between      2002 and the time of your

 5 arrest   in the   June of 2004 ?

 6 A.         No , I don't think     I did .     Like I said , I can't

 7 remember    the last time we went .          But , no .   Right .

 8            MS. GREENBERG:      N othing     further , Your Honor .

 9            THE COURT:      All right .      In the absence   of more

10 question s, you may step down .

11                          (Witness   excused     at 12 :12 p.m. )

12            THE COURT:      Next witness .

13            MR. HALL:     The next witness       would be Raquel

14 Whiting , who is out in the ante room .            If I can --

15            THE COURT:      You may retrieve      her .

16 Thereupon,

17                         RAQUEL BONITA WHITING,

18 having been called as a witness on behalf of the

19 Defendant Whiting,        and having been first duly sworn by

20 the Courtroom Deputy, was examined and testified as

21 follows:

22                                DIRECT EXAMINATION

23            BY MR. HALL:

24 Q.         Ma'am , please    state your name .

25 A.         Raquel Bonita     Whiting .




                                                                  Page 115
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 116 of 282



1 Q.         Ms. Whiting , what do you do for a living ?

2 A.         I current ly work for Educate , Inc .          I work for

3 Catapult      Online .   We're a company      that provides    free

4 tutor ing service s and computer s to low income and

5 dis advantage d famili es .

6 Q.         And you know Reece Whiting ?

7 A.         Yes .    He 's my father .

8 Q.         I won't ask you how long you've            known him , but I

9 take it you 've known him all of your life .

10 A.        Yes .

11 Q.        Ma'am , you're    also an attorney ; is that correct ?

12 A.        Yes, sir .    I went to Virginia      Law School .

13 Q.        And you are a member         of the Maryland    Bar ; is

14 that correct ?

15 A.        Yes, sir .

16 Q.        I take it that since you have known your father

17 all of your life , are you aware of his reputation

18 amongst   friends , relative s, family        member s, associate s

19 for being a truthful       and honest     person ?

20 A.        Yes, sir .

21 Q.        What is his reputation ?

22 A.        His reputation     is being extreme ly honest        and

23 truthful .

24 Q.        Okay .    And you base that upon your personal

25 experience s with him ?




                                                                Page 116
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 117 of 282



 1 A.        I do .   Obvious ly , my dad has had some activities

 2 in his life that have not been activities              that I

 3 support , and my dad 's always       been extreme ly honest      with

 4 me about every single       thing that he 's ever done and

 5 I've always    known that he was honest , even in light of

 6 the activities     that he 's been involve d in .

 7           MR. HALL:    Okay .    I have   no further    question s.

 8           MS. JOHNSTON:      Just a couple     of question s, Your

 9 Honor , if I might .

10           THE COURT:     You may .

11                          CROSS-EXAMINATION

12           BY MS. JOHNSTON:

13 Q.        I was n't prepared     for counsel    to be finish ed so

14 quick ly , so bear with me just a minute .

15           I apologize , Ms. Whit ing .

16 A.        Oh , not a problem .

17 Q.        My voice tends to be too soft , unless          I'm really

18 angry .

19           Good morn ing .

20 A.        Good morn ing .

21 Q.        We haven't   met before , have we ?

22 A.        No , we have not .

23 Q.        And you , yourself , are a member       of the Maryland

24 Bar ; is that correct ?

25 A.        Yes, ma'am , I am .




                                                                Page 117
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 118 of 282



1 Q.        When did you become        a member    of the Maryland

2 Bar ?

3 A.        I graduated      from law school      in 19 99, and then I

4 went and work ed on the presidential            campaign , and I

5 went and join ed the Bar in 2001 .           I'm sorry .     I had to

6 -- because      I didn't   take the Bar exam right after

7 graduating , since I work ed on the presidential              campaign

8 --

9 Q.        I won't ask you if it was a success ful

10 presidential      campaign .

11 A.       Un fortunate ly , no .

12 Q.       Okay .    So , since 19 - -- you graduate d in 19 99 ;

13 is that fair to say ?

14 A.       Yes, ma'am .

15 Q.       I take it that you maintain ed contact            with your

16 father   over the year s while he was in prison ; is that

17 correct ?

18 A.       Not -- I mean , obvious ly , some contact          through

19 letter s and stuff .      Obvious ly , you know , I didn't      get

20 to see him all the time .         But , yes , through     letter s and

21 phone call s.

22 Q.       Okay .    And during     those time s, did your father

23 ever have conversation s with you concern ing why it was

24 that he continued      to support    himself    through    engagi ng

25 in drug trafficking       over those year s?




                                                                Page 118
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 119 of 282



 1          MR. HALL:     Objection .

 2          Beyond   the scope .

 3          THE COURT:      Over ruled .

 4          BY MS. JOHNSTON:

 5 Q.       Did he ever explain        to you why he continued          to

 6 engage   in drug trafficking       as a mean s of support ing

 7 himself ?

 8 A.       You know , I have had conversation s with my dad ,

 9 obvious ly , you know , asking      him to change        his life , and

10 he did , and that 's what's       exciti ng about .       I never

11 really   asked that question       about "why ," because       I can't

12 judge other people 's action s.

13          Obvious ly , his action s had a really           negative

14 impact   on my life grow ing up and not having             my dad

15 around   a lot of time s.       But the great thing about it is

16 that my mom work ed really        hard , and God was with , and I

17 was able to finish      Princeton    and U. VA.     And then , you

18 know , when my dad finally        -- when I got out of school ,

19 my dad was really      intent    on changi ng his life because

20 he knew how important       it was to me because          of the

21 thing s that I want ed to do , and he knew that it was a

22 reflection    -- a negative      reflection    on me .

23          So , I guess -- I don't know          if that answer s your

24 question , but ...

25 Q.       It does not .     I appreciate       your in sight into




                                                                  Page 119
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 120 of 282



 1 your view s of your relationship                with your dad , but my

 2 question     to you is this .         Did he ever tell you how much

 3 money he was maki ng deal ing drug s?

 4 A.         No .     I never -- my dad 's never included              me in

 5 any of his criminal             activity .

 6 Q.         Ms. Whiting , I didn't            mean to suggest       that he

 7 included     you , but my question            is , during   these time s

 8 when you've         had these conversations         with him , did he

 9 ever discuss         with you the magnitude         of his involve ment

10 in drug trafficking             over these different        time s when he

11 was arrested ?

12 A.         Okay , ma'am .

13 Q.         Yes or no?

14 A.         Hold on one second .          I just want to say I'm

15 sorry .     I'm not being hostile             to you , so please      don't

16 towards     me .

17            I guess I -- you know , I never really                  knew or

18 understood         the magnitude .     I know that my dad had

19 significant         criminal     behaviors     when I was young er .

20 Obvious ly , it kept him in jail a significant                     amount   of

21 time when I was grow ing up .                I don't know    the

22 magnitude .         I've never talk ed to my dad about the

23 specific s of his business .            What I did say was that I

24 was hopi ng that he would change                his life , because      that

25 was important         to me .     I pray ed for that and my mother




                                                                        Page 120
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 121 of 282



 1 pray ed for that , and we felt like we had such an answer

 2 to prayer     because    my dad needs such change s after the

 3 last time he got out of jail .

 4 Q.        So the answer     to my question      is that no , he

 5 never discuss ed with you , even after he decide d to turn

 6 his life around , what the magnitude           of his involve ment

 7 in drug trafficking        was .

 8 A.        Obvious ly , I know that it was significant

 9 because   it took a lot of time out of my life .             I do

10 know my dad 's always       been --

11           MS. JOHNSTON:      Your Honor , if I could ask the

12 witness   to answer      my question    please .

13           MR . MARTIN:     Your Honor , the question      has been

14 asked and answer ed several          time s, and she 's answered

15 it .

16           THE COURT:      Try to answer     the question .

17           Please   let her finish       the answer s.

18           THE WITNESS:      I'm sorry , sir .      I'm try ing to   be

19 as help ful as I can .

20           I guess whatever         question s I've ever asked my

21 dad , my dad 's always      been extreme ly honest      with me

22 about it .     I've never asked a lot of question s about my

23 dad 's old life because , you know what ?           I want my dad

24 to change .     I want ed my dad to change , and so I want ed

25 to leave that in the past because            that was important .




                                                                Page 121
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 122 of 282



 1 So , for me , like , talk ing to     my dad was -- it was about

 2 how do we get you a job ?        Dad what's    happening    in your

 3 life right now ?       How can we support     you so you don't go

 4 back to that lifestyle ?        And we were do ing everything

 5 we could to make sure that happened           and that he didn't

 6 make those -- that he did make those change s.              So , I

 7 guess like maybe you would have conversation s about the

 8 magnitude .

 9            For me , like , as a Christian , I want to move

10 forward    with people     and figure   out how we work to ,

11 like , make you the best person         you can be , and that 's

12 what we've been do ing .

13            BY MS. JOHNSTON:

14 Q.         Did you have conversation s with       him -- he did

15 get a law degree ; isn't that correct ?

16 A.         Yes, ma'am .    He got his law degree .

17 Q.         Do you know -- was it back in 19 80 -something ?

18 Is that fair to say ?

19 A.         I believe   it was when I was in elementary

20 school .    I don't know     the exact date because ,

21 obvious ly , I was young er .

22 Q.         He got his law degree .      And while he -- after he

23 had his law degree , he still continued           to be involve d

24 in drug s; is that correct ?

25 A.         Obvious ly , as ex-f elon , my dad could n't be a




                                                                Page 122
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 123 of 282



 1 member    of the Bar , un fortunate ly , so he could never

 2 have practice d law .

 3 Q.        Okay .    Ma'am , my question       to you is this .     After

 4 he got a law degree        from Howard       University , he

 5 continued     to deal drug s as a way to support          himself ; is

 6 that correct ?

 7           MR. HALL:      Objection , Your Honor .       Objection .

 8           THE COURT:      Over ruled .

 9           BY MS. JOHNSTON:

10 Q.        Is that correct ?         I belie ve you could answer

11 that question      yes or no .

12 A.        Yes .    But like I said , I think that issue is

13 that you can't be a member            of the Bar and practice       law

14 as an attorney        if you're     a felon , and so that was n't

15 even an option        for him .     He went there for his own

16 edification , understand ing the law and want ing to

17 better    himself .     I mean , I don't think      that he ever

18 thought     that he would be able to practice .

19 Q.        And you know why he went to law school               because

20 you were in elementary            school   at the time ; is that

21 correct ?

22 A.        Well , I know that when I was in elementary

23 school    I always     use d to watch him study , and I would

24 look at his law book s and talk to him about the law ,

25 so ...




                                                                   Page 123
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 124 of 282



1 Q.          And while he studi ed law , he was still deal ing

2 drug s; is that correct ?

3 A.          Obvious ly --

4             MR. HALL:     Objection .

5             THE WITNESS:     When I was in elementary          school , I

6 had no idea .         I did not learn anything      that my dad was

7 do ing until I was in middle         school .

8             BY MS. JOHNSTON:

9 Q.          You have a law degree ; is that correct ?

10 A.         Yes, ma'am , I do .

11 Q.         You're    not practici ng law at this time in your

12 current    job ; is that correct ?

13 A.         I chose not to practice       law .   I practice d law

14 for three year s at Arent Fox,          one of the most

15 prestigious     law firm s in D. C.       I chose to leave the

16 practice    of law because I wanted to make a difference

17 every day in the lives of kids who             needed help.    Ev ery

18 day I give kids whose parent s have a lot of problem s --

19 some of them drug addict s and some of them prostitute s.

20 I give these kids an opportunity           to better   their live s

21 and change     their live s.     So , I left the practice        of law

22 because    I felt like I wanted        to be hands -on in mak ing

23 a difference        in the community , because     I believe     in

24 public    service .

25 Q.         Public    service .




                                                                  Page 124
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 125 of 282



 1 A.         Yes, ma'am .

 2 Q.         Sort of what prosecutor s do as well , sever the

 3 public .

 4            MR. HALL:      Objection , Your Honor .

 5            THE COURT:      Sustained .

 6            MS. JOHNSTON:      You are to be commend ed in deed

 7 for the work that you've         chose n to do .

 8            MR . MARTIN:     Objection .

 9            BY MS. JOHNSTON:

10 Q.         Ms. Whiting , my question         -- let me ask you

11 another     question .     You are familiar      with the fact that

12 with a law degree         there are any number      of different

13 job s you can get        other than practici ng law; is     that

14 correct ?

15 A.         Obvious ly , I know that there are other job s you

16 can get .     But , ma'am , obvious ly I was bless ed enough

17 and fortunate      enough    that I grew up in a household

18 where my mom work ed three job s to pay for me to go to

19 Roane P ark Country        School .     When I went to Princeton , I

20 left and I had amazi ng opportuniti es .            So , you know

21 what ?     The world is my oyster .         I'm so bless ed and

22 lucky .     I can d o anything        I want .

23            My dad had a different         life grow ing up, and he

24 made mis take s.       Those mis take s follow ed him the rest of

25 his life , and he's been work ing really            hard to turn




                                                                Page 125
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 126 of 282



 1 that around.     I   hear what you're      say ing, that   you can

 2 do other job s.      Obvious ly , I can do any job I want to

 3 do but that 's because      of Princeton, U.VA,       and the fact

 4 I've work ed for presidential         campaign s, I've work ed for

 5 U. S. Senate campaign s, and I've work ed for state

 6 senat or s.

 7          I'm really    bless ed .     I have an amazi ng resume ,

 8 but I didn't have the life.         I had a totally different

 9 life than my dad did growing up.            It 's a totally

10 different     world for me , and that 's why I do          what I do

11 with the kids that I work with , because           I don't want my

12 kids to make the same mis take s my dad made and have the

13 world close off to them .         If I don't do that work -- if

14 I don't help them , then they might be in this

15 courtroom , and I don't      want that .     H is world was

16 different .

17 Q.       Are you through      now ?    Are you finish ed ?

18          MR. HALL:     Your Honor , I'm going to object          to

19 that comment     from counsel .

20          MS. JOHNSTON:       Your Honor , the witness        is not

21 being responsive      to the question s the government         has

22 asked her .

23          THE COURT:      She 's finish ed , Ms. Johnston .

24          BY MS. JOHNSTON:

25 Q.       You indicated     you think your father       has turn ed




                                                                 Page 126
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 127 of 282



 1 his life around ; is that correct ?

 2 A.         Absolute ly .

 3 Q.         You would agree with me it would be a gross

 4 mis representation       -- strike    that .   Let me back up for a

 5 second .

 6            As a lawyer , in order      to be a managi ng partner

 7 of a law firm --

 8            MR. HALL:       Objection , Your Honor .

 9            She was never a managi ng partner          in a law firm .

10 We're way beyond        --

11            THE COURT:        Let 's get the question    out , counsel ,

12 and then we will hear the objection .

13            BY MS. JOHNSTON:

14 Q.         As a lawyer       and a member   of the Maryland   Bar --

15 you took ethic s class es when you were in law school ; is

16 that correct ?

17 A.         Obvious ly , ma'am .     I have a law degree .

18 Q.         You work ed out of one of the largest , most

19 rep utable    law firm s in the District of        Columbia ; is

20 that correct ?

21 A.         Yes, ma'am .

22 Q.         In order    to be a partner      in a law firm , you have

23 to have a law degree ; correct ?

24 A.         Yes .

25 Q.         You have to be license d to practice          law --




                                                                 Page 127
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 128 of 282



 1 A.       Yes, ma'am .

 2 Q.       -- in a particular        jurisdiction   --

 3 A.       Yes .

 4 Q.       -- or you can't be a partner .

 5 A.       Right .

 6 Q.       You can't hold yourself        out as an attorney      at

 7 law ; is that correct ?

 8 A.       Yes .

 9 Q.       If your father      were to have done that , he

10 certain ly would have been mis represent ing his record ;

11 isn't that correct ?

12 A.       Yes .

13          MR. MONTEMARANO:       Objection .

14          Mis representing     the state of the      evidence   in the

15 case .

16          MR. HALL:      Your Honor , I'm also going to object .

17          In addition     to that reason , the fact that we are

18 far beyond    what this witness       was call ed for .

19          THE COURT:      Connect    the dot s if you would , Ms.

20 Johnston .

21          MS. JOHNSTON:       I will in deed , Your Honor .

22          BY MS. JOHNSTON:

23 Q.       I want to show you what's         been mark ed as

24 Government 's Exhibit      -- and introduced      in evidence    as

25 Miscellaneous 49 .




                                                                Page 128
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 129 of 282



 1          This item here is in reference          to an application

 2 for employ ment is that correct ?

 3 A.       Yes .     That's   what it says .

 4 Q.       And it 's date d April 2nd of 2003 ?

 5 A.       Yes, ma'am .

 6 Q.       Your father .       Did he -- Mr. Whiting     went to

 7 Loyola   college ; is that correct ?

 8 A.       Yes, ma'am .

 9 Q.       And he graduated       from there at some point in the

10 '60s?

11 A.       Yes, ma'am .

12 Q.       And he also went and got a M.S. degree , I

13 belie ve, while he was incarcerate d; is that correct ?

14 From Takoma , Washington ?

15 A.       Obvious ly , I know he has a master s degree .           I

16 didn't know      when he got it .

17 Q.       Well he didn't       live in Takoma , Washington .       When

18 he was outside      of prison , he live d in this area didn't

19 he ?

20 A.       Right .     But I'm just say ing that , like , I didn't

21 know .   I mean , obvious ly , when I was grow ing up during

22 that time , my parent s did not tell me that my dad was

23 incarcerate d.

24 Q.       In terms of his resume .        That 's attach ed to the

25 job application .       Do you see this document       here ?




                                                                Page 129
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 130 of 282



 1 A.         Mm-hmm .

 2 Q.         Let me put it up on the screen          so everyone      can

 3 see it .

 4            It says, Reece     Whiting    at the top .

 5 A.         Mm-hmm .

 6 Q.         Reece C. Whiting .       Do you recognize      that

 7 address ?

 8 A.         Yes .

 9 Q.         Is that your mother 's address ?

10 A.         Yes, ma'am .

11 Q.         Okay .     And then we see the college        history ; is

12 that correct ?

13 A.         Yes, ma'am .

14 Q.         Do you see there from 19 88 to 19 94 , "M anagi ng

15 Partner     of the J. Lincoln       Woodard , Attorney s at Law ?"

16 A.         It actual ly does n't say "managi ng partner ."            It

17 says , "manager /partner ," which I don't know            --

18 obvious ly , it can be an open interpretation .                But that

19 could be office        manager    and a partner    in any other

20 business     that was    run of that business .       I don't see "E

21 S Q"    be hind his name .

22 Q.         His name is not there at all .

23 A.         No .     I mean up at the top of it .        All of my

24 document s -- my resume          says , "Raquel   Whiting , Esq ."

25            I obvious ly don't know .       I've just seen this for




                                                                    Page 130
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 131 of 282



 1 the first time .      It seem s to me it could be open to --

 2 you said "managi ng partner ."          That 's not what it     says .

 3 It says , "manager /partner ."

 4 Q.       It says "manager /partner " at a law firm ; is that

 5 correct ?

 6 A.       I mean , it says , "manager /partner ."         Yes , it

 7 says at J. Lincoln      Woodward L aw Firm .

 8 Q.       Attorney s at law .

 9 A.       Yes .    I'm just say ing that , like , I don't know

10 -- I don't know      what the mean ing be hind that document

11 is , because     I didn't   write it and this is the first

12 time I've seen it .

13 Q.       You certain ly would agree that if Mr. Whiting

14 represent ed to this company        that he was a partner        at

15 that law firm , that would be an in appropriate

16 representation .

17          MR. MONTEMARANO :      Objection .

18          Call s for speculation .

19          MR. HALL:     Objection .

20          THE COURT:      Over ruled .

21          THE WITNESS:       I don't feel like I -- I don't

22 actual ly feel like I can answer          that question .     I mean ,

23 I don't know      -- because   I don't know    what the mind-set

24 is be hind writing     that document .      If he was , yes ,

25 hold ing himself     as a partner    at a law firm , yes , that




                                                                 Page 131
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 132 of 282



1 would be in appropriate .        I don't know     that that

2 document     says that , and so I don't feel comfortable

3 answering      the question .    I'm just being honest        with you

4 that I don't feel comfortable .

5            BY MS. JOHNSTON:

6 Q.         Court 's indulgence     one moment .

7            You don't know when the last time your father

8 use d drug s was , do you ?

9 A.         No , I do not .

10 Q.        You don't have those discussion s with him ; is

11 that correct ?

12 A.        Obvious ly , I hope my dad has n't use d drug s in a

13 long time .     Obvious ly , I pray that my dad has n't use d

14 drug s in a long time , but I've -- you know , I really

15 have work ed on being extreme ly positive          and uplift ing

16 and talk ing about changi ng live s, and so that does n't

17 include   -- I know that , you know , my dad obvious ly has

18 struggle d with drug addiction , but I know that he 's

19 been working     very hard on it .     I know that , you know ,

20 work ing at a recovery       center , he 's work ed really     hard

21 to really     fight those de mon s.

22 Q.        Ms. Whiting , you pray and hope every day that

23 your father     does n't return    to support ing himself      with

24 drug trafficking ; is that correct ?

25 A.        Absolute ly .     I feel pretty   confident   that he




                                                                Page 132
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 133 of 282



 1 has n't done that , as I've lent him a lot of money while

 2 I was practici ng law because        I knew that he was

 3 changi ng his life .      And when you make big lifestyle

 4 change s, it 's not easy .

 5 Q.       Okay .   And you certain ly have told him how much

 6 you hope he does n't get back involve d in drug s; isn't

 7 that correct ?

 8 A.       Absolute ly .

 9 Q.       In all candor , the last thing your father            would

10 do would be to tell you now if he had been back

11 involve d in drug s; isn't that correct ?

12 A.       That 's actually     complete ly in correct .     You know

13 why ?   Because   my dad know s that the most important

14 thing in our relationship        is honesty .     I mean , I've

15 told my dad that I can handle         everything     else but he

16 can't lie to me because        it 's too hard .    Like , I've got

17 to be prepared     for these big change s.

18          If my dad was do ing anything        illegal , he would

19 not live at my mother 's house , because          my mom made sure

20 that that lifestyle       was kept far away from me .        The

21 last thing my mom has ever de serve d is for my dad to

22 come back into her home , when she allow ed him to come

23 back in , to be help ful , so he would stay away from this

24 lifestyle    and do what he did .       I know my dad would not

25 do that to me ; my dad would not do that to my mom .               And




                                                                Page 133
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 134 of 282



 1 if he was do ing that , he would have told me , because              he

 2 know s hon es ty for me and him in my relationship , that 's

 3 the most important       thing .   He 's always    been honest    with

 4 me , like I said , even with the really           tough stuff .

 5 Because     let me tell you , that lifestyle , that hurt me .

 6           I mean , it hurt -- I live d in fear all my life

 7 that people     would find out what my dad did , because

 8 then they would think something            bad about me .   And

 9 being here today is hard because            it bring s me into this

10 world that I've work ed really           hard not to ever get in .

11 But I'm here today because         I want people     to know my dad

12 changed     his life .   I would not be here if I did not

13 believe     that in the bottom     of my soul .     I would not

14 risk -- I would not be here put ting myself            through    this

15 unless    I absolute ly believe d it , and he would tell me .

16 Q.        Okay .   Well in the past -- he let your mother

17 down in the past when he went back to drug deal ing

18 after his arrest s; isn't that right ?

19           MR. HALL:      Objection , Your Honor .

20           THE COURT:      Over ruled .

21           THE WITNESS:      Let ting us down is different         from

22 lying .     My dad 's never lie d to me .      I know he 's never

23 lie d to me .

24           MS. JOHNSTON:      All right .     I have nothing

25 further .




                                                                Page 134
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 135 of 282



 1           MR. HALL:       I just have a couple          of question s.

 2                           REDIRECT EXAMINATION

 3           BY MR. HALL:

 4 Q.        The document      that the government 's counsel            just

 5 show ed you .    Does that change          your opinion     of your

 6 dad 's credibility ?

 7 A.        No , it does not .

 8 Q.        One other question .         Do you consider       being a

 9 defense     counsel    to be a public       service ?

10 A.        Absolute ly .

11 Q.        Thank you .

12 A.        I feel like that 's what we're taught              in law

13 school , that everyone        de serve s a fair defense .

14           MR. HALL:       Nothing    further , Your Honor .

15           THE COURT:       All right .      You may step down .

16 Thank you .

17                           (Witness    excused   at 12 :33 p.m. )

18           THE COURT:       Who is the next witness ?

19           MR. HALL:       Your Honor , I don't have another

20 witness .     I don't know       whether    any of my brother

21 counsel     do or not.

22           MS. JOHNSTON:          Well , Your Honor , may we approach

23 the bench ?

24           THE COURT:       Yes

25                       (At the bar of the Court.)




                                                                   Page 135
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 136 of 282



 1           MS. JOHNSTON:      Your Honor if Mr.        Hall is --

 2           MR. WARD:    Hold it .       We're not up here yet .

 3           MS. JOHNSTON:      I'm sorry .      Some people     were

 4 moving    more slow ly than other s.

 5           THE COURT:      You're     finish ed then , right ?

 6           MS. JOHNSTON:      Yes .     I would like Mr. Hall to

 7 rest Mr. Whiting 's case in front of the jury .               We don't

 8 want to be in a position           where next week we're comi ng

 9 up next week with new witness es from Mr. Whiting .

10           MR. HALL:    I'm not comi ng up with further

11 witness es .    There may be other question s --

12           THE COURT:      You should     put your case on and

13 rest .

14           MR. HALL:    Your Honor , what I'm say ing is I

15 don't want to rest because           I don't know   who else may be

16 call ed that I may want to ask a question            of .

17           THE COURT:      You can ask question s of other

18 witness es , just like I let Mr. Montemarano            ask

19 question s.

20           MS. JOHNSTON:      Your Honor , I think that 's where

21 we get into the problem .           Mr. Hall 's point is well

22 taken .    As Mr. Montemarano        has done , he has use d some

23 witness es use d and call ed by other s as his own

24 witnesses,     which is what Mr. Hall is suggest ing that 's

25 what he want s to do .      In those circumstance s they




                                                                   Page 136
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 137 of 282



 1 should     be asking    direct   question s and not lead ing

 2 question s.

 3            I think he should      rest at this point .     The court

 4 could always     give him leeway      to ask some question s of a

 5 witness     if he think s that witness      is favorable    --

 6            MR. HALL:     Can I make one more point?

 7            THE COURT:     I will certain ly be liberal       when

 8 giv ing you two thing s.         One is your right to

 9 participate     in the examination      of other witness es ; and

10 second ly , if there 's something       unforeseen    that come s up

11 and you need to ask leave to re open your case , I will

12 consider     that at the time .

13            MR. HALL:     There is an issue that has already

14 come up .     It has come up during      the course    of Ms.

15 Greenberg 's cross , and that is the pole cam .            The log

16 that was given to us never listed           Mr. Whiting    as having

17 been observed     on the pole cam , and I may want to try --

18 I have been told by other counsel           who that individual

19 was that was seen get ting out of that vehicle , and I

20 may want to run an MVA check to see if I can find that

21 person .

22            THE COURT:     Do you have the tag number ?

23            MR. HALL:     I could n't see the tag number , but at

24 least I could find out if they were drivi ng a Jaguar .

25            MS. JOHNSTON:     Your Honor , the problem      with that




                                                                Page 137
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 138 of 282



 1 is , counsel    has had copies     of these pole camera s for a

 2 long time, and --

 3            THE COURT:      I think you should    rest .   I will

 4 certain ly permit       you to examine   other witness es call ed

 5 by other defendant s, and I will certain ly be

 6 sympathetic     for you to re open your case if you need to

 7 call other witness es .

 8            MR. MCKNETT:      Your Honor , if I may , just on the

 9 record , confirm       what Mr. Hall said .     The pole cam era

10 log that we have does not reflect            any entry for Mr.

11 Whiting    comi ng to Ms. Martin 's house on that date and

12 time .

13            MS. JOHNSTON:      The pole cam log was note s that

14 was taken by officer s at different           view time s when they

15 view ed the    pole camera .     We did better    than that .      We

16 provided    them with copies      of each and every pole cam

17 tape so they could look at them with their             client s,

18 review them     and see who they saw on the tape or didn't .

19 The pole cam log was , by no stretch           of the imagination,

20 a complete     re view of the tape s.

21            MR. HALL:     The problem    --

22            THE COURT:      You have a benefit    of defer ring to

23 your colleague .

24            MR. HALL:     Yes , I am .   The problem   is obvious ly

25 if I've re view ed these thing s with my client , which I




                                                                Page 138
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 139 of 282



 1 have , my client     certain ly has never identifi ed himself ,

 2 and it took me quite by surprise          that the government

 3 purport s that this individual         who is get ting out of the

 4 car --

 5          THE COURT:      I can understand      that .   That 's why I

 6 said I would be reasonably         liberal   on allow ing you to

 7 re open if you can give me a reason          to re open .   I'm not

 8 going to have you sudden ly call another           character

 9 witness .

10          MR. HALL:      No , I'm not .   At this point , I'm not .

11          If we have an understand ing with what the court

12 is say ing is that if I'm able to develop            something    on

13 this issue of the pole cam , you will let me re open my

14 case after I've --

15          THE COURT:     I will    be very sympathetic       with that

16 if you can give me something         specific .

17          MS. GREENBERG:       Your Honor , we reserve the        right

18 to oppose    that request .

19          THE COURT:      You can have the right to oppose           it .

20 I haven't    made a decision     in this case .      I think    we're

21 in the same position       as Mr. Martin .

22          You're   not call ing anymore       witness es , are you

23 Mr . Mart in?

24          MR . MARTIN:     Yes, sir .

25          THE COURT:      You have finish ed with all of your




                                                                  Page 139
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 140 of 282



 1 witness es ?

 2           MR . MARTIN :     With the exception      of Mr. Goodwin ,

 3 Your Honor .

 4           THE COURT:       You 're in    the same posture , as is --

 5 you can't rest until -- I'm expect ing there will be no

 6 more defense     witness es after your client        testifi es .

 7           MR . MARTIN :     That 's correct , Your Honor .

 8           THE COURT:       Who is the next witness ?

 9           MS. JOHNSTON:       We would very much like to know

10 that .

11           THE COURT:       Is it Mr. Ward 's client ?

12           MS. JOHNSTON:       Yes .     That 's what --

13           MR. WARD:       I don't know     what Mr. Bynum --

14           MS. JOHNSTON:       Mr. Ward had indicated        his client

15 would be next .

16           MR. WARD:       Your Honor , my client     is ready ,

17 willing     and able and here , and there ain't nothing

18 wrong with my mouth or her s.            We're ready to go .

19           MS. GREENBERG:       Are there     any other witness es

20 that you have ?

21           MS. JOHNSTON:       Could we have     the name s?

22           MR. WARD:       Who are my other witness es today ?         I

23 don't have     any other witness es to day .

24           THE COURT:       Is she the only witness        you're   going

25 to call ?




                                                                 Page 140
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 141 of 282



 1            MS. JOHNSTON:       What about Mr. Bynum ?

 2            THE COURT:    Is she the only witness          you're    going

 3 to call ?

 4            MR. WARD:    I don't expect        so , Your Honor .

 5            THE COURT:    We're not going to have case s

 6 open ing and closing        and opening      and closi ng .

 7            MR. WARD:    I haven't    close d my case .

 8            THE COURT:    We're going to proceed          defendant       by

 9 defendant , Mr. Ward .         All right ?

10            MR. WARD:    Your Honor , do you want me to call

11 Officer     Sakala   out of order or -- I assume         I'm not the

12 only one who is going to call Sakala .

13            THE COURT:    We will put Sakala         in a separate

14 category     by himself .

15            MS. GREENBERG:       Your Honor , our suggestion         is

16 Mr. Ward get other witness es here so we don't lose time

17 with the jury .

18            THE COURT:    Do you have other witness es today ?

19            MR. WARD:    No .

20            THE COURT:    I don't    want to run out of gas with

21 no witness es .

22            Are we able to continue        with witness es ?       Is your

23 client    going to take the stand ?

24            MR. WARD:    If my client      take s the stand , I'm

25 sure there will be other --




                                                                 Page 141
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 142 of 282



 1           MS. JOHNSTON:       Your Honor , what about Mr. Bynum ?

 2 He would be the next one in order            as we go across the

 3 table .

 4           THE COURT:       Did you say you are not going to put

 5 witness es on ?

 6           MR . MITCHELL:      Correct .     Your Honor , what I'm

 7 going to do is I have every            right to cross -examine

 8 Sergeant    Sakala --

 9           THE COURT:       I understand .

10           MR. MITCHELL:       Depend ing on what he says , I may

11 have a rebuttal        witness   but not a --

12           THE COURT:       Mr. Bynum does not intend       to

13 testify , at least       as of now ?

14           MR. MITCHELL:       Correct .     I would like to voir

15 dire him and      qualify   him and make sure that he is

16 waivi ng that right .

17           THE COURT:       And y ou do not intend      to call other

18 witness es ?

19           MR. MITCHELL:       Correct .     Except   in rebuttal    to

20 Sergeant    Sakala .

21           THE COURT:       Why don't I do this ?       Why don't I

22 tell the jury to come back at 20 minute s of two .                 I'll

23 stay here , and you can do that voir dire ; and any other

24 question s that Mr. Ward want ed to raise about his

25 client    testify ing we can take of care of before             I go .




                                                                   Page 142
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 143 of 282



 1 It 's 12 :40 now .     I'll have them back at 1:40.

 2           MS. JOHNSTON:        Does Mr. Hall rest in front of

 3 the jury ?

 4           THE COURT:      Mr. Hall rested     with the condition s

 5 --

 6           MR. HALL:     If the court said I rested , I guess I

 7 have rested .

 8           THE COURT:      You did say you rested , subject        to

 9 my tell ing you what my ground         rule s were for your

10 re opening .

11           MR. HALL:     As long as    we understand    that .

12           MR. MCKNETT :     Your Honor , I have     some question s

13 about the witness es , but we can do that after --

14                  (Back in open court .)

15           THE COURT:      Ladies and gentlemen     , I'm going to

16 excuse    you for lunch .      Be back at 20 minute s of 2, and

17 we will continue       then until we adjourn      for the day .

18           Counsel    and the    parti es , stay behind.

19                         (J ury excused     at 12 :41 p.m .)

20           MS. GREENBERG:        Judge , our concern   is that it

21 appear s the only defense        witness   ready to go is Ms.

22 Dobie .    We might --

23           MR. WARD:     I'm sorry .    I can't hear you down at

24 this end , Ms. Greenberg .

25           MS. GREENBERG:        It appear s the only defense




                                                                 Page 143
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 144 of 282



 1 witness    is Ms. Dobie , and we might conclude           before   the

 2 court 's scheduled      time today before     4: 30 .

 3           THE COURT:     I intend   to go to until 4:00 -4:30 ,

 4 so people     better   round up their witness es .

 5           MR. MCKNETT:     Your Honor , my impression        is that

 6 Mr. Mitch ell said he would not put any witness es on .

 7 Is that correct , Mr. Mitchell ?

 8           I understand    from Mr. Suss man that he will not

 9 be call ing any witness es ; is that correct ?

10           MR. SUSSMAN:     That that 's my thought .

11           MR. MCKNETT:     I would be comi ng up after Mr.

12 Ward .    I have -- there 's two witness es that the court

13 is aware of .     I haven't    official ly gotten       a response

14 from the court as to whether         or not it is a problem          of

15 call ing them .    They are on standby .

16           THE COURT:     Have them ready this afternoon .

17           MR. MCKNETT:     I can have them ready this

18 afternoon .     The second    problem   is that I have three

19 other witness es .      One of them is a character         witness

20 who is not available       this afternoon .      The other two are

21 my client     and her husband .     Both of their testimoni es

22 will involve , in significant        part , the transcript s that

23 we are pro posi ng to bring .       Until we address       those

24 issue s, it would be in appropriate         to put either     one of

25 them on the stand .




                                                                Page 144
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 145 of 282



 1           THE COURT:      Well , do you need to have the

 2 transcript     before    the jury to deal with that issue with

 3 your client 's testimony ?

 4           MR. MCKNETT :      The way I intend ed to present        the

 5 case , yes , Your Honor .         The transcript s are integral       to

 6 their testimony .

 7           MS. JOHNSTON:          Your Honor , we've been in trial

 8 now since June 6.

 9           MR. MCKNETT :      Your Honor , I'm tire d of the

10 government     complain ing about the defense         slow ing down

11 this trial .     Ms. Greenberg       --

12           THE COURT:      Counsel .

13           MR. MCKNETT:       -- c ross -examine d for two and a

14 half hour s on criminal          records .

15           THE COURT:      All right .        How much of your

16 client 's testimony , as well as her husband , is going to

17 require   the play ing of any record ings that you have in

18 these transcript s?

19           MR. MCKNETT:       I would say at least       half , Your

20 Honor .   At least      half .

21           THE COURT:      It seem s to me that based upon the

22 fact we're not going to be resuming              until 20 minute s of

23 two , and that Ms. Dobie is going to be taking              the

24 stand , and that I anticipate             that her examination    would

25 be fair ly comprehensive          as well as her cross , we can




                                                                   Page 145
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 146 of 282



 1 certain ly get to your two witness es that you've

 2 referred     to preliminarily .       We could even start your

 3 client    and adjourn      for the weekend   before    we get to the

 4 question     of the tape s.

 5            MR. MCKNETT:      Your Honor , I walk ed out of here

 6 last night with the firm impression           that Mr. Goodwin         --

 7 based on     comment s made by Mr. Goodwin 's attorney           and by

 8 the court , I had the firm impression           that Mr. Goodwin

 9 would be testify ing today .          I therefore    scheduled    my

10 case with that in mind , know ing that I would come up ,

11 if at all , late today , and I had intend ed to call Mr. -

12 -- Ms. Ali 's husband        first , which I think -- I think

13 I'm allow ed to structure        --

14            THE COURT:      If Mr. Goodwin    is prepare d to

15 testify    today , we'll put him on to day .

16            Is he prepared , Mr. Martin ?

17            MR . MARTIN :    He 's prepared , but -- excuse       me for

18 not standing .      He 's prepared , Your Honor .       The question

19 is his physical      ability .    He 's complain ing to me about

20 being in pain .      He asked me to ask the court earlier              --

21 and I didn't -- if he could get Motrin              or something

22 else .    That , couple d with the fact that his bridge

23 continue s to slip because        it 's not bond ed , cause s him

24 dis comfort , and he 's worried        about the pain and also

25 the ability     to articulate     and be understood .




                                                                Page 146
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 147 of 282



 1            MR. MONTEMARANO:         Your Honor , something     else I

 2 would like to put on the record            relati ve to Mr.

 3 McKnett's     posture .     I think Harry is too gracious         not

 4 to put it on , but I will .          We are under certain

 5 lim itations    as CJA counsel .        We had a large number        of

 6 call s transcribe d, Your Honor , sign ed off on the CJA

 7 form , and now Mr. McKnett          is being dun ned for an

 8 explanatory     letter.      I thought    Your Honor 's signature

 9 was all that was required .           We were,    because   of that ,

10 limited    in our de sire or our ability          to make cop ies --

11 to make 30 copies         of the transcript      book , because   we

12 were try ing to win no w the number         of call s there with

13 issue s regard ing their admissibility            which was ruled on

14 yesterday .

15            Harry and I were at a Kinko 's last night at 9

16 o'clock    find ing out that all their machine s -- a 24-

17 hour Kinko 's , find ing out all of their machine s were

18 broken .    Harry then took them to another           Kinko 's which

19 produced    them over night , and I picked them up this

20 morning.    He called me at ten of ten, and he had not

21 yet been home     to eat .

22            With all due respect , Mr. McKnett         cannot    be

23 fault ed anymore     than I can .

24            MS. JOHNSTON:      Your Honor , I don't mean --

25            THE COURT:      You're    show ing O'Brien's     corollary




                                                                  Page 147
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 148 of 282



 1 to Murphy 's Rule , that Murphy        was an opt imis t.      I

 2 understand    the problem s you're      having .     We can wrangle

 3 about this all day , but the bottom          line is we need to

 4 get this testimony      fully developed      today to the best

 5 ex tent we can .

 6          Mr. Ward had an issue that I'd like to address ;

 7 Mr. Mitchell     would like to voir dire         his client ; and

 8 I'd like to get that done .          I'd like to make it so we

 9 have enough    chance   to munch something         before   we come

10 back in here , because      I really    am going to start at 20

11 minute s of two .     Know ing the way we've all been

12 proceed ing , I'm not too pessimistic         that we will be

13 able to fill the testimony          of today , but I think we

14 should   be prepare d to proceed       with Ms. Dobie when we

15 resume   at 20 minute s of two .

16          Do you have other witness es that are available

17 today , Mr. Ward ?

18          MR. WARD:      No, sir .

19          MR. MCKNETT:      Your Honor , may I just finish          my

20 position ?

21          THE COURT:      Yeah .

22          MR. MCKNETT:      I believe    that as far as        my

23 client , we are comi ng to the most critical            stage of the

24 case .   It is my obligation        to somehow     convince   the jury

25 that she is not guilty .          I think I should     be able to




                                                                  Page 148
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 149 of 282



 1 structure     that presentation        as I think it best

 2 structured .     I don't see that it 's in my client 's best

 3 interest     to have to call two witness es late this

 4 afternoon , perhaps , and which is not in the sequence                  I

 5 would prefer     to call them in .        The sequence   I prefer to

 6 call them in is my client 's husband           first .   I will call

 7 my client's     husband     first,   and then my client , and then

 8 those two witness es that I had de scribe d to the court .

 9 I think that is in my client 's best interest             to do it

10 that way , and I don't think           we're going to get -- if

11 the court intends         to break at 4:30 or thereabout s.

12            THE COURT:      It 's going to be earlier     than that ,

13 I think .

14            MR. MCKNETT :     I don't feel that I should       be

15 force d to disrupt        what I think is the best way to

16 present     my case in order     to save an hour or two of time

17 in the courtroom .

18            THE COURT:      Why don't you put your client 's

19 husband     on first ?

20            MR. MCKNETT :     Because    my client 's testimony     --

21 my client 's husband , he is at work .          As I said , I

22 walk ed out of here last night with the firm impression

23 that Mr. Goodwin         would be testify ing , and if that were

24 the case we would n't get to my case at all today .                My

25 client s's a work ing man and he can't afford            to take




                                                                Page 149
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 150 of 282



 1 day s off on the chance       that he might be call ed .

 2            MS. JOHNSTON:     Your Honor , we had witness es

 3 sitting    here for two or three day s who were miss ing

 4 work .

 5            MR. MCKNETT:     Government    witnesses,   Your Honor ,

 6 who are get ting paid to be here .

 7            THE COURT:     Right .   Right .

 8            MR. MCKNETT:     I real ize it may cost the court an

 9 hour -- I think at most an hour .

10            THE COURT:     We're going to use up the       time

11 today .    Trust me .     Base d upon what I've seen , I'm not

12 optimistic     that we're going to zip right through             Ms.

13 Dobie 's testimony .       Based upon what I've     seen with

14 cross -exam ination     of Mr. Whiting , it 's going to take

15 some considerable       period    of time .   So , I don't know

16 that we're really       talk ing about anything      more than an

17 academic    exercise    for the most part .      What is to

18 pre vent your client 's husband        from testify ing to day ?

19            MR. MCKNETT:     First of all , he is at work in

20 Washington,     D. C.     I had   him on standby   on Tuesday .

21 The government 's comment         about they have witness es

22 wait ing is complete ly in appropriate .

23            THE COURT:     I just don't even consider       that .      I

24 don't want to have to --

25            MR. MCKNETT:     For me to call him now ?       Well , the




                                                                Page 150
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 151 of 282



 1 other thing is , Your Honor , his testimony              will be also

 2 significant ly revolving       around    the transcript s, because

 3 he is in m any of the transcript s.          The way I had

 4 anticipate d call ing him involve s the use of the

 5 transcript s.     Now , if I call him in this afternoon , he

 6 lose s a half a day today,       and then he'll lose another

 7 full day of work next week .           I think that 's un fair .

 8 It 's un fair to put me in a position          to have to

 9 re structure    my presentation , and it 's un fair to Mr.

10 Garner    to have him lose most of a day 's work and pay

11 because    of -- I don't mean this in a pejorative             sense ,

12 but for the court 's convenience .          I don't think      that 's

13 an appropriate     thing to do .

14           THE COURT:      Well , I don't understand        why you

15 can't call those two witness es we talk ed about and get

16 that done today .      It 's strictly     out of order , but we

17 all do thing s out of order in our life .

18           MR. MCKNETT :     Yes , Your Honor , and we 've done

19 that during     the course    of the trial .     But this is the

20 most critical     stage of the trial for my client , and I

21 think I'm entitle d to structure          her defense      in the way

22 that I think is the most effective           way to do it , and

23 I've determine d that the most effective           way to do that

24 is to call them after my client           testifi es .

25           THE COURT:      The bottom    line is this .      When we




                                                                 Page 151
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 152 of 282



 1 return    from lunch , after the matter s I'm going to do

 2 right now , Ms. Dobie will take the stand .               When she 's

 3 finish ed , I either       want to have Mr. Goodwin        on the

 4 stand -- and he can decide          whether   he 's complain ing

 5 about pain in his teeth or not and put him on the

 6 stand .    But if not , and we're out of witness es , then we

 7 will go to those two individual            witness es .    I can't

 8 make a perfect       world , and I think the jury could

 9 certain ly understand         that if they're    not in precise

10 sequence     -- you want it , but by Tuesday        we will be

11 right back on track .          You're   perfect ly able to explain

12 to the jury in closi ng argument           that that may not have

13 been the perfect        order , but that's the     way you're       going

14 to do it .     That 's what we're going       to do .

15            All I can       tell you , Mr. Mart in, is     based on the

16 information     I have     from the mar shals service , I am not

17 im press ed that your client        has any significant

18 impediment     in being able to speak or his pain is as

19 significant     as he is explain ing , based on what the

20 mar shals have told me .

21            MR . MARTIN :     What I have proposed , Your Honor ,

22 is he get a Motrin , and let 's see how he feel s dur ing

23 the lunch hour .

24            THE COURT:       Get him a Motrin .

25            I don't   dispense    drug s.




                                                                  Page 152
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 153 of 282



 1           MR . MARTIN :     Neither     do I, Y our Honor .

 2           MR. MONTEMARANO :         The marshals   told me I had

 3 some in my pocket         yesterday .

 4           MR. MCKNETT :      I have some aspirin      in my pocket .

 5           MR. MONTEMARANO :         I asked the courtroom

 6 supervisor , whose last name I don't know , and he said,

 7 we don't it .     We don't want you to do it because            if

 8 he 's -- in our custody , he may have           an alle rgic

 9 reaction .    I said , that 's fine .

10           I have a pocket ful .         It 's an anti-inflammatory      ,

11 because    they tell me it 's good for my bad wheel .             The

12 fact is , I left it all in the car .            But if the court

13 direct s me , I can go get it , and I will --

14           THE COURT:       I will    leave it to Mr. Martin     about

15 the best way to get him some Motrin             dur ing the lunch

16 break .

17           Now , two matter s.        First of all , Mr. Mitchell ,

18 you wanted to     do an on -the -record       voir dire   of your

19 client    concern ing his right to testify .

20           MR. MITCHELL:       Your Honor , unless     the court

21 would prefer     that .

22           THE COURT:       You may do it .

23           MR . MITCHELL:      Mr. Bynum,     stand up .

24           MR. WARD:       Let me say that while we do that , why

25 don't we have Ms. Dobie stand up , too , and then we




                                                                  Page 153
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 154 of 282



 1 don't have to repeat         everything       twice ?

 2            THE COURT:      You may proceed .

 3            MR. MITCHELL:      Mr. Bynum , you understand              the --

 4 is there any way -- I don't know               if the government         is

 5 connect ed to that .

 6            MS. JOHNSTON:      It 's the court system .

 7            MR. MITCHELL:      Mr. Bynum , you understand              the

 8 United     States    constitution , the Fifth Amendment               allow s

 9 you to go to trial and not be force d to compel                      -- not

10 be compelled        or force d to in criminate          yourself .     You

11 understand     that ?

12            DEFENDANT BYNUM:       (Unintelligible.)

13            COURT REPORTER:        You have to say yes or no ,

14 please .

15            DEFENDANT BYNUM:        Yes .   Yes .

16            MR. MITCHELL:      You have the absolute            right to

17 remain     silent    throughout    the entire      proceed ing , an d the

18 judge will instruct        the jury that they cannot            infer any

19 inference     of guilt simply       because     you chose to remain

20 silent .     Do you understand       that ?

21            DEFENDANT BYNUM:        Yes .

22            MR. MITCHELL:      Equal ly , you have an absolute

23 right to testify .        You have a right to challenge                any of

24 the evidence , provide        your own evidence           -- you have

25 that right , but you don't have to exercise                  that right ,




                                                                        Page 154
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 155 of 282



 1 because     it will not be held against         you .

 2           Do you understand       all of those right s?

 3           DEFENDANT     BYNUM :   Yes .

 4           MR. MITCHELL:      Given all      those right s, do you

 5 elect to testify       in your behalf , or do you elect to

 6 remain    silent ?

 7           MR. BYNUM :     I would like to remain        silent .

 8           MR. MITCHELL:      All right .

 9           THE COURT:      All right .

10           MR. MITCHELL:      Any other question s that the

11 court would like to ask ?

12           MS. JOHNSTON:      Your Honor , if the court would

13 just mention     that no one has threaten ed him or promise d

14 him anything     to get him to make that decision .

15           THE COURT:      Mr. Bynum , has anybody       threaten ed

16 you or made any promise s to you if you decide                not to

17 testify ?

18           DEFENDANT     BYNUM :   No, sir .

19           THE COURT:      And you're      do ing this after

20 consultation     with your lawyer ?

21           DEFENDANT     BYNUM :   Yes, sir .

22           THE COURT:      And you're      satisf ied with   the

23 service s of your lawyer ?

24           DEFENDANT     BYNUM :   Yes, sir .

25           THE COURT:      And based upon your advice          from the




                                                                  Page 155
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 156 of 282



 1 lawyer , you decide d not to testify ; is that correct ?

 2            DEFENDANT BYNUM:       Yes, sir .

 3            THE COURT:     All right , you may be seat ed .

 4            Mr. Ward , you may do the same thing .

 5            MR. WARD:     Ms. Dobie , you heard what Mr.

 6 Mitchell    said to Mr. Bynum ?

 7            DEFENDANT DOBIE:       Yes .

 8            MR. WARD:     You do understand      that you have an

 9 absolute    right to remain       silent .

10            DEFENDANT DOBIE:       I do .

11            MR. WARD:     And that if you choose      to do that --

12 that is remain     silent -- the drug s -- well , we will be

13 entitle d to ask the jury that they may draw no adverse

14 inference    from that .      Put that in plain English:         They

15 mustn't    think that you're       guilty    or think anything    else

16 but the    fact that you exercise d the constitutional

17 right to remain        silent .

18            Do you understand ?

19            DEFENDANT DOBIE:       I do .

20            MR. WARD:     I f you do wish to testify , you

21 understand     that you would be testify ing under oath .

22            DEFENDANT DOBIE:       I do .

23            MR. WARD:     You understand      that you may be

24 subject    to cross-examination       by the government .

25            DEFENDANT DOBIE:       I do .




                                                                Page 156
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 157 of 282



 1          MR. WARD:     And you understand       that because      I

 2 asked -- I'm going to ask the court for a hear ing on

 3 your prior record , but you could be cross -examined              wit h

 4 regard   to your prior record        of criminal   convictions .

 5          Do you understand      that ?

 6          DEFENDANT DOBIE:       I do .

 7          MR. WARD:     Do you understand      that if you do

 8 testify , and if you were to be convict ed in this case ,

 9 the court may consider        whether    or not it believe s you

10 have committed     perjury    in your testimony      and take that

11 into consideration      in maki ng -- imposing       sentence.

12          Do you understand      that ?

13          DEFENDANT DOBIE:       I do .

14          MR. WARED:     N ow , you do have some college

15 education , I understand ?

16          DEFENDANT DOBIE:       I do .

17          MR. WARD:     You graduate d from      high school      and

18 have some college      education ?

19          DEFENDANT DOBIE:       I do .

20          MR. WARD:     You don't have any mental         problem s of

21 any kind ; you haven't       been under any care or treatment

22 of a psychiatrist      or psychologist      or anything    like

23 that ?

24          DEFENDANT DOBIE:       Never .

25          MR. WARD:     Are you present ly under the influence




                                                                Page 157
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 158 of 282



 1 of any substance s, whether          you got them by prescription

 2 or otherwise , that affect       your ability     to understand

 3 what's   going on here today , right now , and the decision

 4 you are honoring       right now ?

 5          DEFENDANT DOBIE:       Nothing .    I haven't    use d

 6 nothing .    Nothing    is impedi ng my judgment .

 7          MR. WARD:      All right .     Is it your desire       to or

 8 not to testify     at this time ?

 9          DEFENDANT DOBIE:       It 's my de sire .

10          MR. WARD:      To testify ?

11          DEFENDANT DOBIE:       Yes .

12          THE COURT:      I could n't hear your last re ply .

13          It is your de sire to testify ?

14          DEFENDANT DOBIE:       Yes , it is , Your Honor .

15          MR. WARD:      Has anybody     made you any pro mises or

16 made any threat s to you of any kind or nature             or

17 description    whatsoever    in order     to affect   the decision

18 that you've    just made ?

19          DEFENDANT DOBIE:       To be honest , the government

20 has prompt ed me to testify .          Due to the fabrication      of

21 a lot of their thing s, that 's why I want to testify .

22          THE COURT:      Ms. Dobie , you say you are prompt ed

23 to testify    because    they fabricate d evidence       against

24 you ?

25          DEFENDANT DOBIE:       Totally .




                                                                Page 158
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 159 of 282



 1            THE COURT:    They haven't        direct ly talk ed to you

 2 and demanded     that you testify .

 3            THE COURT:    No .    Not at all , sir .

 4            THE COURT:    They have not threaten ed you with

 5 anything    if you don't testify , have they ?

 6            DEFENDANT DOBIE:       No .     Not about testify ing , no .

 7            THE COURT:    And you have discuss ed the pro s and

 8 con s of this decision        with your counsel , Mr. Ward ?

 9            DEFENDANT DOBIE:       I understand         what I'm do ing ,

10 Your Honor .

11            THE COURT:    All right .        You're     satisfi ed that

12 he 's fully explore d the issue with you ?

13            DEFENDANT DOBIE:       Yes, sir .

14            THE COURT:    Do you understand           that there 's risk s

15 involve d in taking      the stand and testify ing ?

16            DEFENDANT DOBIE:      I f I lie , and I'm not going to

17 do that .

18            THE COURT:    A nd you understand           you will be

19 ex posi ng yourself     to what you can expect            to be spirit ed

20 cross-examination       by the   government .

21            DEFENDANT DOBIE:       I do .

22            THE COURT:    You understand        you have to tell the

23 truth and , if you didn't , that could result                in adverse

24 consequence s.     Do you understand          that ?

25            DEFENDANT DOBIE:       I plan to tell the whole




                                                                    Page 159
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 160 of 282



 1 truth .

 2            THE COURT:     All right .

 3            MR. WARD:     Your Honor , tie d in with this

 4 determination     or decision       is the matter   of prior

 5 record s, which I intend          to bring out in direct

 6 exam ination under Rule       609 .    The late st conviction        was

 7 on July 26 , 19 96 , in the Circuit        Court for Prince

 8 George's    County .     My client    was -- it doesn't        say

 9 whether    she was found guilty        or pled guilty     to

10 attempt ed credit       card im person ation in the District

11 Court of Prince        George's    County , which she was

12 sentence d to two year s incarceration          and one year and

13 11 months, and     30 day s in jail , and two year s

14 probation .     That 's the first offense .

15            THE COURT:     That 's in 19 96 you say ?

16            MR. WARD:     That 's 19 96 , Your Honor .     July 26 is

17 the date of conviction .           She serv ed 30 day s, and that

18 would take us into August           of '96 , because    it 's a date

19 of last incarceration , the time under the rule that

20 count s.

21            THE COURT:     All right .

22            MR. WARD:     The next one , Your Honor --

23            MR. MCKNETT:     Mr. Ward , excuse    me .    I apologize

24 for interrupting.

25            Your Honor , this since this appli es only to Ms.




                                                                   Page 160
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 161 of 282



 1 Dobie , could Ms. Ali and perhaps          Ms. Hard en excuse

 2 themselves     so they can go get a bite to eat ?

 3          THE COURT:      Any objection       by anybody    else ?

 4          MR. WARD:     I don't care .

 5          THE COURT:      Both of you ladi es understand             you

 6 have a right to be present ?

 7          DEFENDANT HARDEN:        Yes .   I waive that right .

 8          THE COURT:      You waive your right ?

 9          DEFENDANT HARDEN:        Yes .

10          THE COURT:      You're   hungry ?

11          DEFENDANT HARDEN:        Yes .

12          THE COURT:      All right , you may be excused .

13          MR. MCKNETT:      Thank you , Your Honor .

14          MR. WARD:     Your Honor , also on July 26 , 19 96 ,

15 the -- my client      was convict ed of credit          card s,

16 apply ing or false I.D . in Prince         George's      County .

17          THE COURT:      Is this the same case or a different

18 case ?

19          MR. WARD:     It 's a different       case .    The

20 dis position    took place on the same date .

21          THE COURT:      All right .

22          MR. WARD:     July 26 , '96 she was sentence d to two

23 year s incarceration , one year and 11 months suspended,

24 30 day s in jail , credit      given .    As I said , that was on

25 July 26 , '96 .




                                                                     Page 161
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 162 of 282



 1            THE COURT:    Let me just ask her a question , if I

 2 might .

 3            MR. WARD:    The next , Your Honor , sent encing       date

 4 was September     4, 19 97 .   My client    was convict ed of

 5 conspiracy     having   to do with fraud and credit        cards and

 6 so forth and was sentence d to one year of incarceration

 7 to run con current      with another    case at the same date .

 8            She was also convict ed on September          4, '97 of

 9 credit     card theft and sentence d to two year s

10 incarceration     to run concurrent      with the previous

11 matter .

12            Case number three she was sentence d for grand

13 larceny , continuous      incarceration .

14            THE COURT:    What is the date , Mr. Ward ?

15            MR. WARD:    The second    I'm --

16            THE COURT:    What's   the date ?

17            MR. WARD:    The same date , your Honor , 9/4/97 .

18 These all took place at the same time .

19            THE COURT:    Grand larceny ?

20            MR. WARD:    Grand larceny :     Ten year s

21 incarceration     with five year s suspend ed , consecutive

22 with the two prior s.

23            The fourth   case was a failure      to appear .

24            These were all , I should      have said , in the

25 Circuit     Court for Arlington      County , Virginia .




                                                                 Page 162
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 163 of 282



 1            She was sentence d to one year to run concurrent

 2 with one of the previous          case s.    She was not re lease d

 3 from incarceration         in those case s until November       30 of

 4 '98 .

 5            Your Honor , that take s us to the ten year s under

 6 Rule 609 .

 7            Oh .    That 's it , sir .    There 's one matter   pend ing

 8 in Henrico        C ounty , Virginia , but that has not gone to

 9 trial at this point .

10            THE COURT:      All right .      What's   the government 's

11 position     on these ?

12            MS. GREENBERG:       Your Honor , I guess I'm

13 confused .        Is Mr. Ward say ing these are the only

14 convictions        he believe s we are allow ed to cross ?       Or is

15 he object ing to cross on this ?

16            MR. WARD:      I'm say ing that under Rule 609 , these

17 are the convictions         that may be use d for impeachment .

18            MS. GREENBERG:       Your Honor , we did give notice

19 of convictions        outside   the ten year s.

20            MR. WARD:      You did for 404 (b) purpose s, as I

21 understood .

22            MS. GREENBERG:       We can gave notice       for both ,

23 counsel .

24            THE COURT:      Tell me what you believe        come in

25 under 609 ?




                                                                  Page 163
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 164 of 282



 1           MS. GREENBERG:        Your Honor , we didn't       put in , in

 2 our government 's case in chief , but we talk ed

 3 incessantly     about it, but        the court never ruled so we

 4 left it alone for our chase in chief .

 5           There is a situation             in 19 98 where Ms. Dobie was

 6 convict ed of     possess ing firearm s and she received                a

 7 conviction    for that .       She had two handgun s that were

 8 re covered   from her next to her in the car where she was

 9 with her husband .

10           MR. WARD:        Pardon   me .     She was con victed    of

11 possession    of a handgun ?

12           MS. GREENBERG:        That was in 19 89 .

13           Your Honor , she also has various            convictions

14 which go to truth and dis honesty               or false statement .

15 There is also additional            one s that go to truth --

16 ability   to tell the truth that are appropriate                  for

17 cross-examination      .

18           MR. WARD:        Your Honor , I would ask the

19 government    -- not to interrupt            -- but to state what

20 they are --

21           MS. GREENBERG:        I'm try ing to .

22           MR. WARD:        -- they relate       to something ,

23 something , something .

24           THE COURT:        I share your concerns .

25           What are the --




                                                                     Page 164
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 165 of 282



 1            MS. GREENBERG:        There was a conviction        on

 2 October    15 , 19 91 for forgery       and uttering       out of

 3 Alexandria,     Virginia , and there was -- Your Honor ,

 4 there are other con victions,           just so the court is

 5 aware , that are felony          convictions     but don't relate       to

 6 truth and fals ity.        There is a 1992 conviction           of Ms.

 7 Dobie for robbery        with a dead ly weapon       out of

 8 Montgomery     County , and a second          one for felony    theft --

 9 actual ly , I take that back .          It's a 19 89 felony         theft ,

10 and a violation        of probation     going along with that , and

11 a felony    theft would go to ability            to tell the truth .

12 So , the 19 89 conviction , the government            submit s, its

13 prob ative value outweigh s the prejudicial                effect .

14            THE COURT:     That 's the '89 one , you say ?

15            MR. WARD:     Yes .     November    13, '89 .

16            MS. GREENBERG:        Your Honor , a robbery       out of --

17            THE COURT:     The rob bery.        Was that with a dead ly

18 weapon ?

19            MR. WARD:     No .

20            MS. GREENBERG:        I stand correct ed , Your Honor .

21 She was charge d with robbery           with a dead ly weapon ; the

22 conviction     was robbery ; she was sentence d on July 13 ,

23 19 92 .

24            THE COURT:     Okay .

25            MS. GREENBERG:        Sentence d to eight year s,




                                                                    Page 165
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 166 of 282



 1 suspended    four year s; three year s probation .

 2            THE COURT:     All right .

 3            MS. GREENBERG:     Those were the additional

 4 convictions     to what Mr. Ward state d.

 5            THE COURT:     What is the government 's position ?

 6            MS. GREENBERG:     Your Honor , they're     appropriate .

 7 We did n't seek to have all of them admitted            for 404 (b) .

 8 All of them are appropriate         for impeachment .       That goes

 9 to -- I stand correct ed .       Robbery    is a type of theft .

10 All of them go to her ability           to tell the truth and

11 her honesty .     I submit    that the prob ative value

12 outweigh s the prejudicial       effect .

13            THE COURT:     What about the firearm      -- the

14 firearm    conviction ?

15            MS. GREENBERG:     The firearm , Your Honor , was

16 submitted    -- sought    to be submitted     as 404 (b).     The

17 government     didn't   introduce   it in its case in chief ,

18 but we submit     it 's appropriate      on cross-examination       .

19            THE COURT:     All right .

20            MS. GREENBERG:     It was a conviction , Your Honor .

21 So , it 's definite ly re liable .

22            THE COURT:     And your position , Mr. Ward ?

23            MR. WARD:    Your Honor , under 609 -- and I think

24 Ms. Greenberg     confuse s the admissibility        and the time

25 factor .    Under Rule 609 there are two type s of




                                                                Page 166
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 167 of 282



 1 convictions     that are -- can be use d for impeachment :

 2 1.   Felony    conviction , certain ly ; and 2. C rime s that

 3 involve    dis hon esty or false statement .

 4            The time limitation      under 609 (b) does not

 5 distinguish     between   friend liness and crime s that go to

 6 -- or convictions       that go to the question        of

 7 truthfulness     or honesty .      It simply    says , ten year s

 8 have elapse d from -- at a time         and date of conviction

 9 blah-blah-blah-blah,         which ever occur s later .

10            It 's ordinarily    not usable    for impeachment , and

11 I suggest     that we're in -- I don't suggest .            I think it

12 is required , where the government           intends   to use

13 convictions     outside   the ten -year limitation , the burden

14 is upon the government         to show why they may be use d.            I

15 thought    simply   enough    to toss out this amorphous , well ,

16 Your Honor , they relate        to honesty     and , you know , she 's

17 a bad person .      They 've got    to be specific     and give

18 specific    reason s to show why that evidence          is -- those

19 convictions     are usable     for impeachment     purpose s.

20            THE COURT:     All right .   Ms. Greenberg , the rule

21 does require , in order        for me to take into account          or

22 permit    consideration      of a conviction     more than ten

23 year s old , that I make a find ing support ed by specific

24 fact s and circumstance s that evidence           of that

25 conviction     substantially     outweigh s the prejudicial




                                                                 Page 167
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 168 of 282



 1 effect    what the specific     fact s and circumstance s that

 2 you believe    would permit     me to allow them to be use d.

 3           MS. GREENBERG:      Start ing , Your Honor , with the

 4 handgun    conviction    which , again , was -- there 's already

 5 been filings     as to the 404 (b) aspect        of that charge .

 6 Specifically , Ms. Dobie was observe d by an officer ,

 7 Officer    Daniel , in Baltimore     City .     She was observe d to

 8 be in possession       of two handgun s; she was with her

 9 husband    in connection    with that .       I presume    that her

10 testimony    is going to be that the handgun s under her

11 bed were not her handgun s and that they were belong ing

12 to someone    else .    I have a basis for that belief , Your

13 Honor , because     she testifi ed to that fact before

14 another    member   of this court up in Baltimore           at her

15 husband 's supervised      re lease hear ing in Baltimore .

16           One of it aspects     of the charge      that we have to

17 prove is Ms. Dobie possess ed a gun in furtherance               of

18 drug trafficking , and I submit         if she provides       that

19 testimony    it would be probative        of whether      or not she

20 possess ed the gun s to put in the fact that she has

21 previous ly been convict ed of possess ing weapon s in

22 connection    with a prior incident        in which she was with

23 her husband    and that therefore       it was more like ly than

24 not that she possess ed the weapon s on this occasion .

25           MR. WARD:     Your Honor , let me just respond .




                                                                 Page 168
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 169 of 282



 1           MS. GREENBERG:         And knowledge , Your Honor .

 2 Knowledge     of the gun s.

 3           MR. WARD:         The government    sort of hit the

 4 proffer    -- the    nail on the head .        Certain ly she

 5 possess ed the      gun .     That is the charge     in both

 6 instance s.     Except , the charge         in the second     instance

 7 is possess ing of a gun in furtherance             of drug

 8 trafficking     activity .       There is no suggestion        -- and

 9 I've look ed at the original             chargi ng document s in the

10 19 98 case -- that have anything             to do with drug

11 activity , either      using , possess ing , or what's         the

12 phrase    under 9(c) ?        Whatever   it is , this case -- the

13 first case in 19 88 .          First of all , it 's almost      20 year s

14 old .    It has absolute ly nothing          to do with drug s, and

15 the sole question           here is whether    or not   -- not whether

16 she possess ed the gun but whether             she possess ed it in

17 furtherance     of drug activity          or trafficking    activity .

18           MS. GREENBERG:         Your Honor , I will shortcut

19 that .    I absolute ly agree with Mr. Ward .            It does n't go

20 to whether     she possess ed the gun in connection             with

21 drug trafficking , but one of the element s that we have

22 to prove is that she possess ed a firearm .                And if she

23 admit s she know ingly possess ed a firearm , which that 's

24 why I want to use the 19 88 conviction             is to show that

25 she know ingly and intentionally             possess ed the    firearm s




                                                                   Page 169
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 170 of 282



 1 in that case , she was convict ed of it , it has an

 2 element    of intent    and it has an element       of knowledge .

 3 Every crime has a -- if not an intentional              mens rea,     a

 4 general    mens rea.     If she want s to stipulate       that she

 5 possess ed those firearm s, then we don't need to get

 6 into it at all .

 7           My understand ing is that she is going to say

 8 that with respect       -- she just move d those gun s to

 9 assist    somebody    else , and I think it would be probative

10 -- not character       evidence , but probative       of her

11 knowledge    to show that she possess ed gun s on a prior

12 occasion .

13           MR. WARD:     Your Honor , I ain't let ting any cat

14 out of the bag when I say because           it's a matter      of fact

15 and a matter       of evidence     that she gave testimony      at her

16 hus band 's sentenci ng with regard        to these gun s.      She

17 took the gun s away from her son , her 17 year -old son ,

18 because    as any mother        would -- she didn't    want him

19 having    gun s.    She took them away within       hour s,

20 allegedly , before      the raid .     Again , there 's no question

21 she possessed       the gun .

22           If all the government        want s to show is simple

23 possession , she 's going to admit , I possess ed the gun s,

24 but I possessed them in terms of           taking   it away from my

25 son and put ting it away in what she thought             was a safe




                                                                  Page 170
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 171 of 282



 1 place .     The only question       then become s whether       or not

 2 it was possess ed in furtherance           of drug activity .       The

 3 19 98 conviction       is not going to shed one iota of light

 4 on that question .

 5            THE COURT:     Well , what are the specific          fact s

 6 and circumstance s that would allow this to come in

 7 under the 19 88 matter ?

 8            MS. GREENBERG:         Your Honor , are you still

 9 talk ing about the gun s?

10            THE COURT:     Yes .

11            MS. GREENBERG:         In relation   to the 924 (c) count ,

12 Your Honor ?

13            THE COURT:     Well , I heard what you said.            It

14 said she was n't --

15            MS. GREENBERG:         Your Honor , her testimony , I

16 believe     -- and I'm just basi ng this belief           on her

17 testimony     before    another    judge of this court -- is that

18 she simply     move d these gun s to get them        away from her

19 son .     In connection    with that , she is going        to say she

20 didn't     know ingly and intentionally         possess   these guns;

21 they weren't      her gun s.      She simply    move d them .    I think

22 it 's probative     to show knowledge , intent , common

23 scheme , or plan .

24            THE COURT:     Knowledge     of what ?

25            MS. GREENBERG:         Of guns , and that she possess ed




                                                                   Page 171
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 172 of 282



 1 them .

 2            MR. WARD:      Your Honor , she is going to admit --

 3 she already     admitted     under oath she possess ed the gun s.

 4 She took them from her son .            The single   issue is

 5 whether    or not    she possess ed them in furtherance          of

 6 drug trafficking        activity .     That 's the single     issue .

 7 19 88 does n't shed any light on that at all .

 8            MS. GREENBERG:      Your Honor , just so the court

 9 understand s.       The charges      were that they were possess ed

10 in connection       with the burglary,      and she was with her

11 husband , Goldie       Dobie , at the    time .   Similar ly , she was

12 with her husband , Goldie         Dobie , in 2004 when she was

13 arrested     with the gun s.

14            MR. WARD:      What does that show ?      She was with

15 her husband     on two occasion s.

16            MS. GREENBERG:      I'm answering      the court 's

17 question     about fact s and circumstance s, counsel .

18            THE COURT:      I don't think I can permit         the '86

19 con viction    to come in .

20            MR. WARD:      I'm sorry ?

21            THE COURT:      I said , I decline     to permit    the use

22 of that conviction .

23            MR. WARD:      Thank you .

24            What about the other s?

25            I'm so rry .    I'm asking    the government .




                                                                  Page 172
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 173 of 282



 1            THE COURT:      '91 , '92 and '89 ?         No.

 2            Forgery   in Virginia ?          Robbery   in Montgomery

 3 County , and felony        theft ; is that correct ?

 4            MS. GREENBERG:       Yes , sir .

 5            THE COURT:      What are the facts and circumstance s

 6 of those ?

 7            MR. WARD:      Let me deal with those from the

 8 oldest    first .    We just dealt with the '88 burglary .

 9            On April 27 , 19 90 , she was convict ed of felony

10 theft in the Ann e Arundel             C ounty Circuit    Court and got

11 one year , with one year sus pend ed and five year s

12 probation .     That 's it .     Everything       else was nol

13 prossed,     as I understand          it.

14            THE COURT:      All right .

15            MR. WARD:      It appear s from that , since

16 everything     was suspend ed , that she would have been

17 re lease d from custody        on April 27 , 19 90 .         So , that

18 conviction     is a little      over 17 year s old -- 16 year s

19 old , I beg your pardon .

20            MS. GREENBERG:       Your Honor , I do have

21 information     that she was sentence d for a violation                  of

22 probation     on that , which would ex tend the time to one

23 year , on August       20 , 19 92 .     So , that would take us to

24 19 93 .

25            THE COURT:      That 's still 13 year s out .




                                                                      Page 173
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 174 of 282



 1           MS. GREENBERG:       Yes, sir .

 2           THE COURT:      I will not permit     the use of that

 3 conviction .

 4           MR. WARD:      Your Honor , on October      15 , 19 91 , in

 5 Alexandria,     Virginia , it appear s she has a         conviction

 6 for forgery     and uttering .       She received   two year s

 7 incarceration     on each , to run concurrent , with all but

 8 60 day s suspend ed .     It does n't give a date of re lease .

 9 But if we assume       60 day s to October     91 , I think we're

10 talk ing around    Christmas       '91 -- about December     '91 that

11 she would be re lease d from custody          in that case .     That ,

12 again , is 15 year s old .

13           THE COURT:      Unless    there 's something     that I

14 haven't   been told , I don't see any basis for allow ing

15 that to come in either , so I will not permit              the

16 forgery   in Virginia .

17           We've got one more to go and that is the

18 robbery   in Montgomery C ounty .

19           MR. WARD:      Yes , Your Honor , in the Circuit          Court

20 for Montgomery     County on March 17 of 19 92 , a common            law

21 or simple    robbery .    She received      eight year s

22 incarceration , with all but four year s suspend ed , to

23 begin 17 -- I'm sorry , March 17 , 19 92 .

24           THE COURT:      What was the date of re lease ?

25           MR. WARD:      That was in relation       to robbery   -- a




                                                                 Page 174
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 175 of 282



 1 robbery .    We're talk ing about July 13 , 19 92 .

 2          I don't have     a re lease date on that , frankly .

 3          THE COURT:      Does the government      have a re lease

 4 date on that ?

 5          MS. GREENBERG:       Your Honor , no , but I do have a

 6 reference    to a bench warrant       that was issue d for Ms.

 7 Dobie in relation      to that charge     on January    25 , 19 94.

 8 The bench warrant      was serve d on August      1, 19 96 .

 9          I don't know     after August     1st 19 96 when the

10 bench warrant     was serve d how much time she serve d, but

11 I do have a reference       within    the last ten year s that I

12 think she was arrested       for something     in connection        with

13 that charge .

14          THE COURT:      All right .    She was subject        to some

15 confine ment on that conviction .

16          MR. WARD:      I'm sorry ?

17          THE COURT:      I will permit     that , because      it

18 appear s she did suffer      some confine ment with that

19 conviction during      the ten -year period .

20          Any other issue s before       we all star ve to death ?

21          MR. MCKNETT :     Your Honor , can I ask the court

22 for a compromise      with regard     to my witness es ?

23          It sounds    like we're going      to get up to 3:30 or

24 so before    it would be my turn to put witness es on .              I

25 would pro pose , as a compromise , that court , to conserve




                                                                  Page 175
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 176 of 282



 1 its resource s, allow me to present            my case as close as

 2 possible    to what I think is the ideal sequence           by

 3 call ing just one of those witness es , call ing the first

 4 one .

 5            THE COURT:     You may not need both of them .

 6            MR. MCKNETT:     I want to call them both .        But as

 7 I said earlier , my -- the way I have structured             this , I

 8 would have to have -- was to have my client             testify

 9 after her husband        testifi ed first , and then have these

10 two witness es testify .       If I could call one of them

11 this afternoon , that will satisfy            to some ex tent the

12 court 's concern       about losi ng time .     And if I can call

13 the other one when I had intend ed to , it would satisfy

14 my concerns     about --

15            THE COURT:     I think that will work , because         I

16 don't think     -- know ing how these thing s go , this it 's

17 going to be a while with Ms. Dobie .

18            MR. MCKNETT:     Could I do it that way , Your

19 Honor ?

20            THE COURT:     Yeah , you can do it that way .

21            MR. MCKNETT:     Just call the one ?

22            MR. WARD:     Your Honor , I have     a correction    to

23 make .    I hate to do it .      But in the robbery     case , the

24 record    I have -- this was prepared          by the -- it 's a

25 pre- plea document       prepared   by the U. S. Probation




                                                                Page 176
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 177 of 282



 1 office .     It show s that on May 13 of '93 a hear ing for

 2 re consideration       was held and the court amended        the

 3 sentence     and im pose d, on July 13 , 19 92 , to eight year s

 4 incarceration , with credit          for time serve d.     The

 5 remain ing portion       of the sentence     was suspend ed under

 6 the same term s and condition s.

 7            My client    tell s me -- and I'm sure she would be

 8 willing     to go under oath and state this -- first of

 9 all , she -- as of May 13 , '93 , she was re lease d from

10 custody .     The probation     violation    was in connection

11 with another     matter     that she was involve d in in Prince

12 George's C ounty which didn't          result , I understand , in a

13 conviction .     In any event , she was brought          in on the

14 warrant .

15            THE COURT:     Is the government 's information          the

16 same or different        than that ?

17            MR. WARD:     Probation     was terminate d.

18            MS. GREENBERG:      Your Honor , I'm refer ring to        the

19 Pre trial Service s report .         I can show Mr. Ward and show

20 the court that they have under this robbery               charge    that

21 a bench warrant        issue d 8/1/89 .   The bench   warrant      was

22 serve d.

23            MR. WARD:     No time was serve d on that .

24            THE COURT:     Why was the bench warrant        issued?

25            MR. WARD:     The bench warrant     was issue d because




                                                                Page 177
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 178 of 282



 1 she got arrested       in Prince George 's County       and she was

 2 brought    in .   The probation     was simply     terminate d to let

 3 her go to Prince       George's    County .

 4           THE COURT:     Let me see what you're        talk ing

 5 about .

 6           COURT REPORTE R:     You are going to       have to speak

 7 up if you want this on the record .

 8           MS. GREENBERG:      It appear s it was a probation

 9 violation .

10           Thank you .

11           THE COURT:     It says the bench warrant            was issue d

12 for a violation       of probation ?

13           MS. GREENBERG:      That 's what it appear s from the

14 Pre trial Service s record .

15           MR. WARD:     It says she served        no time .     She was

16 simply    brought   into court .

17           THE COURT:     She was n't a free woman if there was

18 a bench warrant .       I mean , there 's some period         of

19 confine ment .

20           Ladies and gentlemen      , not with stand ing what I

21 told the jury , we'll resume         at a quarter     of two .

22                         (Off the record        at 1:26 p.m. )

23                         (On the record        at 1:55 p.m. )

24           THE COURT:     Are you ready ?

25           MR. HALL:     I think we're all here now .




                                                                   Page 178
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 179 of 282



 1           Your Honor , yesterday      the court put a

 2 sequestration     order regard ing my client       because   he was

 3 in the middle     of his testimony .      He has now finish ed

 4 that .    As a result    of that order , he was sent to Howard

 5 County Detention C enter .

 6                         (Jury return s at 1:59 p.m. )

 7           THE COURT:     Good afternoon , ladies and

 8 gentlemen .     Sorry we didn't     start precise ly when I told

 9 you we would .     We did take care of other matter s while

10 you were out , and I think we only had 20 minute s for

11 our lunch .     So , we are back on track .

12           I want ed you to know that the case for Mr.

13 Whiting    is essentially    concluded , subject      to a couple

14 of pro vis os that might cause there to be additional

15 testimony .

16           We're now going to hear the case for Lavon

17 Dobie .

18           Mr. Ward , you may proceed .

19           MR. WARD:     Thank you .

20           We call Lavon Dobie to the stand .

21           Ms. Dobie,    if you would step over there , please ,

22 remain    stand ing , and raise your right hand and be

23 sworn .

24 Thereupon,

25                         LAVON DE'NICE    DOBIE ,




                                                                Page 179
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 180 of 282



 1 having been called as a witness on behalf of the

 2 Defendant Lavon Dobie, and having been first duly sworn

 3 by the Courtroom Deputy, was examined and testified as

 4 follows:

 5            THE CLERK:     I need you the state your name for

 6 the record.

 7            THE WITNESS:     Lavon De'Nice       Dobie,   D-O -B -I -E.

 8            THE CLERK:     Spell " De'Nice " for me.

 9            THE WITNESS:     D-E-'- N-I -C -E.

10                           DIRECT EXAMINATION

11            BY MR. WARD:

12 Q.         Mrs. Dobie, it's important that everyone be able

13 to hear what you say, and particularly important that

14 the jurors be able to hear what you say and, of course,

15 the judge.

16            Do you understand?

17 A.         Yes, I do.

18 Q.         I want you to sit forward and speak into the

19 microphone and keep your voice up.

20            Do you understand?

21 A.         Yes.

22 Q.         And it's not important that you look at me or

23 anybody else in the courtroom, except for the jury.                      I

24 want you to look directly at the jury when you respond

25 to questions.




                                                                   Page 180
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 181 of 282



 1            Do you understand?

 2 A.         Yes, sir.

 3 Q.         Unless somebody's showing you something or

 4 asking you to look at something.        Got it?

 5 A.         Yes, sir.

 6 Q.         Now, Mrs. Dobie, you're how old presently?

 7 A.         42.

 8 Q.         And let me ask you a few questions about your

 9 personal background.

10            You were born and raised in the         District of

11 Columbia,    I understand.

12 A.         Yes, sir.

13 Q.         And that's where you were living at the time you

14 were arrested in this case, on June one of '04; is that

15 correct?

16 A.         Yes, sir.

17 Q.         Spent all your life there.     Raised --       I'm born

18 and raised in the        District of   Columbia.

19 Q.         All right.    Tell the jury a little bit about

20 your education.

21            Did you go to high school?

22 A.         I went to Woodrow     Wilson High School in the

23 District of      Columbia.   After high school,       I went to --

24 Q.         Did you graduate?

25 A.         Yes, I did.




                                                                Page 181
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 182 of 282



1 Q.          When was that?

2 A.          1979.    I needed some extra credit, so       I think    I

3 came out maybe a year later or something like that.

4 Q.          Following high school, did you pursue any other

5 education?

6 A.          I did.

7 Q.          Tell the jury about that, please.

8 A.          I went to Scanner's    Cosmetology school.        I've

9 taken several nursing aid and home health aid courses,

10 as well.

11 Q.         All right.   Are you familiar with Northern

12 Virginia Community College?

13 A.         I went back to school at age 38 at Northern

14 Virginia Community College to become a Certified

15 Addiction Counselor.

16 Q.         How long did you spend there, approximately?

17 A.         I stayed long enough to receive a 4       .0 grade

18 average and was intending to enroll the following

19 semester.

20 Q.         All right.   Did you become an addictions

21 counselor as a consequence of that education?

22 A.         I did.

23 Q.         Can you tell the jury when and where and for how

24 long you were an addictions counselor?

25 A.         I've worked at the majority of the group homes




                                                               Page 182
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 183 of 282



 1 and shelters in the       District of    Columbia.     Sasha Bruce,

 2 Bureau of Rehabilitation by Capitol            Cadillac and    IBR,

 3 also, and during my life it was Gap.          So,     I started out

 4 of as off as a peer counselor.       My last job as a

 5 counselor was at Charter Behavior Health Research

 6 Center and I was an addiction counselor there, and               I

 7 stayed there until 2001 or 2002.

 8 Q.       Where was that located?

 9 A.       I believe the correct mailing address is 1401

10 Broschartan [ph.] Lane.      It's in        Montgomery County.

11 Q.       I see.     Was that an adult institution for

12 teenagers or children, or what?

13 A.       It was for both children and adults and also

14 rendered services to the dually addicted, as well as

15 some that were mentally and emotionally challenged.

16 Q.       All right.     And of course you personally have

17 had experience with drugs; is that correct?

18 A.       Yes, I have.     Yes,    I have.

19 Q.       We'll come to that in a minute.

20          Did you ever follow up --          I think you said you

21 had some cosmetology school training.

22 A.       Yes.

23 Q.       Did you ever follow up on that?

24 A.       Yes.     Prior to this incarceration,        I was working

25 in a hair salon on      U Street -- Edges -- and        I also was




                                                                 Page 183
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 184 of 282



1 in the process of becoming a         CJA-certified

2 investigator.

3 Q.       All right.     Well, we'll come to the

4 investigation business.

5          You did work in the cosmetology business?

6 A.       Yes.   Actually, I'm utilizing those skills now

7 while I'm incarcerated.

8 Q.       That was -- when you were working on the

9 business on the outside, was that women's hair or

10 makeup, or what?

11 A.      Actually, men and women's hair, coloring,

12 cutting, etcetera.       I went to cosmetology school, so          I

13 know the theory part of it as well as the practical.

14 Q.      All right.     Would you like a glass of water?

15 A.      Please.

16 Q.      Tell us about the investigator business you were

17 just talking about.

18 A.      I've had numerous of brushes with the law, and                 I

19 have a son that's incarcerated.      Helping prepare for

20 his defense,    I was able to assist the investigator they

21 assigned to him.     Me being effective, it was suggested

22 why don't   I apply; my criminal history wouldn't affect

23 me getting the position.        I applied for an application.

24 While incarcerated on this charge,          I was notified

25 through mail that my application -- they were asking




                                                               Page 184
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 185 of 282



 1 for it to go to another step.           I never did it later.

 2          Later some other things will be revealed, but

 3 that's where my interest was going.

 4 Q.       All right.    Now,    I seem to recall that one of

 5 the calls or one or two of the telephone calls which

 6 was played had to do with the arrest of            Gwen Levi and

 7 her location in some       Montgomery County facility and

 8 your contacting someone to find out about her.

 9          Do you recall that?

10 A.       I do.

11 Q.       I also seem to recall in that conversation you

12 said something about using your investigative license

13 or investigator I     .D. or something like that to get to

14 see Ms. Levi; is that correct?

15 A.       I did.

16 Q.       Did you actually have any kind of I          .D. like

17 that ?

18 A.       I had a identification card bearing my picture

19 with the name " K. C. Johnson" on it.            I went to the

20 place where the      CJA Department send those employees.

21 Had I been hired legally,        I would have went to that

22 same place on 18th and        Columbia Road and they would

23 have done the identification.           I went there with a

24 gentleman who was a       CJA investigator, or he was an

25 investigator for the courts.       This is how        I became




                                                                Page 185
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 186 of 282



 1 aware of it.    At that time       I filled out two

 2 applications.       I paid to have my picture put on with

 3 the name " K. C. Johnson," at that time for fraudulent

 4 purposes not relating to        Ms. Levi at all.

 5          I also filled out an application that same day

 6 in the name of " Lavon De'Nice        Dobie" as well, and the

 7 government can verify that.

 8 Q.       Did you ever use that document to go see             Ms.

 9 Levi?

10          Did you ever see      Ms. Levi at all, first of all?

11 A.       I did indeed use the document.           I went to see

12 Goldie   Dobie, III, which is my son who was detained at

13 Prince   George's    County Detention Center where         I'm

14 detained, and     I presented myself as an investigator to

15 hug and kiss my son.        I never used it to go see         Ms.

16 Levi.

17          I did tell    Ms. Martin on the conversation --             I

18 even went as far as calling         Montgomery County because            I

19 had been arrested and detained there previously myself,

20 so I knew some of the correctional officers, and the

21 conversation confirms       I asked to speak to one

22 specifically who was a officer at that time, and                 I

23 asked her did they have a        Gwen Levi, and      I told   Ms.

24 Martin on numerous occasions         I'm going to go.     Once       I

25 was informed of      Ms. Levi's arrest --      I didn't know




                                                                 Page 186
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 187 of 282



1 about it;     I was informed about it.

2           I called the detention center, confirmed that

3 she was there while       Ms. Martin was on a three-way

4 conversation.       I stated   I would go.     I don't remember

5 the correct dates, but my        birth day was    May 18 of     '04.

6 Evidently, when she was asking me to go see             Ms. Levi

7 was around that time.      The Last conversation          I had in

8 reference to going and seeing         Ms. Levi it was my

9 birthday.     It ain't that important to me.           I didn't go,

10 and that was the end of it.         I never went to see her.

11 Q.       Well, let me ask you this.      Why did you make

12 calls to -- for     Ms. Martin to find out where         Gwen Levi

13 was and so forth?

14 A.       I knew   Ms. Levi way before I knew        Ms. Martin.        I

15 met Ms. Levi through my stepfather, who's been with my

16 mother since 1971-72, and that's how          I met Ms. Levi.

17 Ms. Levi -- at one point me and her daughter was very

18 close.   She considered me her goddaughter.       She's told

19 people on the street that       I was her niece.     Me going to

20 see her -- first of all, someone else -- the wiretap

21 revealed who called me and said, you know Gwen is

22 locked up.     I didn't know.    At that time       I called    Ms.

23 Martin and asked     Ms. Martin, did you hear that         Gwen was

24 locked up?     Ms. Martin denied knowing that         Gwen was

25 locked up.




                                                                Page 187
       Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 188 of 282



 1            The wiretaps that the government have also

 2 confirms that she even stated to someone else -- the

 3 through wiretap        I learned all of this after our arrest

 4 -- I didn't tell        Becky that    Gwen was locked up.     She

 5 said Tammy did.       Those wiretaps available.      It would --

 6 I'm not denying where I've been, so it could have been

 7 anybody.      It could have been "      Joe Blow."    And if they

 8 would have said she was locked up or he was locked up,

 9 they're supposed to be in          Montgomery County.      Well, if

10 they would have asked, do you know anybody work up

11 there?      I would have been honest:       Yeah,      I was locked

12 up there before;        I do know some officers that         I gained

13 a     rapport with.    So    I could have called to see if the

14 person was allowed to have visits or whatever.

15 Q.         But you also had some personal knowledge of --

16 with Ms. Levi going way back?

17 A.         Yes.   Not prior to this.      But as a teenager         I

18 think I met Gwen Levi maybe when            I was 14 or 15 years

19 old, sometime around there.

20 Q.         We'll come back and explore that relationship.

21            Now, you said that you were married to Goldie

22 Dobie.

23 A.         Junior.

24 Q.         Junior?

25 A.         Yes.




                                                                  Page 188
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 189 of 282



1 Q.         When were you married to       Mr. Dobie?

2 A.         On April 17 of 1986,       I believe, or '85.

3 Q.         You don't let him hear you say '86 or '85.

4            MS. GREENBERG:    Objection.

5            THE COURT:    Overruled.

6            BY MR. WARD:

7 Q.         All right.

8            You've remained married since that time, is that

9 correct, to him?

10 A.        I'm married now; however,       I've filed for divorce

11 since being arrested on this case.

12 Q.        All right.    But you had some children together,

13 you and   Mr. Goldie     Dobie?

14 A.        Yes.

15 Q.        Who is the oldest child?

16 A.        Goldie Dobie, III.

17 Q.        He's the young man you said is incarcerated, or

18 was incarcerated?

19 A.        He is incarcerated.

20 Q.        How old is he?

21 A.        24 years old.

22 Q.        Your other child is?

23 A.        Ta'Vaughn    Dobie.

24 Q.        Can you spell that?

25 A.        T-A-'-V-A-U-G-H-N.




                                                               Page 189
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 190 of 282



 1 Q.         I'm sorry.     Did you say how old he is now?

 2 A.         He's 20.     Born on June 20, '86.

 3 Q.         Were either of your sons present in the house --

 4 in your house on Ninth Street at the time it was raided

 5 on June first, '04?

 6 A.         Yes, sir, my youngest son,       Ta -Shawn.

 7 Q.         All right.     And he was then how old?

 8 A.         He was 17 years old.

 9 Q.         Was he still living at home, or did he just

10 happen to be home at that time?

11 A.         He was still living at home.

12 Q.         All right.     Your husband, Goldie       Dobie.   Was he

13 a drug addict, too?

14 A.         Yes, he's used.

15 Q.         Has he ever had any other problems with the law?

16 A.         Numerous of problems.       I met him when     I was --

17 he's seven years older than me.        He's been incarcerated

18 numerous of times.        He was just returning to society in

19 2001 or 2002 after doing 12 years.

20 Q.         All right.     But you were back together,

21 obviously, at the time of the raid on your house;

22 correct?

23 A.         Yes.

24 Q.         All right.     Bear with me a moment.

25            Now, let me ask you in some more detail about




                                                                 Page 190
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 191 of 282



1 your substance abuse.      Let me ask you, when did you

2 start abusing drugs and what kind of drugs?

3 A.        I would say     I started abusing drugs around age

4 27 or 28.    Whenever     I caught -- whenever was first

5 arrested.        I would say at that point in my life         I had

6 began abusing drugs.      However,       I had experimented with

7 drugs far before       I started abusing drugs.

8 Q.        Around 27, or 28 is when you developed a habit?

9 Is that fair to say?

10 A.       Yes.

11 Q.       What were you using?       How were you using it?

12 A.       I started out snorting cocaine through my

13 husband and in      Baltimore, and being in      Baltimore    I then

14 started to experiment with heroin.            I've snorted both

15 of them, and      I became addicted.    By age 31     I would say

16 I was actually fully addicted.

17 Q.       Okay.    Now, it may be that everybody in the

18 courtroom knows what "snorted" means; it's been

19 referred to quite a few times.        Could you just -- in

20 case anybody doesn't, explain that.

21 A.       It's where -- whether it's cocaine or heroin,

22 either   I use a fingernail or a straw or something to

23 put it in my nose -- a matchbook or whatever.

24 Q.       Sniff it up?

25 A.       I'm inhaling it through my nostrils.




                                                                Page 191
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 192 of 282



 1 Q.         All right.    Were you ever in any programs to try

 2 to cure your drug addiction?

 3 A.         I was.

 4 Q.         Can you tell the ladies and gentlemen of the

 5 jury when and what programs you've been in?

 6 A.         The last time -- the most recent time that            I've

 7 addressed my addiction           I had relapsed at the end of

 8 2003.      I was at    D. C. detox center under the name

 9 "Geneva Monroe" one of the identification cards that                I

10 had.    I used that and went into          detox .

11            On April 17 of '04, which was my wedding

12 anniversary,        I was in    detox then under that name.

13 Prior to that,        I had an arrest stemming from         Montgomery

14 County .     I believe the arrest was        '91 or sometime in

15 the early nineties.            I was sentenced to eight years for

16 a robbery relating to some jewelry -- a jewelry store,

17 and I was sentenced, and the judge suspended the

18 sentence.     He gave me eight years, all suspended but

19 four, and     I wrote for reconsideration asking to address

20 my addiction because           I had never been given the

21 opportunity.         I did that.    He allowed me to go into

22 Second Genesis.

23            While in Second Genesis,        I completed the

24 inpatient portion of the program.         A young lady and

25 myself got into a altercation, and            I was put out the




                                                                 Page 192
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 193 of 282



 1 program.     However,     I didn't violate my probation.      They

 2 terminated it successfully because            I had verification

 3 from counselors and them that           I was approached about a

 4 homosexual relationship or act and didn't choose to

 5 indulge.     I felt like the girl violated me; we fought.

 6 Q.         Any other programs that you've been in?

 7 A.         No.   Just while incarcerated this time.      When        I

 8 came into custody       I had a heroin addiction.         I was

 9 treated for it in       Montgomery County.

10 Q.         This is on June 1, '04?

11 A.         June 1, '04.    June 1, '04 when       I came into

12 custody through Greenbelt.       Once      I got to   Montgomery

13 County from this courthouse,         I was ill.    If you all

14 don't know what "ill" is, at this point my body was

15 breaking down.       I began to vomit and have blue stool

16 and everything, and the nurse at that point diagnosed

17 me -- they looked up my nose to see that most of my

18 tissues in my nose had been deteriorated from drug use.

19 They treated me at that point with Methadone, which

20 they no longer -- they didn't give or whatever, but due

21 to my heroin addiction and the severity of my

22 withdrawals, they treated me -- they gave me a liquid

23 form for three or four days and some pills.

24            After leaving there, we were transfer today

25 Clarksburg.      Immediately while in the intake process,               I




                                                                Page 193
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 194 of 282



1 signed up for the jail addiction services.         After

2 leaving    Montgomery County and being transferred to

3 Prince    George's    County I completed the relapse

4 prevention program.      By me having the therapeutic

5 knowledge because       I've obtained some information and

6 the personal knowledge from using,            I knew that there

7 was something that allowed me to relapse, and               I went

8 back into treatment while incarcerated at the relapse

9 prevention program, and        I completed it while        I've been

10 incarcerated.       I've had the opportunity to use while

11 incarcerated and chose not to.

12 Q.       You mean there were drugs in the institution?

13 A.       Sure.

14 Q.       You've been in custody since your arrest on June

15 1 of '04?

16 A.       I didn't hear you,      Mr. Ward.

17 Q.       You've been in custody since your arrest on June

18 1 of '04?

19 A.       Yes, I have.

20 Q.       Have you used drugs during that time?

21 A.       Nothing other than a      Tylenol when     I had my tooth

22 extracted.

23 Q.       Let me ask you this.     When would you say was the

24 height, if you will, of your addiction, when you were

25 using the most drugs that you ever used?




                                                               Page 194
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 195 of 282



1 A.       Sometime around '89-'90.       Somewhere around that

2 time.

3 Q.       During that time, at the height of your

4 addiction, what were you using?       Both coke and heroin,

5 or alternately one or the other?        Or just one, or what?

6 A.       I apologize.     The height of my addiction would

7 have been in the nineties, around --           I don't know.     My

8 criminal history would verify it better for me.

9 Q.       We'll get into that.

10 A.      It was around the time that         I was in    Virginia.

11 I had got locked up, and at that time           I knew that that

12 arrest definitely was a direct result of my drug

13 control going bizarre at that point.

14 Q.      And what were you using and how much at that

15 time?

16 A.      I'm basically,      I would say, a heroin addict.            I

17 have a high tolerance.     So if     I'm using, just not to be

18 sick or whatever,     I can snort maybe a $50 bag.

19 However, if   I'm using just to be using, after the

20 illness part of it is over, if         I'm sick in the course

21 of a day,   I can snort $100 to $200 worth of stuff. $300

22 without exaggeration.

23 Q.      Well, let's talk about in terms of weight,

24 because there's been a lot of discussion of "grams" and

25 "eighths" and that sort of stuff.




                                                               Page 195
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 196 of 282



 1            How does a $50 bag of heroin relate to weight?

 2 A.         The only way    I bought heroin was in the streets,

 3 and what they sell are the way          I snort it.      I snort raw

 4 dope.   There's a difference between dope that people

 5 shoot and people snort.          I don't want anything that you

 6 shoot, because it's cut with some other stuff.               I use

 7 raw dope, and you're usually buying it in the street

 8 anywhere between $35 -- back during the time when my

 9 addiction was at its height, it was selling for $35 to

10 $40.    However, people started selling what are supposed

11 to be grams of dope or half a grams of dope, and they

12 go anywhere between $75 and $        150 for a bag of heroin --

13 raw heroin.

14            MS. GREENBERG:     Judge, she's referenced back

15 when her drug addiction was at its height.         We've had

16 two different dates.       If counsel could clarify what

17 date we're talking about.

18            THE COURT:     Could you clarify it,       Mr. Ward?

19 I've got two different dates in my notes.

20            THE WITNESS:     I thought you all understood me.

21            BY MR. WARD:

22 Q.         Restate it.

23 A.         Yeah.   He asked me when it was at the height of

24 my addiction.       I initially said in the late eighties,

25 and then    I recanted because      I remembered when      I had got




                                                                Page 196
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 197 of 282



1 arrested in '90-something which          I believe was sometime

2 in '91 through '94 whenever --          I don't remember the

3 exact date because      I was using.     However,       I have an

4 arrest that comes out of        Arlington County.       At that

5 time my addiction was in full bloom.

6 Q.          Were you using any cocaine at that time?

7 A.          During that time   I wouldn't say that        I was using

8 it whereas though      I was addicted.     However, heroin

9 makes you nod.      So, all during my drug usage             I've

10 always snorted cocaine to -- like, for example, if                 I

11 was in here, a member of this -- the audience.          If         I

12 was blowing dope at that point in my life,              I would have

13 some cocaine also.     Then that way       I wouldn't nod out.

14 The cocaine brings you back up more.        So, it mellows

15 you out.     So, it's a possibility that        I did have some,

16 or I would have had it, but it wasn't my drug of

17 choice.    It was something     I used in addition to my drug

18 of choice.

19 Q.         Just for clarification purposes.     When         you talk

20 about heroin and nodding out, you mean what?

21 A.         Heroin makes you appear to be sleepy, and you

22 actually go out for a moment.          I'm greedy.     If     I'm not

23 high -- at that point in my life, if wasn't nodding,                   I

24 wasn't high.     The dope wasn't no good.     And that was my

25 telltale sign.      I could be talking to you on the phone




                                                                 Page 197
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 198 of 282



 1 and I would go out.      If I said -- right now if          I was

 2 high off of heroin and       I was sitting here, you all

 3 would know it, because if you get too comfortable or

 4 sit too long or too still and the dope is some good,

 5 I'm going to close my eyes;         I'm going to be out and you

 6 will be saying, Dobie,       Dobie.    You will know      I'm on

 7 something.

 8 Q.        Let's go to the period before you were arrested,

 9 the period we talked about in this case -- in this

10 conspiracy.

11           How much were you using at that time?

12           Let's take this how much were you using up and

13 around the time your house was raided on June 1 of '04?

14           I don't mean that day;       I mean the weeks and a

15 couple of months before.

16 A.        Prior to June 1, '04,       I would say anywhere --

17 between   January and     June I was snorting numerous amount

18 of heroin and cocaine.      Basically,       I slept all day and

19 stayed up all night, basically.       The only time         I came

20 out during the day was basically to cop.

21 Q.        Where did you get the heroin that you were            using

22 back then?

23 A.        Basically, Seventh and       T, Northwest; Ninth

24 Street.     I frequent Chuck & Billy's.          I frequent after-

25 hour joints which had gambling joints.             I like to shoot




                                                                Page 198
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 199 of 282



 1 dice.     I know numerous of places to cop heroin from,

 2 basically -- and cocaine.      Basically, I was doing most

 3 of my copping at Chuck and Billy's right prior to this,

 4 or even some of the people         I was gambling with sold

 5 coke or dope easily.

 6 Q.        When you say "gambling," do you mean a few bucks

 7 here and a few bucks there?

 8 A.        No.   I'm a jewel thief and a fur thief, and it

 9 would be nothing for me to have taken some fur coats or

10 some jewelry, and      I go to illegal establishments where

11 what we call "hustlers" in the          District of    Columbia and

12 other places, and      I may have a fur coat that's $12,000,

13 for example, and I want $3,000 for it.             I would have

14 $3,000 and sometime      s I may not make it out the crap

15 joint with the money, because         I'll stand there and

16 gamble.    Some days     I lose it all and some days        I might

17 turn three into fifteen.

18 Q.        You've used the word "hustler," and the jury has

19 been told that "hustler" means someone who deals

20 heroin.

21           MS. GREENBERG:     Objection.

22           THE COURT:    Overruled.

23           BY MR. WARD:

24 Q.        Is that correct?

25 A.        I totally disagree, and       I can state with moral




                                                                Page 199
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 200 of 282



1 certainty that is not correct at all.

2 Q.         What do you understand a "hustler" to be?

3 A.         I'm considered one of the best jewel thieves and

4 fur thieves out of the District of Columbia, and one of

5 the government's cooperating witnesses confirmed that

6 for me.

7 Q.         All right.   You told us that you would go out to

8 whatever     the streets were in     D. C. to get your heroin.

9            Where were you getting your cocaine at that

10 time?

11 A.        I've purchased small amounts of cocaine from            Ms.

12 Martin;   I've purchased some from Chuck and Billy's;

13 seventh Street; ninth street.      The majority of the

14 cocaine or heroin      I use came out of the street.

15 Q.        When you purchased from       Ms. Martin, how much

16 would you purchase?

17 A.        I've purchased --

18 Q.        Or would it depend on how much money you had?

19 A.        No , it didn't.   Actually,     I first maybe first

20 purchased maybe something from          Ms. Martin, maybe

21 February of '04.       I met Ms. Martin in '03 and didn't

22 have any knowledge of her -- none of this.        A lot of

23 this is a surprise to me.         Ms. Martin didn't have any

24 knowledge that     I was a heroin addict unless it was by

25 hearsay from someone else or me actually using until




                                                                Page 200
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 201 of 282



1 maybe February or something, and it started off,               I

2 believe, with maybe a 50 or a sixteenth of cocaine.

3 Either a 50 or a sixteenth.         A 50 is $50; a sixteenth

4 is $125.

5 Q.         All right.    That's a sixteenth of a what?

6 A.         Of a -- you get 1.75 if it's correctly given to

7 you.

8 Q.         Grams?

9 A.         Yes.

10 Q.        All right.    We've heard testimony about 8-balls

11 of cocaine; is that correct?

12 A.        Yes.     I've heard numerous of testimonies about a

13 8-ball.

14 Q.        At least as far as you were concerned -- and             I'm

15 confining you now to the time that you were dealing

16 with Ms. Martin -- was it usual or unusual for you to

17 buy for your own personal use an eighth of cocaine?

18 A.        I've never    purchased a eighth of cocaine from

19 Ms. Martin.      My birthday was     May 18.    Ms. Martin

20 actually gave me some cocaine on my birthday.              I didn't

21 need to weigh it to find out how much it was.         It was a

22 gift.     I believe it may have been a 8-ball because             it

23 was more than the 1 .75 grams that         I normally got.

24 Q.        Have you ever, ever --       I'm not confining you to

25 this case -- ever sold drugs to other people yourself?




                                                                Page 201
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 202 of 282



 1 A.        I've never been a drug user -- a drug seller.

 2 I've done a lot of things.          I've never sold drugs.        The

 3 government knows that.         I've stole;    I used fraudulent

 4 use of credit cards; forgery, robbery.             I've never been

 5 a drug dealer.     Never.

 6 Q.        Now, let's turn to these -- one of these charts

 7 here.

 8           MR. WARD:    Excuse me,    Your Honor.     May    I?

 9 I was simply asking, since she's in custody,               Your

10 Honor, if she was allowed to come forward, closer to

11 the jury.

12           THE COURT:    You may.

13           MR. WARD:    I understand that's fine as long as

14 the marshals come.

15           THE COURT:     Just stay with her.

16           BY MR. WARD:

17 Q.        Would you step over here this way,          Ms. Dobie,

18 please?

19           Could we have the gadget that this goes on?

20           I'll be careful of the microphone this time.

21           As Your Honor can tell,       I'm not terribly

22 technically proficient.

23           Now, Ms. Dobie, this is       CH-1, and of course

24 you've seen this before during the course of the trial;

25 is that correct?




                                                                Page 202
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 203 of 282



 1 A.         I have.

 2 Q.         All right.      I want to -- is that going to stay?

 3            I want to --     I was looking for my papers.          I'm

 4 sorry.

 5            MS. GREENBERG:      Mr. Ward, can Agent      Eveler fix

 6 that stand for you?

 7            MR . WARD:     I will bow to his technical

 8 expertise.

 9            Thank you, Agent        Eveler.   I appreciate that.

10 Let me just get my pen.

11            I guess it doesn't matter if it's tilted, as

12 long as it stays there.

13            BY MR. WARD:

14 Q.         Now, Ms. Dobie, let's look at -- let's start at

15 the top.     Kelly Last Name Unknown of El Paso.       Before

16 seeing this board, had you ever heard of Kelly               LNU from

17 El Paso?

18 A.         No.

19 Q.         Did you ever have any drug dealings of any kind

20 with anybody at         El Paso?

21 A.         No, I have not.

22 Q.         Even copping for your own personal use?

23 A.         No, I have not.     Never been to      El Paso.   Don't

24 know anybody there to my knowledge.

25 Q.         What about     Steve Campbell of     Houston?




                                                                Page 203
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 204 of 282



 1           Did you -- before seeing his picture up there in

 2 this trial, did you know him?

 3 A.        No, I have not.

 4 Q.        You ever been to       Houston?

 5 A.        If so, it was on,       I imagine, traveling a

 6 airplane layover.     No, it was actually             Dallas where the

 7 plain layed over at.      So,     I've never been to        Houston.

 8 Q.        Let's go to what ICE termed "            Maryland Cocaine."

 9           How about Cuba Last Name Unknown?

10 A.        No.

11 Q.        Is the name " Cuba" familiar to you at all?

12 A.        No, it's not.

13 Q.        You've never had any dealings with anybody named

14 "Cuba?"

15 A.        I have not.

16 Q.        What about Juan       Encarnacion?

17           You saw him in court, didn't you?

18 A.        That's when     I first seen him and first became

19 familiar with him or his name.

20 Q.        You never had any dealings with anybody by

21 telephone or E-mail or anything?

22 A.        I met him just like you ladies and gentlemen met

23 him:   On that stand.

24 Q.        What about Luis Mangual,          Jr.?

25           Have you ever seen him before?




                                                                  Page 204
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 205 of 282



1 A.         I have no knowledge of him except through here.

2 We've been locked up since June 1 of '04, and

3 downstairs in the holding area it's like cages, so of

4 course     I seen him under these circumstances.

5 Q.         All right.    Let's move over to the "        California

6 Cocaine," whatever it is.       Pernell       Philpot.

7            Do you know Pernell     Philpot?    Or did you know

8 him before this trial?

9 A.         We were familiar with each other.      We didn't

10 know each other.        I come out of the     District of

11 Columbia.        I've always lived in the Northwest sector of

12 Washington -- Upper Northwest.           I used to go with a

13 guy, and during my teenage years 17, 18, 19, 20 years

14 old off and on, and       Philpot comes from the Coolidge

15 High School area.      The IBEX during that time was a

16 place where we as young kids went to, or the Paragon on

17 Wisconsin Avenue.      Through two other people at that

18 time I met him, you know, at the Go-Go dancing,

19 whatever.    No personal contact.    Didn't come back in

20 contact with this man -- my kid -- my oldest kid -- son

21 is 24.    When     I had contact with him, my baby was just

22 born, which was in '82 or '83.           I had no contact with

23 this man up until maybe after meeting           Ms. Martin,

24 sometime --       I met Ms. Martin definitely in        August of

25 '03.     I came back in contact     and seen him there; had no




                                                                Page 205
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 206 of 282



1 knowledge of none of this.          A lot of it is a surprise

2 to me, also.

3 Q.          When you say "seen him there" referring to             Mr.

4 Philpot, where is "there?"

5 A.          One time   I was over    Ms. Martin's house and

6 Philpot came in.       Or    I think it was actually a

7 situation he overheard, maybe, me and her talking on

8 the phone and they referred to me, as you all know by

9 now, " Becky."     When     I got there, it was the same

10 "Becky" that he had knew from years ago, as             I was

11 telling you all.      Hi, how you doing?    It was a clothing

12 situation.     It was a blue suit with maybe some, like,

13 light -- pail blue window pains, and           I was like, that's

14 a sharp coat or whatever.      That was it.    That was all.

15 Q.         Did you ever have any -- at any time, either

16 back when your oldest was a little tot, or more

17 recently when you met        Mr. Philpot at    Ms. Martin's, did

18 you ever have any drug transactions, drug

19 conversations, anything to do with drugs with               Mr.

20 Philpot?

21 A.         I can say in front of       God and his 12 Disciples

22 that I've never dealt drugs with           Philpot, any of these

23 people or anybody in my life.            I've used drugs;     I've

24 never dealt them.

25 Q.         Steve Brim, who I think we've heard is now




                                                                Page 206
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 207 of 282



 1 passed -- deceased.

 2           Did you ever know him?

 3 A.        The first time     I ever even heard the name "       Steve

 4 Brim" was in this courthouse.           I was denied bond from

 5 June of '04 up until        February of '05 due to the

 6 government fabricating something --

 7           MS. GREENBERG:      Your Honor, objection.      Move to

 8 strike.

 9           THE COURT:     Sustained.

10           BY MR. WARD:

11 Q.        Just tell us about      Steve Brim.

12 A.        No, I don't know him.

13           MS. GREENBERG:     Please tell the jury to

14 disregard that statement,        Your Honor.

15           THE COURT:     Please disregard the last statement.

16           BY MR. WARD:

17 Q.        Ms. Dobie, do you need a drink of water?

18 A.        No.

19 Q.        Just relax.

20           We've learned, though -- we heard from his son,

21 Nathan King -- had you ever seen          Nathan King before he

22 appeared in this courtroom?

23 A.        Never seen him.    Never even heard of him.

24 Q.        I see.   And   Nathan King is the gentleman who you

25 saw look at your photograph -- what is supposed to be




                                                                Page 207
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 208 of 282



1 your photograph -- and say that it was his stepmother;

2 is that right?

3 A.       I remember him stating that.

4 Q.       Bridget Brim.

5          All right.     What about -- let's deal with           Mr.

6 Moises Uriarte .      Ever see him before?

7 A.       No.    Except -- not prior to getting on the

8 stand.    I never seen him in my life.

9 Q.       Now, Gwen Levi.      How does she pronounce it?

10 "Levy" or " Levi?"

11 A.      Levi.

12 Q.      You told us that you had some prior knowledge of

13 her from when you were, what, a teenager?

14 A.      Yes.

15 Q.      Did that come about?        Tell me.   Tell the jury

16 about it.

17 A.      My mother and father -- stepfather, but             I call

18 him my father because he basically raised me --

19 evidently knew     Gwen Levi and her husband from the

20 Boston area.     From the stories       I've heard, my father

21 knew Gwen from the     Boston area.     A lot of people say

22 that we favor.      I've heard that for years.      Me and her

23 daughter met -- in 1985 or '86, me and her daughter

24 met.

25 Q.      Tell me her daughter's name.




                                                               Page 208
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 209 of 282



 1 A.        Her daughter's name is Bonita           Levi.

 2 Q.        B-O -N -E -T -T -A?

 3 A.        Yes.

 4 Q.        Okay.

 5 A.        At the time     I was working at D. J. Melon group

 6 homes with kids.        Ms. Levi's daughter, Bonita, knew             Mr.

 7 Daniel    J. Melon, who owned these group homes in the

 8 District of       Columbia.     That's how     I met Bonita, and

 9 Bonita and       I became close.

10           At that time        I was snorting cocaine;     Bonita was

11 snorting cocaine.      At that time          I didn't even know she

12 was snorting dope at that time.               I hadn't begun to use

13 heroin, and she was smoking.            Gwen Levi used to come

14 past 1506    Pennsylvania Avenue, Southeast which used to

15 be the office for       D. J. Melon & Associates, and         Gwen

16 came one time to get her daughter who, evidently,

17 hadn't been home or whatever, unbeknownst to me,

18 because    I had just come over.

19           Evidently,     Bonita had been there for a couple of

20 days or whatever getting high.               Gwen came hysterical,

21 like any mother would have, and was like, bring your

22 butt out of here, whatever, and at that time she

23 threatened to do something to everybody that was in

24 there.    At that point, when she seen me, she said, and

25 Becky,    I'm gonna call your mother and them and let them




                                                                 Page 209
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 210 of 282



 1 know what you over here doing, or whatever.         And that's

 2 how we came back in contact more so at that point, and

 3 I would see her.

 4          Gwen Levi.     She's a person that frequent after

 5 hours.   In most after hour spots in the           District of

 6 Columbia, downstairs you drink, you party, you snort,

 7 you smoke, you do whatever, and upstairs you gamble.

 8 So, a lot of times, as       I'm coming in the after hours

 9 joint,   I have to come past       that part of it to get

10 upstairs to get to the crap table or whatever, and               I

11 know Gwen Levi from years ago.        She's given me

12 marijuana.    She gave me my first pound of marijuana,

13 actually, and --      I mean,   I know her to be a hustler.             I

14 know Gwen to be a hustler.

15 Q.       Other than the -- well, first of all, when was

16 it she gave you the pound of marijuana, approximately?

17          I don't need an exact date.

18 A.       I don't know the exact date.       However --

19 Q.       How old would you have been, approximately?

20 A.       By this time in my 20s.

21 Q.       Okay.   Other than that, has she ever distributed

22 any kind of drug, marijuana, coke, heroin,             PCP,

23 whatever to you?

24 A.       The majority of the dope that          I would buy off of

25 Seventh Street or Ninth Street was from a few of her




                                                                 Page 210
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 211 of 282



 1 workers, and they would say your, "Aunt" got it or

 2 whatever because, like        I said, she often referred to me

 3 as her goddaughter or her aunt, and               I've actually

 4 gotten heroin from        Ms. Levi before.         I bought a few

 5 grams from her before.       And this was in the later

 6 years.     But when     I was snorting, like, from

 7 thirty-something or whatever,          I knew that      Gwen was

 8 selling.     If   I was to come through a after hour joint

 9 or whatever, if        I didn't want her to know my personal

10 business -- that        I was snorting --        I would get it from

11 one of her workers during that time.

12            As I got older,     I had no problem approaching her

13 about heroin, because it was evident if it was -- she

14 may have never seen me snort it, but by me being a

15 person in the street and moving around hustling and

16 selling my products and stuff, by that time she knew                   I

17 was snorting cocaine and heroin.             I had no reason to

18 hide it.     Once my mother found out            I was using drugs,

19 it didn't matter.         I mean, if   I was hustling to pay for

20 it, it didn't matter if you knew.          So,       Gwen -- at this

21 time I could approach her:        Look,      I'm trying to get a

22 gram of dope;        I'm trying to get two grams of dope.

23 Q.         And you never sold any drugs with her, did you?

24 A.         Never .    First of all,    I'm a user.      Ms. Levi's

25 theory is that if        I wasn't using,     I would be a good




                                                                 Page 211
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 212 of 282



1 hustler.     She didn't give me any drugs.       The government

2 has her statement.

3 Q.         And William "Dog" Turner.     There's apparently a

4 time between      Mr. Turner and     Ms. Levi?

5 A.         I met Mr. Turner in maybe 2002 or maybe 2001.

6 Q.         What circumstances?

7 A.         Actually,   I met them at what we call Daddy Grace

8 Church in the      District of     Columbia -- Paradise Kitchen,

9 where you go and buy soul food dinners or whatever.

10 They were sitting in there one day when            I happened to

11 come in there and buy something, which is off of Sixth

12 and N somewhere.       I've heard through the street that

13 Gwen Levi and "Dog" were an item or going together, and

14 it was confirmed that day when         I was introduced to him

15 that the place.

16 Q.        Do you have any knowledge -- any personal

17 knowledge other than what you've heard in this

18 courtroom as to whether or not         Mr. "Dog" Turner and

19 Gwen Levi had a business?       That is a drug business

20 relationship?

21 A.        I would say that      I would believe it.      I've never

22 seen Mr. Turner with any drugs.       However,        I know    Ms.

23 Levi's history.       Mr. Turner has a history in the

24 District of     Columbia of being a gambler and a dope

25 dealer.   So, yes.    I know for a fact he gave me some




                                                                  Page 212
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 213 of 282



 1 tips on gambling.     So,      I wouldn't be surprised.       The

 2 information    I heard here,      I would believe it.

 3 Q.        Were they good tips?

 4 A.        Yeah, he did.     He showed me the proper way to

 5 bet the numbers and stuff.

 6           MS. GREENBERG:       Your Honor, objection.

 7           MR. WARD:      I'll withdraw that,      Your Honor.       I

 8 was being facetious.

 9           BY MR. WARD:

10 Q.        We'll skip over      Paulette    Martin for a minute and

11 go to Mr. Leerily Goodwin, also known as "Goodie."

12           Before this case, did you know          Mr. Goodwin?

13 A.        I wouldn't say      I knew    Mr. Goodwin.    I came in

14 contact with     Mr. Goodwin.

15 Q.        Tell us where and under what circumstances,

16 please.

17 A.        I came home from prison in '98,          I believe, and

18 my mother, at that time, had a grey            Mercedes Benz, a

19 older model, and it was a guy by the name of Johnny who

20 was a mechanic that used to work at Capitol             Cadillac,

21 who also was a dope fiend, a            IV drug user, so he

22 bounced from shop to shop.             I was going to pick up

23 mother's car is how         I came back in contact with the

24 guy, Johnny.    At that time       I believe it -- no, it

25 wasn't actually that time that I met            Mr. Goodwin.        I




                                                                 Page 213
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 214 of 282



1 started at that time and asked Johnny would he work on

2 my car if I needed some repairs done on it, and he said

3 yeah.    At a later date      I carried my own vehicle over

4 there to get service.

5 Q.        When you say "over there" --

6 A.        It was called    B & B.    Lobo's,    I learned now, is

7 the name of it.

8           When I went to this shop that you all are

9 hearing about, it was called         B & B Auto.      I believe it

10 was in the 1100 block of       Florida Avenue.

11 Q.       Did you go there to cop from Johnny or from              B &

12 B or anybody at     B & B?

13 A.       At that point in my life       I was clean and sober.

14 I had been released from       Goochland    Penitentiary for

15 Women, and   I was not using at that point in my life

16 when I went over there.        I didn't know     Mr. Goodwin.     I

17 went over there to get my car fixed.       It was B &         B

18 Auto.   I went and brought the parts for the car and

19 carried them to him and he fixed         I. Johnny had been

20 knowing me since basically teenage years, because he

21 worked on Mount Pleasant Street where my mother and us

22 lived at prior to this.

23 Q.       Let's move down to somebody --         I guess it was

24 Agent Eveler has designated as "Distributors" and

25 "Facilitators."




                                                               Page 214
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 215 of 282



 1          LaNora Ali, w ho is in the courtroom today, whose

 2 photograph you see there?

 3 A.       Can I say something?

 4 Q.       Yeah.

 5 A.       I didn't know if you wanted me to explain this.

 6 Actually, like     I said, the way      I met Mr. Goodwin at --

 7 through the auto supply place.             I didn't meet    Ms.

 8 Martin until 2003.

 9 Q.       Yeah.

10 A.       How I met -- found out the connection there was

11 totally surprising, and it was -- it wasn't by

12 accident, but neither one of them,            I don't think, knew

13 that they knew me either.

14 Q.       All right.       Well, we'll come back to         Ms. Martin,

15 but let's go to LaNora Ali first.

16          How long have you known LaNora Ali?

17 A.       I met Ms. Martin, like        I said, in    August of '03.

18 So, sometime after meeting         Ms. Martin    I met Ms. Ali.

19 Q.       What were the circumstances under which you met

20 her?

21 A.       Ms. Ali is someone       I consider very sharp.       She

22 likes fashion.     Like      I told you.   The truth is,       I'm a

23 thief.    I steal jewelry and fur coats and nice items.

24 Ms. Ali -- if you've seen her one time, you would know,

25 if you were me, that this is a potential customer.                   I




                                                                 Page 215
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 216 of 282



1 met her.      Anytime    I had some jewelry,     I always thought

2 of Ms. Ali.        Ms. Martin, for example, can you get rid

3 of this for me, or whatever.          Ms. Ali has purchased

4 some jewelry from me before.

5 Q.         Other than that, have you ever had any dealings

6 with Ms. Ali?

7 A.         Other than her purchasing some jewelry from me,

8 and I think one other time we were all in the basement

9 at 810     Hayward -- Ms.     Ali, her husband, me, my husband

10 -- and I went upstairs and ordered some food with the

11 lady whose house it was from the Chinese place.         We

12 were down there at that time drinking, and            I believe at

13 that time that's when        I tried some hydro-marijuana.              I

14 hadn't smoked weed since        I was more or less like a

15 young 'un.     It wasn't -- heroin became my drug of

16 choice.    That night      I smoked a joint of weed, or hit

17 the joint of weed that somebody else had, and more than

18 likely    I made a exit to go to the gambling joint.                I

19 like to gamble.

20 Q.        Okay.   Let me ask you specifically:     Have you

21 ever had any drug-related contacts with LaNora Ali               at

22 any time?

23 A.        I've never seen that woman with any drugs.         That

24 woman hasn't seen me do any drugs.       If she has any

25 knowledge about me snorting something, it was here




                                                                Page 216
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 217 of 282



 1 today by my own admission or         Ms. Martin or someone

 2 telling her that      I did use.    That's the only knowledge

 3 I have about her using is through hearsay.         We have

 4 never done it together.         I've never seen her with

 5 anything.

 6 Q.       Derrick    Bynum, also known as "Bolo," who, of

 7 course, is in court today.

 8          Did you know     Mr. Bynum before this case?

 9 A.       I wouldn't say      I knew him.     I knew he was

10 Adday's father, which is        Ms. Martin's granddaughter.

11 Q.       That's the child's mother is?

12 A.       Kim.

13 Q.       Oh, okay.

14          Any other contacts or business dealings or drug

15 dealings or any kind of dealings you have had with               Mr.

16 Bynum?

17 A.       He's my sitting-at-the-defense-table-candy-

18 eating-partner today.        I don't know him prior to that.

19 Maybe at one time or another may have seen me in

20 passing because      I was -- it could have even been at the

21 Hyatt Regency at the last fashion show that             I actually

22 put a face with Adday's father.       If anything, hi, how

23 you doing or whatever.      No other contact or anything.

24 Q.       Eugene Bird.     We've heard a lot about         Mr. Bird,

25 although we have not seen him.




                                                                Page 217
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 218 of 282



 1            Did you know     Mr. Bird before this case?

 2 A.         I became aware of     Mr. Bird.    I used -- my

 3 husband,    I told you all, had did 12 years in prison.

 4 Mr. Ward questioned the gentleman about the             Viagra

 5 about knowing --

 6 Q.         Mr. Echarte?

 7 A.         Echarte.     Mr. Ward questioned him about knowing

 8 me, and    Mr. Ward asked him about a Rudy Lawson or

 9 whatever.    Rudy Lawson is a gentleman that           I dated

10 while my husband was incarcerated for 12 years.          Eugene

11 Bird had a club called Le Nice which is across the

12 street from the bus barn in the          District of    Columbia on

13 Fourteenth Street, Northwest, and Rudy initially had a

14 gambling joint in the back part of Le Nice, which is

15 now the mattress place.

16            Well, when     I left society -- it's been since

17 2004, but it was a gambling spot, and            Mr. Eugene Bird

18 had the front part of it, which was a legitimate bar

19 and stuff, and the back part -- you come out the bar

20 and go into the other half which was a gambling

21 establishment.        I knew that he was leasing the place or

22 renting it from       Mr. Bird who at some point after that

23 Rudy had taken over the spot because           Mr. Bird was

24 getting ready to go into custody.        Nobody told me Rudy,

25 the guy that     I'm messing with at the time,         Mr. Bird was




                                                                Page 218
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 219 of 282



 1 going in for some type of drug charge.             I've even asked

 2 for Mr. Bird to be subpoenaed as a witness             in this

 3 case.

 4 Q.         Other than what you've related to the ladies and

 5 gentlemen of the jury, have you ever had any contact

 6 with him at all?

 7 A.         No contact with him.

 8 Q.         Specifically, any dealings -- specifically, any

 9 drug dealings?

10 A.         No drug dealings.    Prior to this arrest,          Mr.

11 Bird met me at 810        Hayward street upstairs in Jaqueline

12 Terrell -- I thought her last name was Burgess, but

13 through this case       I've found out it was      Arnold --

14 Teresa     Arnold who is the daughter of       Ms. Martin's.

15 They were interested -- it was told to me they were

16 interested     in looking at a ring or something for

17 Teresa .

18            MS. GREENBERG:      Your Honor,   I'm going to have a

19 continuing objection to this hearsay answer about what

20 other people told her.

21            THE COURT:   See if you can confine it to a

22 non-hearsay response.

23            BY MR. WARD:

24 Q.         You understand the objection.     Try not to tell

25 us what other people have told you.




                                                                Page 219
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 220 of 282



 1 A.        Well, I actually went to 810           Hayward and met

 2 with Gene Bird and       Teresa       Arnold at a dining room table

 3 upstairs at 810       Hayward Street and       I displayed numerous

 4 of range rings and new stones and unmounted diamonds

 5 for them.    At that time,        Mr. Bird and      Ms.- --

 6           MS. GREENBERG:       Objection.

 7           MR. WARD:      I'm sorry.      Did I hear an objection?

 8           MS. GREENBERG:       Yes.    Objection.

 9           THE COURT:     To what?

10           MS. GREENBERG:        To what    Mr. Bird or   Ms. Arnold

11 told her.

12           THE COURT:     She didn't say anything.             Mr. Bird

13 may have stood up or said something.           Don't tell me

14 that Mr. Bird said something.

15           MR. WARD:     She didn't.

16           THE COURT:     She did.

17           MR. WARD:    Maybe     I misheard     I apologize.

18           THE WITNESS:      I met them at 810        Hayward.    They

19 looked at the jewelry.           I displayed what goods I had

20 at that time.       Neither one of them selected.             Ms.

21 Arnold    decided    Mr. Bird couldn't afford any of those

22 pieces.    They were some extremely expensive pieces at

23 that time -- the unmounted diamonds were, and a caret

24 -- I think the cheapest one may have been $2,500 and

25 they went on up due to the clarity of the diamonds.




                                                                   Page 220
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 221 of 282



 1 Q.         Ruby Harden, who is in the courtroom today and

 2 appears on this chart here.         Prior to this case, did

 3 you know    Ruby Harden?

 4 A.         Never seen the woman.      She came into the case

 5 after we were already arrested on 6/1.          I'm laying in

 6 the bed.     Like     I said,    I came in with a drug habit.

 7 When she came in        Montgomery County Detention Center and

 8 some other inmates that were there woke me up and said,

 9 she on you all case.            I don't know that woman.

10            MS. GREENBERG:       Objection.

11            BY MR. WARD:

12 Q.         Hold on.     You were saying some other people told

13 me, and you can't say that.

14 A.         Okay.

15 Q.         Anyway, some other people said something to you

16 and it was then you saw           Ruby Harden; is that right?

17 A.         Yes.

18 Q.         Was that the first time you had ever seen her?

19 A.         First time     I had ever seen her in my life.

20 Q.         All right.     Let's go to     George   Harris, another

21 "distributor/facilitator."         Ever heard of him before

22 this case?

23 A.         No.

24 Q.         Have you ever met him at all?

25 A.         Never seen him at all.       Not even in passing.




                                                                  Page 221
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 222 of 282



1 Q.         How about   Larry Lane?

2 A.         Larry Lane I've seen before.

3 Q.         Where and under what circumstances?

4 A.         Larry Lane selected a ring in the basement of

5 810 Hayward.       I allowed him to take the ring.      He

6 wanted to show it to his girlfriend or whatever, and at

7 that time    I said, well, you can either give the money

8 -- actually, he said he wanted the ring.

9 Q.         Whether or not he -- whoa, whoa.      You're not

10 supposed to tell us what he told you.

11 A.        Well, he purchased a ring or led me to believe

12 he was going to purchase a ring.       I gave him a ring

13 that --

14 Q.        A sort of layaway?

15 A.        No.   It's like,   I give you this and you go see

16 if it fit or whatever, and the money was supposed to be

17 given back to     Ms. Martin or whatever.     We didn't have

18 plans to get back together.         I thought it was a done

19 deal.

20 Q.        Other than that circumstance, did you ever know

21 Larry Lane?

22 A.        I had no dealings with him.     Didn't know him or

23 anything like that.

24 Q.        Specifically, did you ever have any drug

25 dealings with him?




                                                                Page 222
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 223 of 282



 1 A.        No, not at all.

 2 Q.        All right.      Now,   John Martin.   What about      John

 3 Martin?     I mean, there are telephone calls where you

 4 and John Martin are talking, and one            I can think of

 5 specifically that we heard was about a whoop-dee or

 6 something like that?

 7 A.        A hoopdie?

 8 Q.        A what?

 9 A.        A hoopdie.

10 Q.        I'm sorry.      I got it wrong.

11           What's    a hoopdie?

12 A.        A hoopdie is a inexpensive car, and the

13 terminology came from even a generation younger than me

14 where you buy a old car and it's used to get around or

15 one that you don't mess up your own car or whatever.

16 Q.        All right.       I want to come back to     Mr. Nunn,

17 because   I want to ask you about -- in more detail about

18 that conversation.

19 A.        You mean    Mr. Martin.

20 Q.        I'm sorry.       Mr. Martin, yes.

21           Milburn Walker, also known as "        Bruce?"

22 A.        No.   You skipped one.

23 Q.        Oh, did    I?    I'm sorry.

24           Larry Nunn.     Yes,    I did skip one.   Thank you.

25           What about      Larry Nunn?   Did you ever know him




                                                                Page 223
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 224 of 282



 1 before this case?

 2 A.         No, not at all.

 3 Q.         All right.    Now let's go to     Milburn    Walker, also

 4 known as " Bruce."       Did you know him before this case?

 5 A.         No.

 6 Q.         Finally,   Mr. Reece   Whiting, who is in the

 7 courtroom here today.      Did you know him before this

 8 case?

 9 A.         I met him during this case.

10 Q.         Could you tell the ladies and gentlemen of the

11 jury when and under what circumstances please?

12 A.         I basically became familiar with him more so

13 during our arrest, but to my knowledge             I think   I met

14 Mr. Reece one time at 810         Hayward where     Paula

15 introduced me to me as her brother or something in

16 passing.     If I'm not mistaken, my husband was with me

17 at the time, because         I had a pink card -- the

18 government probably will produce it at some point.           It

19 was a pink card that said "        Turk House" or something on

20 the back of it.       It may have said Reece or something.

21 He told my husband he was a drug counselor.          Prior to

22 me and my husband -- when         I went into     detox in April of

23 '04, my husband also went into          detox .    I went in under

24 Genevieve    Monroe; he went in under Goldie           Dobie.

25            Prior to that     I contacted -- tried to contact




                                                                   Page 224
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 225 of 282



 1 Mr. Whiting, because my husband needed to satisfy the

 2 parole and probation office and go into treatment, and

 3 I was seeing if he could help him get into treatment.

 4 I never got in touch with him.

 5 Q.       I think that except for        Ms. Martin that we're

 6 going to come back to who is on the chart, but let me

 7 go back to    Ms. Levi a minute and her daughter whose

 8 name was Bonita,       I think you said?

 9 A.       Bonita.

10 Q.       What was your relationship with the daughter --

11          MS. GREENBERG:     Objection.

12          Asked and answered.

13          THE COURT:     Overruled.

14          BY MR. WARD:

15 Q.       -- with Bonita?     You may answer.

16 A.       At one point we were close.       We even went to         New

17 York together and shopped with Mr. Melon.           I've been a

18 bad girl.    Him and     Bonita,    I found out, were smoking

19 crack cocaine in New York       .    I wanted to go shopping and

20 we had a verbal disagreement.           I took   Mr. Melon's car.

21 He later called my mother.

22 Q.       Excuse me.     Who is this     Mr. Melon?

23 A.       This is the man who owned the group homes in the

24 District of Columbia.      I left him to smoking and took

25 his car and came back to the          District of     Columbia.    I'm




                                                                Page 225
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 226 of 282



 1 not -- it's not funny, but          I was upset at that point,

 2 you know.     I walked in or whatever.           I don't smoke, so

 3 -- I mean, when      I got back, of course, my mother and

 4 everybody was mad because          Mr. Melon was the boss of,

 5 you know, the group homes and everything that we were

 6 all working for at that time.

 7 Q.       Was that the --

 8          MS. GREENBERG:     Counsel, can we have a time

 9 frame again on this?

10          BY MR. WARD:

11 Q.       I'm not sure it was stated.

12          Do you want to give us a time frame when you

13 were talking about?

14 A.       We went to    New York --     Bonita,    Levi and   I?   That

15 was during the time -- it had to be between '85-86,

16 because the group homes closed down shortly after that.

17 DHS was funding the group homes, so it can be confirmed

18 and verified.

19          MS. GREENBERG:       Your Honor,    I don't see the

20 relevance.

21          THE WITNESS:     That's     Ms. Levi's daughter.

22          MR. WARD:     The relevance was,        I was asking the

23 witness to explain her relationship with the daughter,

24 and that blossomed into the trip to           New York, the

25 shopping trip.




                                                                Page 226
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 227 of 282



 1           MS. GREENBERG:     We're talking about events in

 2 '85-86.

 3           THE COURT:    Let's move on.

 4           BY MR. WARD:

 5 Q.        I'll move on.

 6           Did Bonita Dorsey have any --

 7 A.        Levi.

 8 Q.        -- Levi have anything to do with your boosting

 9 business?

10 A.        Yes.    She also had -- she's a convicted

11 shoplifter, also.        Bonita   Levi, she has some criminal

12 cases, but it more or less me and           Bonita.

13           MS. GREENBERG:      Your Honor, objection again.

14           May we approach?

15                      (At the bar of the Court.)

16           MS. GREENBERG:      Your Honor,    I certainly

17 understand       Mr. Ward going through her relationship with

18 the conspirators on the chart, but now we're going back

19 to the boosting business that she had with one

20 codefendant's daughter back in 1985-86 in more and more

21 detail.     I don't see how that is at all relevant to the

22 charges in this case.

23           MR. WARD:     I will be glad to explain.     My

24 understanding is -- this is the next question               I was

25 going to ask --       I believe that     Bonita --




                                                                Page 227
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 228 of 282



 1           MS. GREENBERG:      Your Honor, perhaps the witness

 2 --

 3           MR. WARD:    She can't hear.

 4           MS. GREENBERG:     Go back to the witness stand.

 5           MR. WARD:    No.    I need her there.

 6           There were numerous identification documents

 7 found during the raid at my client's house, which the

 8 government made a big point of displaying to the jury

 9 all the different licenses with the pictures on them.

10 I think one of those pictures -- she was on some of

11 those documents.

12           MS. GREENBERG:     He can show the documents to

13 her.   It has nothing do with this chart or what

14 happened.

15           THE COURT:     I think you're getting to the outer

16 limits.

17           Let me ask you this.     How much more examination

18 do you have of this witness?

19           MR. WARD:    I've got to go into her prior record.

20           THE COURT:     I was going to suggest, since we're

21 going to go until 4     :30, why don't we take a recess now

22 until 3 :20 and go the rest of the day and finish it?

23           MR. WARD:    Can   I ask, with Bonnie present, if

24 the woman's picture was on those?        If it was,        I won't

25 go any further.




                                                                Page 228
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 229 of 282



 1            THE COURT:   All right.

 2            MR. WARD:    If it's not -- can I do that, even

 3 though she's on the stand?

 4            THE COURT:    Ask her whether the pictures on the

 5 chart --

 6            MR. WARD:    No, no, no, whether          Bonita's picture

 7 was on any of those documents found in her house.

 8            THE COURT:    You can ask her that.

 9            MR. WARD:    I won't go any further.        If she says

10 no, that's it.

11            THE COURT:    All right.

12                         (Back in open court.)

13            THE COURT:     You may proceed.

14            MR. WARD:    Oh,    I'm sorry.     I thought you were

15 going to break.

16            THE COURT:    No.   You can ask your one question,

17 and then we will break.

18            BY MR. WARD:

19 Q.         You were shown -- the jury was shown numerous

20 identification documents that were seized at your house

21 on Ninth Street on the -- during the raid on June 1.

22 Do you recall that?

23 A.         I do.

24 Q.         The faces shown on some of those identification

25 documents.     Was any one of them          Bonita   Levi?




                                                                  Page 229
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 230 of 282



 1 A.       No.   One of them was Cheryl        Levi.

 2 Q.       Oh, okay.     I'm sorry, who is Cheryl        Levi?

 3          MS. GREENBERG:     Objection.

 4          THE COURT:     Overruled.

 5          BY MR. WARD:

 6 Q.       Who is Cheryl L evi?

 7 A.       Cheryl   Levi is the mother of one of         Gwen Levi's

 8 son's,   Mitch I believe his name is.        He's deceased.

 9 She has a son named       Juwan or Jaquon [ph.] or something

10 by Gwen Levi.

11 Q.       It would be a daughter-in-law?

12 A.       Right.    They were actually married.

13 Q.       Thank you.

14          Your Honor, that's as far as         I intend to go on

15 that particular issue.

16          THE COURT:     Ladies and gentlemen, we will take a

17 recess until precisely 3       :20, and then we will make a

18 sprint until 4 :15.

19                        (Jury excused at 3:07 p.m.)

20                        (Off the record at 3      :07 p.m.)

21                        (On the record at 3      :23 p.m.)

22          THE COURT:      Counsel, while we're waiting for the

23 jury to come in,      I wanted to tell you a couple of

24 scheduling matters.        I have a guilty plea on my

25 schedule on    Tuesday at 9 o'clock.         I am going to move




                                                                Page 230
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 231 of 282



 1 that, and    I would like to start us on         Tuesday at 9:00.

 2          Is there any issue with that for any party?

 3          MR. HALL:     Fine,    Your Honor.

 4          THE COURT:     Depending on how we go that day,

 5 Wednesday of next week         I have nothing scheduled in the

 6 morning so    I can start at 8 :30 or 9:00 to see if we can

 7 get this testimony in in time.

 8          I have nothing on       Thursday early, so       I could

 9 start at 9:00.

10          THE COURT:     Oh, that's your day.

11          MR. MONTEMARANO:       That's my day.

12          MR. WARD:     Tuesday starting at 9:00?

13          MR. MONTEMARANO:        I would suggest 9      :30, your

14 Honor, just to be sure.

15          THE COURT:      I'd like to tell the jury when they

16 come back in what the deal is         .   I'm going tell them on

17 Tuesday-Wednesday we will be doing 9:00; on               Thursday we

18 will be doing 9:30.

19          MS. JOHNSTON:     To 5:00,       Your Honor?

20          THE COURT:    Yes .     And on    Friday we'll start at

21 9:00.   Maybe, if depending on how much progress we're

22 making, we'll try to do a quick schedule so we end at

23 2:30 or 3:00.

24          MR. MCKNETT:      Your Honor,      Ms. Bineko is here.

25 She is the witness that         I had come down.        Mr. Ward




                                                                 Page 231
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 232 of 282



 1 tells me he's going to be another half an hour.

 2           THE COURT:     Do you want to take her out of turn?

 3           MR. MCKNETT:     Can I get her now?

 4           THE COURT:     Do you want to take her out of turn

 5 or let her go?

 6           MR. MCKNETT:     I would prefer to get her go.

 7           THE COURT:     Something tells me we're not going

 8 to make it to her today.

 9           Also, counsel, are you able to be here at 1               :30

10 instead of 2:00?

11           MS. JOHNSTON:    Yes.      I had grand jury which          I've

12 cancelled.

13           THE COURT:     Any problem for anybody?

14           MR. MONTEMARANO:        I am going to be interviewed

15 for an administrator about an audit interview.          They

16 set this up at 1:00.      If you want to go that way,            I

17 mean, you know.

18           THE COURT:     That's fine.    Let's get everybody

19 here at 1 :30, and if we have to wait for you for a few

20 minutes, we'll wait for you.

21           MR. MONTEMARANO:     I will be down in the clerk's

22 office.

23           THE COURT:     I have an 11   :30 hearing which       I

24 don't think will go one and a half hours.

25           MR. MONTEMARANO:     I'm hoping this audit




                                                                  Page 232
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 233 of 282



 1 interview won't go very long.

 2            MR. MARTIN:     I have an 11:00, as      Your Honor may

 3 recall, down in      D. C.    I should be finished with that

 4 by 12:00.    It shouldn't take me an hour and a half to

 5 get from here.

 6            THE COURT:    Take the Green line.

 7            MS. JOHNSTON:     We will be in our office.

 8            MR. MONTEMARANO:     When     I'm done, I'll go by.

 9            THE COURT:     I'm going to try to start earlier

10 than 2:00.

11                          (Witness resumes the stand.)

12                          (Jury returns at 3    :24 p.m.)

13            THE COURT:    Ladies and gentlemen, while you're

14 getting seated,      I wanted to give you some scheduling

15 information for next week.             I had a matter scheduled on

16 Tuesday,    the first, at 9:00.          I have just decided to

17 move that, so we're going to start on            Tuesday at 9:00.

18 On Wednesday     I'm also going to start at 9:00.

19            On Thursday there is one of the counsel who has

20 a matter that will preclude the person from being here

21 until 9 :30, so we will start at 9          :30 and I will

22 probably plan on starting at 9:00 or even earlier on

23 Friday.    I'm hopeful that we will get all the testimony

24 in next week.    We'll see, but these things are not an

25 exact science, as we know.




                                                                Page 233
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 234 of 282



 1          MS. GREENBERG:     Could you inform the jury how

 2 long we're sitting each day?

 3          THE COURT:     You can assume 5 o'clock.      It won't

 4 be later than 5:00 each day.          I know some of you had

 5 child care issues.     If any of you all can go later than

 6 5:00 on a given day, we might do that.             I would very

 7 much like to get this case finished on time and not

 8 have to have you come back after a two-week break.           So,

 9 I'm going to work with the counsel and the parties, who

10 are all working very well with me, to try to get this

11 done.   So   I will see you at 9 o'clock on          Tuesday after

12 we finish today.

13          Mr. Ward, you may continue.

14          BY MR. WARD:

15 Q.       Thank you, sir.

16          Ms. Dobie,    I said   I was going to ask you, when

17 you stepped back to the witness box, about the

18 conversation with      John Martin and the       hoopdie .

19 A.       Yes, I recall.

20 Q.       You have to say "yes," you have to keep your

21 voice up, and you have to look at the jury.         Okay?

22          You heard,    I believe, the opinion of Sergeant

23 Sakala that, as      I understood it, your car had been

24 seized in a drug bust or something like that?

25 A.       I do.




                                                                Page 234
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 235 of 282



 1 Q.        All right.    First of all, tell us how the

 2 conversation came about, if you would.

 3           MS. GREENBERG:     Objection to hearsay,        Your

 4 Honor.

 5           THE COURT:     Overruled.

 6           THE WITNESS:     Initially, before talking to              John

 7 Martin,   I was on the line with        Paulette   Martin.

 8 Paulette was complaining about          John Martin needing to

 9 get his self a car, because he would often use her car

10 to go to work or she would have to go pick him up,

11 things of that nature.      Basically, she was complaining

12 to me that    John needs to get his self a car.

13           I said,   John should do like      I did.    I went the

14 auction and brought a few hoopdies.            I won some money

15 in a crap game, and       I went to the dealer's auction with

16 a friend and purchased three Cadillacs and a

17 convertible Sebring all in one day for less than

18 $8-9,000.    I was telling      John that they had nice

19 hoopdies at the auction.         I think one of them was a '94

20 prosecution-seized.      That was part of those documents,

21 the bill of sale.      Maybe it was one of them was a '94

22 or a '96 sedan DeVille Cadillac, and           I purchased it for

23 like $2,900-3,900 which was basically a nice car for

24 that type of money in 2004, and that's what             I was

25 suggesting to him when       I made the reference that           I




                                                                Page 235
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 236 of 282



 1 often, you know, for that reason keep a             hoopdie   was

 2 because   I was arrested.

 3           When I was stating the dates --           I can't actually

 4 remember the dates per se, but          I said, when I was

 5 arrested at National Airport, which is now              Ronald

 6 Reagan airport, and it was relating to a credit card

 7 fraud charge, a      pickpocketting     that happened in the

 8 airport, my car was seized.           Unbeknowing    to me how a

 9 car pickpockets somebody, but they seized the car, and

10 that was just one of the tactics          I felt the government

11 did to go -- you know, as they do.        They have numerous

12 of tactics --

13           MS. GREENBERG:     Objection,     Your Honor.

14           THE WITNESS:     -- for when you come into custody.

15           MS. GREENBERG:     Objection.

16           THE COURT:   Please refrain from descriptions

17 like that, if you would,        Ms. Dobie, and just give the

18 facts.

19           BY MR. WARD:

20 Q.        Is it fair to say your car had not been seized

21 in relation to drug activity?

22 A.        It was seized because it had a computer in the

23 trunk of it that was purchased with a stolen credit

24 card, I believe, to somebody named O'Brien, and when

25 they searched the car, under the mat of the driver's




                                                                 Page 236
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 237 of 282



 1 steering wheel there was numerous of credit cards that

 2 had been stolen or pickpocketed from people.          The case

 3 basically came from a pickpocketting incident in Foggy

 4 Bottom, and they seized the car because it had the

 5 stolen credit cards in it and it had the stolen

 6 computer that     I purchased from Staples fraudulently

 7 using somebody's credit card.         It had nothing to do

 8 with the drugs.     No drugs were in the car.           I had no

 9 drugs.

10 Q.        All right.     I said   I wanted to come back to         Ms.

11 Martin -- Paulette       Martin, and     I think you told us that

12 you first met her --       I don't recall exactly what the

13 date was or under what circumstances, but if you would

14 tell the jury that please.        Look at the jury and speak

15 up.

16 A.        Can I clarify something else, please --

17           MS. GREENBERG:      Your Honor?

18           THE WITNESS:     -- about     Mr. Martin?

19           MS. GREENBERG:      I don't think there's a pending

20 question.

21           THE COURT:     Ask her a question,      Mr. Ward.

22           MR. WARD:    Would you clarify something else

23 about Mr. Martin, please?

24           MS. GREENBERG:      Your Honor, we've gone from the

25 hoopdie   car back to an incident with a stolen computer,




                                                                 Page 237
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 238 of 282



 1 and I would prefer if        Mr. Ward would ask questions.

 2            MR. WARD:      Your Honor, for    Ms. Greenberg's

 3 benefit, the question was obviously facetious.                 I will

 4 withdraw it.      I apologize.

 5            THE COURT:      All right.

 6            BY MR. WARD:

 7 Q.         Had you completed your answer to the question              I

 8 asked you about        Mr. Martin?

 9            MS. GREENBERG:     Objection.

10            THE COURT:     There's an answer to that:    Yes or

11 no.

12            BY MR. WARD:

13 Q.         You can answer yes or no.

14 A.         No, I haven't.      I want to be completely honest.

15 I don't want to be impeached, so            I'm being honest with

16 you all.

17            I had a conversation, and        I don't know if it was

18 that same conversation.

19            MS. GREENBERG:      Your Honor, objection.

20            THE COURT:     Well, let me hear what she's --

21            MR. WARD:    Well if they promise not to impeach

22 her, Your Honor, we will cut it off at this point.

23            THE COURT:     Continue with your answer.         I will

24 cut you off if you go too far.

25            BY MR. WARD:




                                                                Page 238
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 239 of 282



 1 Q.       Go ahead.    You may continue.

 2 A.       I believe initially the question was about any

 3 dealings with     Mr. Martin or any conversations.        The

 4 hoopdie was relating to the conversation with              Paulette,

 5 and I don't know the time, if it was the same day or

 6 another day.      Mr. Martin -- when      I met Mr. Martin or

 7 whatever, one user recognizes another user, so the

 8 government will probably have a conversation about me

 9 asking --

10          MS. GREENBERG:     Objection.

11          THE COURT:     Do not characterize the government.

12 Just give factual testimony, all right?

13          THE WITNESS:      I apologize.      I had a conversation

14 with Mr. Martin:      Do you know anybody that         I can do

15 what Howard used to do?       "   Howard" is someone that sells

16 heroin or cocaine on Ninth street and in after-hour

17 joints, and     I probably was looking, because         I was ill

18 or whatever, and he stated he didn't, and that was

19 that.    I just wanted to clear that up.

20          BY MR. WARD:

21 Q.       All right.     Well, let's go to       Ms. Martin now.

22 Tell us the circumstances under which you met her and

23 how your relationship developed and from that point.

24 A.       I met Ms. Martin in       August of '03.      I pause,

25 because if     I've never met her, I wouldn't be here




                                                                Page 239
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 240 of 282



 1 today.

 2 Q.       There will be an objection, okay?

 3 A.       Okay.

 4 Q.       Let's not editorialize.      Just tell what

 5 happened.

 6 A.       In August of '03      I met Ms. Martin through what            I

 7 would consider an extended family member or brother or

 8 something like that.      His name is       Anthony Hall.      I met

 9 Ms. Martin through my stepfather -- I met             Mr. Hall

10 through my stepfather back before           I had my first child,

11 so it had to be anywhere between '80-82.              I had a pair

12 of platinum and diamond hoop earrings that had a retail

13 value of $12,000-something.          I was finding --       I had

14 difficulty locally selling these earrings.          They

15 weren't that pretty looking at them, but they were

16 expensive.       Mr. Hall stated that his girlfriend may be

17 interested in looking at the earrings.         Maybe a week or

18 two after that,      Mr. Hall called me and he said          Becky --

19          MS. GREENBERG:       I object to the continued

20 hearsay with regard to conversations with             Mr. Hall.

21          THE COURT:     Please don't describe what other

22 people told you.     Just describe what you say or what

23 people did.

24          MR. WARD:     Your Honor, if      I may.    I'm not

25 offering this for the truth of content; simply to put




                                                                Page 240
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 241 of 282



 1 in context what happened and explain why she did

 2 certain things.

 3           THE COURT:     Well, all right.     Proceed.

 4           THE WITNESS:     At a later date and time,         Mr. Hall

 5 called and said he was going to stop by and he was

 6 going to bring --       I think he called her "      Paula," as

 7 opposed to    Paulette.    He was going to bring         Paula by to

 8 look at the earrings; they indeed showed up at my home

 9 one evening, and       I think they were showing up from

10 Critchfield 's, because they brought me something from

11 Critch field's.

12           He looked at the earrings.       They had a

13 conversation sitting in my family area -- the picture

14 where you seen where the brown leather furniture --

15 while I was in the kitchen area.          He said that he was

16 going to take the earrings.          I said    I wanted --   I

17 believe it was $3,000 or even $3,500.         I wanted $3,000

18 or even $3,500 for them.         I believe that night indeed

19 that he gave me,       I want to say, at least half.         I don't

20 remember exactly how much, but it was definitely over

21 $1,000.

22           MS. GREENBERG:     Objection.

23           Relevance.

24           THE COURT:     What's the relevance of this,           Mr.

25 Ward?




                                                                Page 241
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 242 of 282



1          MR. WARD:     Well, it was running on a little bit,

2 Your Honor.

3          THE COURT:      I think she's gone on a little bit.

4          BY MR. WARD:

5 Q.       Let me put the next question to you.

6          Was that when you met       Ms. Martin, and the

7 circumstances under which you met           Ms. Martin?

8 A.       That was the first meeting.       That was what that

9 was in reference to.

10 Q.      Tell us, please, as succinctly as you can, how

11 your relationship with      Ms. Martin developed.

12 A.      After having her in my home, it was like two

13 people that meet and it's like you been knowing

14 somebody all of your life.      We bonded.        Mr. Hall, I

15 considered, was dogging       Ms. Martin.    After    Ms.- --   I

16 mean, I got in it as far as if you don't want to leave

17 her alone or whatever and       I stated what     I had stated to

18 Mr. Hall to   Ms. Martin, me and -- actually, me and            Ms.

19 Martin became friends, and me and          Mr. Hall fell out

20 because he felt as though       I took sides and got into his

21 personal relationship.

22 Q.      All right.    And you continued to be friends with

23 Ms. Martin; is that correct?

24 A.      I indeed did.       I started calling her, referring

25 to her as my aunt, and she started referring to me as




                                                               Page 242
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 243 of 282



 1 "niecey ."

 2 Q.        All right.    When you first met       Ms. Martin in the

 3 first few meetings with her, were there ever any

 4 discussions between the two of you, or was there any

 5 activity between the two of you involving drugs?

 6 A.        Not at all.    Like    I stated over there,       Ms.

 7 Martin wasn't even aware of my drug use when she met

 8 me, unless she had heard about it through hearsay.

 9 Q.        All right.    Did there come a time when some drug

10 relationship did develop between you and             Ms. Martin?

11 A.        Yes, sir.

12 Q.        Tell us how that came about, please.

13 A.        Mr. Hall purchased those earrings, indeed, from

14 me, and he was -- he gave me an amount of money at my

15 home that night -- I don't remember.             I know it was

16 over $1,000.    One night       I was at a gambling joint and           I

17 got broke.     He brought me another $1,000.      He asked me

18 at that time would       I accept some cocaine for the

19 remaining portion of the money.        That night       I had been

20 gambling, and he brought me the $1,000.              I think that

21 morning   I accepted maybe 3 grams, 7 grams from            Mr.

22 Hall, and    Ms. Martin wasn't around.

23           Mr. Hall stated that        Ms. Martin was into

24 something else.        I approached    Ms. Martin at a later

25 date --   I'll say around       Christmastime -- and told her




                                                                Page 243
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 244 of 282



1 exactly what     Mr. Hall stated, because at that time           I

2 wanted something.     And going back on that conversation.

3 Ms. Martin denied totally having any knowledge of what

4 Mr. Hall had told me.          I left it alone.   He was saying

5 that she did this.     When      I approached her personally,

6 she said she didn't.          I didn't know anything about her

7 drug business to any extent like this until now.

8          Sometime in 2004 --       I think it was     February --

9 another situation arose.       Someone else was around her,

10 and they actually sold me a Sixteen in her presence,

11 and that's how the door opened at that point for us to

12 discuss anything about drugs.

13 Q.      That was in approximately,         I think you said,

14 February of '04?

15 A.      It was sometime in '04 when we actually got

16 together face-to-face like -- there was no denying              I'm

17 buying drugs, and she's aware of it at this point.

18 Q.      From that point on -- that particular incident

19 you described involving the Sixteen -- did you continue

20 to buy drugs from     Ms. Martin?

21 A.      When you say "drugs" -- I've gotten marijuana.

22 I've often tried to kick my heroin addiction without

23 seeking professional treatment or          detox .   I've gotten

24 Percocets   from Ms. Martin -- an abundance of them at

25 numerous of times, also.




                                                               Page 244
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 245 of 282



1 Q.        And cocaine?

2 A.        Powder cocaine, yes.

3 Q.        Let me ask you this, if you can tell us.          From

4 February '4 on, how often or how frequently did you

5 obtain or buy any kind of controlled substance from                   Ms.

6 Martin?

7 A.        I don't want to limit it to a number, but                I'll

8 say this.    Basically,     I was in the gambling joint or on

9 the road hustling and doing what          I do.     If    I was home

10 and I woke up ill and      I had a little bit of dope and                I

11 needed something to energize me, to move around, and it

12 wasn't dope,     I would call     Ms. Martin.      I can say

13 honestly maybe     I can recall sure two Fifties and maybe

14 three or four Sixteens from her.

15 Q.       Is that over the period from           February of '04

16 through until the time you were bus         ted in      June of '04?

17 A.       That includes that.      My birthday gift, and also

18 I think one time, if      I'm not mistaken,        I asked her one

19 time that   I needed three and three or something.                I had

20 gotten 30 Percocets and         I had gotten something else

21 from her --    I can't recall the extent of it, but             I know

22 at one point     I purchased the cocaine from her and some

23 Percocets all in the same day.       Normally it would

24 either just be one or the other, but this particular

25 time maybe on one or two occasions          I've gotten




                                                                  Page 245
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 246 of 282



1 Percocets , marijuana and the powder cocaine, but the

2 majority of the times it would have been just the

3 powder cocaine or whatever.

4 Q.         What, if you can tell us, was the most powder

5 you ever bought at one time from             Ms. Martin?

6 A.         At one time it would have to be either a

7 sixteenth --     I can't -- the government -- well, excuse

8 me.      I apologize.      I don't recall buying an eight-ball

9 from her.     Like      I said,   I only use cocaine to keep me

10 up from the heroin.       Cocaine eats up dope, so          I wasn't

11 putting a whole lot of it in my system.

12 Q.        Did you ever, ever at all point sell or

13 otherwise distribute by giving away or whatever, or

14 sharing with anybody else any of the drugs that you got

15 from Ms. Martin?

16 A.        I've never sold any drugs.      However, if me and

17 you are riding in my car together or we're sitting here

18 and you blow,       I'm the type that would say, you want a

19 blow?    Of course.     Are you talking for money?    No.            I

20 mean, if me and the person -- another individual were

21 together -- Cheryl        Levi, for example.    If Cheryl and            I

22 was together, we would share a bag of dope or coke if                        I

23 had it.    Hon, you want to blow it?      Even if         I didn't

24 offer it.    Cheryl gets high, so she's gonna say, give

25 me a blow of that.       Let me try that.    We've had




                                                                Page 246
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 247 of 282



1 different things, some she got from one of her sources

2 and some we may have copped --          I copped somewhere      else,

3 and we'll say, hon, give me a blow of that and you take

4 a blow of this.      But, no, not resell nothing.

5 Q.        Excuse me.      Let me regroup.

6           Did you ever, at any time, see any weight -- by

7 "weight " I'm talking about kilo quantities of any kind

8 of controlled substances in Ms.             Martin's house?

9 A.        The first kilo of cocaine          I've ever seen in my

10 life was right here in this courtroom.

11 Q.       So your answer is?

12 A.       Never.     I've never seen no kilo of cocaine in

13 Ms. Martin's house or nobody else's house.

14 Q.       Did you ever see any -- at least           I would call

15 them substantial quantities of money, like $400,000 or

16 $260,000, or even $10,000 in cash in            Ms. Martin's

17 house?

18 A.       No.     Ms. Martin did count out $3,000 that was

19 due me in her house at one time.

20 Q.       What was that for?

21 A.       A brown sable mink coat that Eugene Bird was

22 buying for     Teresa.    He asked   Ms. Martin to pay for it,

23 and she gave me the money right there.

24 Q.       Okay.    Did you ever receive any money from          Ms.

25 Martin for anything at all?




                                                                Page 247
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 248 of 282



 1 A.         When you say receive --

 2 Q.         Or did she ever give to you or pay you any

 3 moneys?

 4 A.         She loaned me some money before.      Like       I said,

 5 if I got broke, I could call her and ask her for money.

 6 She knew    I was a thief.     She's held some of that

 7 jewelry to sell to some other people.         Even though        I

 8 was a user,     I could pay you back $1,000.      However,       I

 9 got arrested in      Henrico   County, Virginia.      Right now if

10 my life depended on you,        I couldn't tell you the exact

11 date, but    I know it's pending about some fur coats out

12 of Alan Furs in      Henrico   County,   Virginia.

13            When I was allowed a phone call,          I called back

14 to the    District of   Columbia and had someone on a

15 three-way phone call hook me up and ask            Ms. Martin

16 would she loan me my bail money.             I believe my bail was

17 $20,000, or maybe $2,500       was needed.    It was either

18 $20,000 or $2,500 and I needed ten percent cash, and                     I

19 asked Ms. Martin would -- as a matter of fact, the

20 phone call would have came through from a 487-3304

21 number to    Ms. Martin's line, because         I called from the

22 Henrico    County Jail and called that 202 number that               I

23 just stated, and      I asked her would she put up my bail

24 and that    I would pay her back.

25            Ms. Martin indeed gave      Mr. Dobie and the




                                                                 Page 248
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 249 of 282



 1 gentleman that hooked me up with her the money.          Whose

 2 hand she put it in,       I don't know, because        I was locked

 3 up.    But because of my request to her, the $2,500 is

 4 what she kicked out for me to be released.

 5 Q.        All right.   Other than the money you paid her

 6 for the drugs, as you've testified, did you ever give

 7 her or invest with her any other moneys for any reason,

 8 specifically in connection with any drug trafficking

 9 business?

10 A.        No drug trafficking business.          I owed her $150

11 because she paid my Geico insurance for me through a

12 credit card over the phone.       Geico wanted an immediate

13 payment before terminating the insurance, and those

14 were -- it was for the vehicle that you all seen the

15 financial records for.      That was for a        Chrysler 300.

16 She put up the credit card.       She came by that same day

17 and picked up her $150-something or whatever the

18 payment was.

19 Q.        Did you ever knowingly receive from           Ms. Martin,

20 either directly or indirectly, any -- as              I say,

21 knowingly, any proceeds from any drug-related activity?

22   A.      Under no circumstances, with moral certainty,

23 did I have any proceeds from any drugs, or was involved

24 in any selling of any drugs with          Ms. Martin or any of

25 these people or anybody else.       Never.   Never.




                                                                  Page 249
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 250 of 282



 1 Q.       All right.     Now, you've talked to some extent

 2 about your prior record, and         I wanted to ask you

 3 specifically about that.

 4          You mentioned a robbery -- a simple robbery or

 5 common law robbery.     Do you remember that?      You

 6 mentioned it to the ladies and gentlemen of the jury.

 7 A.       That would be the      Montgomery County robbery,

 8 although they do consider pickpocket -- the court of

 9 law considers     pickpocketting     a robbery, also.

10          MS. GREENBERG:     Objection,      Your Honor.

11          MR. WARD:     Let's not get into the law.

12          THE WITNESS:      That's what the initial charge

13 was.

14          MS. GREENBERG:     Objection.

15          THE COURT:      Ms. Dobie, listen to your counsel,

16 and please do one question at a time.

17          BY MR. WARD:

18 Q.       On March 17, 1992, were you convicted of common

19 law robbery in the Circuit Court for           Montgomery County

20 when you were 31 years of age?

21 A.       Yes.

22 Q.       All right.     And you were incarcerated for a

23 period of eight years with all but four years

24 suspended; is that correct?

25 A.       Yes, sir.




                                                                Page 250
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 251 of 282



1 Q.          Did you come back to court on a reconsideration

2 in May of '93 and have the balance of the eight years

3 suspended?

4 A.          That's when     I went into the Second Genesis drug

5 treatment program.        Yes, that's correct.

6 Q.          That was a condition of your going into the

7 program, was it?

8 A.          They reconsidered --      I didn't do four years.       I

9 got eight years, all suspended but four.         The time from

10 the time    I was incarcerated, whatever length of time

11 that was --        I believe it was a year or something,

12 maybe, if that long.       I stayed lock locked up and the

13 judge brought me back and sentenced me to the Second

14 Genesis program.

15 Q.         In September of '97, were you sentenced on four

16 cases in the Circuit Court for          Arlington County,

17 Virginia?    First of all, let's ask that.

18 A.         When?

19 Q.         Let me put it this way.    On October 12 of 1994,

20 were you arrested in        Arlington County,    Virginia?

21 A.         Yes, I was.

22 Q.         Did those cases come before the court, and were

23 you convicted on those cases on or about            September

24 1997?

25 A.         Your Honor, may     I clarify something?




                                                                Page 251
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 252 of 282



 1 Q.        Yes.

 2           I'm sorry, Judge.         I apologize,   Your Honor.

 3           THE COURT:       If she's going to clarify something,

 4 clarify something.

 5           THE WITNESS:       When   I was over there,    Mr. Ward

 6 questioned       me about when was my addiction full-fledged.

 7 I said,   I can't remember the exact date but it was

 8 during the time when         I got arrested in     Virginia.    When

 9 he just gave me the date,           I now indeed know that that

10 stemmed from that arrest, because that's the

11 pickpocketting         case where my car was seized or towed.

12           BY MR. WARD:

13 Q.        In any event, when you were sentenced on

14 September 4, 1997, were you sentenced on a conviction

15 for conspiracy to one year incarceration?

16 A.        I'm confusing something, because the           Arlington

17 County is where         I got that ten-year sentence, and the

18 judge later reconsidered it and gave me all suspended

19 but seven.       So,    I'm confusing something.

20 Q.        Why don't you let me finish?

21 A.        Okay.

22 Q.        Let me get this down to conspiracy and

23 sentencing.      Conspiracy, one year; credit card theft,

24 two years to run concurrent with that; grand larceny,

25 ten years incarceration to five years suspended,




                                                                  Page 252
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 253 of 282



 1 consecutive to the other sentences; and failing to

 2 appear, one year, to run concurrent with the earlier

 3 sentences.     Does that sound right?

 4 A.       Actually,    I'm assuming all that come from one

 5 arrest as a inmate or the person that was charged with

 6 --

 7 Q.       Were you convicted of those offenses, whether it

 8 all came out of one arrest or not?

 9 A.       I'm being honest with you.       If that's what the

10 paper says -- I know if it's from that incident at the

11 airport, yes.

12          MR. WARD:    Let's just ask it.     Can      I ask what it

13 was?

14          MS. GREENBERG:     It's your witness, counselor.

15 It's your witness.     Just ask her the question.

16          THE WITNESS:      I know it was numerous counts, but

17 me being the person --       I just summed it up.      It all

18 stemmed from that one arrest.       But, yes, it was -- it

19 was a bunch of credit cards under that mat, so they

20 gave me numerous of counts.

21          BY MR. WARD:

22 Q.       The conspiracy.     Did that have anything to do

23 with controlled substances?

24 A.       No.   It was a conspiracy to the credit card

25 theft with some other people.




                                                                Page 253
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 254 of 282



1 Q.        All right.     In   July of 1996, were you sentenced

2 upon a finding of guilty in the          Prince    George's   County,

3 Maryland District Court for credit card -- it reads

4 "credit cards; applied for false          I. D."

5 A.        I indeed was.

6 Q.        Huh?

7 A.        Yes, I was.

8 Q.        And you were sentenced in that case,           I think, to

9 two years incarceration, with one year and 11 months

10 suspended; is that correct?

11 A.       I pleaded guilty.       I really don't remember the

12 actual sentence.

13 Q.       But you do acknowledge that conviction.

14 A.       Yes.

15 Q.       Finally, on     July 26, 1996, which happens to be

16 the same date that      I referred to you for the one you

17 just admitted.      Were you also convicted of attempted

18 credit card/impersonation in the District Court for

19 Prince   George's    County,   Maryland and sentenced to two

20 years' incarceration, with one year and 11 months

21 suspended?

22 A.       I remember the incident.         I pleaded guilty.

23 Q.       All right.     Have you ever, anywhere, in any

24 court at any time, been convicted of any kind of drug-

25 related criminal activity?




                                                                Page 254
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 255 of 282



 1 A.         If I'm guilty of something,         I plead guilty.

 2 I've never been convicted of any drugs or anything like

 3 that.

 4 Q.         Okay.   Do you recall a telephone conversation

 5 that was played when Detective            Sakala was on the stand

 6 in which    Paulette     Martin said something about your

 7 lowering the hammer on something?

 8 A.         Yes, I do.

 9 Q.         Do you recall Sergeant        Sakala opining in his

10 expert opinion that that meant that you had a gun with

11 you?    Is that correct, ma'am?

12 A.         I recall his theory.

13 Q.         All right.    Did you ever, shortly after that

14 conversation -- recorded conversation have a

15 conversation with        Paulette     Martin yourself about the

16 cap on the gun or whatever it was?

17            MS. GREENBERG:     Objection.

18            Hearsay.

19            MR. WARD:     Not hearsay,     Your Honor.    I will be

20 glad to proffer why.

21            THE COURT:    All right.

22            MR. WARD:     May we?

23            THE COURT:      You may.

24            MR. WARD:    Thank you.

25                       (At the bar of the Court.)




                                                                Page 255
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 256 of 282



 1            MR. WARD:     Your Honor, under Rule 806      .1, or

 2 806 .2, it talks about hearsay used for impeachment and

 3 rehabilitation.         I'm sorry, it's 806.   Rule 806

 4 specifies how a litigant against whom hearsay has been

 5 admitted in evidence may challenge the credibility of

 6 the declarant.     The impeaching party may use means that

 7 he could have used if the declarant had testified to on

 8 the witness stand.       It goes on to say, at the same

 9 times statements are not defined as hearsay.

10            First of all, it is a coconspirator's statement

11 which is not the way it got in in the first place.                 I

12 suggest that if        Ms. Martin had taken the stand, we

13 certainly could have questioned her about the later

14 conversation that she had.       The government knows about

15 this conversation because it's right there in the logs

16 and it says specifically that Paulette            Martin said, you

17 know, I was just joking when         I told him about that.

18            MS. GREENBERG:      Your Honor, he could certainly

19 have -- he could certainly questioned Agent             Sakala

20 about whether there were conversations and what

21 conversations they had to show that was a joke or not

22 legitimate.    But to bring up this witness for an out of

23 court statement she had with another person when it's

24 not in furtherance of the conspiracy is clearly

25 hearsay.




                                                                Page 256
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 257 of 282



 1          MR. WARD:      Your Honor, I tried to bring it out.

 2          MS. GREENBERG:      It's opening up the door to this

 3 gun stuff.      So, he's treading on thin ice.

 4          MR. WARD:     Thank you very much.     At my weight,           I

 5 don't tread on any ice.

 6          MS. GREENBERG:      We know what might happen.

 7          THE COURT:     Now, now, now.

 8          MR. WARD:      Your Honor,    I had intended to bring

 9 it up.    I tried to bring it up and there was an

10 objection by the government and          Your Honor ruled with

11 the government.     With all due respect,         I didn't agree

12 with the opinion but, as you say, you're the traffic

13 light.

14          This is what     I'm talking about,      Your Honor, and

15 I'm quoting from --

16          MS. GREENBERG:      This is not the declar       ant.    He's

17 saying Sergeant      Sakala was the declarant.

18          MR. WARD:     No , no, no.    The declarant is the

19 woman.   It's     Paulette   Martin.

20          THE COURT:     Repeat the question for me.           I

21 haven't got a perfect memory.

22          What was the question you asked?

23          MR. WARD:     The question will be, did you,

24 shortly after the conversation in which the cap is

25 referred to, which he opined about --




                                                                Page 257
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 258 of 282



 1          THE COURT:     The gun.

 2          MR. WARD:     -- did you yourself have a

 3 conversation with      Paulette     Martin about the cap and the

 4 gun, or the cap and the hammer or whatever it was.                 I

 5 proffer, and     I can show the court -- what do you call

 6 it?

 7          THE COURT:    A   transcription?

 8          MR. WARD:     What?

 9          THE COURT:     The transcription?

10          MS . GREENBERG:    The log,      Your Honor.

11          MS. JOHNSTON:     The log.    It has a short note

12 about the call.

13          MS. GREENBERG:        It's just a hammer.   There's no

14 note about what happen.

15          MR. WARD:     It's reported that       Ms. Martin says in

16 that conversation -- it was a conversation between the

17 two of them.      Ms. Martin says, oh,       I jokingly told him

18 that you had a gun.

19          MS. GREENBERG:         Your Honor, if he wanted to

20 impeach Sergeant      Sakala about it, he should have done

21 it when Sergeant      Sakala was on the stand.       If there

22 wasn't an objection made, it was because there was no

23 transcript or specific reference made.

24          This witness isn't going to be able to talk

25 about out of court statements she had with another




                                                                Page 258
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 259 of 282



 1 defendant when it's not part of the conspiracy, and

 2 it's complete and rank hearsay.

 3           THE COURT:    Her statement?

 4           MS. GREENBERG:     Her discussion with       Ms. Martin.

 5           THE COURT:    What she said to      Ms. Martin?

 6           MS. GREENBERG:     She wants to talk about her

 7 discussion with       Ms. Martin offered for the truth of the

 8 matter.

 9           THE COURT:    Why can't she say what she said to

10 Ms. Martin?

11           MS. GREENBERG:     It's hearsay.   It's between two

12 people out of court.       It's an out of court statement --

13 her talking to     Ms. Martin out of court.

14           THE COURT:     She's here on the stand.

15           MS. GREENBERG:      Your Honor, it's still hearsay.

16 It's an out of court statement when they have a

17 discussion.    It's self-serving.     She cannot get on the

18 stand and talk about conversations she had with other

19 people.   That is hearsay, unless it falls into some

20 other exception.

21           I do not appreciate counsel laughing at the

22 bench.

23           MR. WARD:     I'm laughing, because if       I haven't

24 been practicing law as long as          I've been practicing       I

25 would think you were joking.




                                                                Page 259
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 260 of 282



 1            MS. GREENBERG:       Your Honor,   I will be glad to

 2 find a case over the weekend, because this is basic --

 3            MR. WARD:     I'm sure you will.

 4            Judge,   I won't only want to bring in what my

 5 client said to      Paulette Martin.    I want to bring in

 6 that, by the way        I joked with so-and-so and told him

 7 that you had a gun.         I think that that makes it clear.

 8            THE COURT:    First of all, is that a recorded

 9 call that you've transcribed?

10            MR. WARD:    Yes.     I haven't transcribed it, but

11 the best evidence        Your Honor is the recording.      In

12 fact, the only evidence is the recording itself.                I

13 will be glad to have Sakala come in and play the

14 recording, if the government promises not to jump all

15 over me.

16            MS. JOHNSTON:       Your Honor, if the counsel       wants

17 to p lay recordings, they have can play copies of

18 recordings and they can play them themselves, but I

19 think Ms. Greenberg's point is -- has nothing to do

20 with how they presented it.        It has to do with

21 questioning this witness.           I don't want to speak,

22 because    Ms. Greenberg --

23            THE COURT:    W ell, my question -- maybe       I'm being

24 slow today, on      Friday afternoon.

25            MR. WARD:    Want some percocet here, Judge?




                                                                Page 260
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 261 of 282



 1            THE COURT:    No.   I have no Percocet.    Disregard

 2 what I've said about        Percocet.     I'm take Extra-Strength

 3 Tylenol and       I'm squeeze squeezing this little black

 4 ball.    Maybe     I'm a little slow, but why is it not

 5 proper form her to tell what she told            Ms. Martin?

 6            MS. GREENBERG:       Your Honor, the witness can't

 7 get on the stand and state what conversations she had

 8 with people out of court.        If they want to introduce it

 9 as coconspirator's statements and she says,               I had

10 discussions with her about dealing drugs and things

11 like that, not just that I had discussions with her

12 about how we're not going to, you know, use guns or

13 we're not going to, you know --

14            THE COURT:     I understand.

15            MS. GREENBERG:      -- we're going to go buy

16 clothes.    It's hearsay.

17            THE COURT:    My question is, if      I limit    Mr. Ward

18 at least today, absent there being something being

19 played of what she has said to          Ms. Martin, what is the

20 issue?

21            MR. WARD:    Your Honor, first of all, that's not

22 hearsay, because the declarant, i.e.,            my client, is on

23 the stand and subject to cross-examination.

24            THE COURT:    That's why     I'm asking you the

25 question.    If     I limit you in your examination of your




                                                                Page 261
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 262 of 282



 1 client at this time to asking her what if anything did

 2 she say to     Ms. Martin in this conversation, on this

 3 date about a gun --

 4           MR. WARD:    What    I want to come in and what         I

 5 firmly believe was permitted under the rule is the

 6 statement by     Ms. Martin -- we're not talking about

 7 Sakala being --

 8           THE COURT:     I'm not privy to this call.      What

 9 does Ms. Martin say?

10           MR. WARD:    Would you give me just a second,               Your

11 Honor?

12           Your Honor, the call that was played was B289.

13 B289 was played, and it was an outgoing call to a

14 Robert    W. Warren, and      Paulette says -- there's actually

15 a transcript.

16           THE COURT:    That was a call from        Paulette     Martin

17 to who?

18           MR. WARD:    To a    Robert    Warren.   I don't know who

19 he is.     Paulette said he told         Tony it was probably to

20 avoid pulling the trigger on the hammer that she

21 carries with her.      Sakala opined that what that meant

22 was she carried a gun with her.          Now, that conversation

23 was on March 1 at 13:22, or 1           :22 p.m.

24           MS. GREENBERG:       Your Honor, here's the relevant

25 portion of what's in evidence:          Trigger on the hammer.




                                                                Page 262
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 263 of 282



 1 Sergeant    Sakala said "hammer" referred to a gun.         That

 2 was the extent --

 3            THE COURT:    That's been done?

 4            MS. GREENBERG:    Yes.

 5            MR. WARD:    Call 284 was an outgoing call to

 6 Lavon and Goldie        Dobie.

 7            MS. GREENBERG:    That would be before this call?

 8            MR. WARD:    That's correct.       I didn't record

 9 these calls.     That's what it is.          Paulette calls      Becky

10 telling her "blah-blah-blah," and she's talking about a

11 conversation and, "he said           Becky was shaking,"      Paulette

12 jokes, and she told him that           Becky was -- jokes that

13 she told him that        Becky was carrying a weapon.      In

14 other words, she's making this --            Paulette   Martin is

15 making this statement to Ms.           Dobie that she jokingly

16 said to the person that you're carrying a weapon.

17            MS. GREENBERG:        Your Honor, first of all, he's

18 saying what he proffered to the court is that this

19 conversation that was played,           B289, and that the reason

20 to introduce it was because he was going to impeach

21 Sergeant    Sakala and his definition of what a hammer was

22 and that the parties were joking.         Now the call he's

23 referencing to, without being clear who the identified

24 parties are, happened before in this call.         I don't see

25 how there could be a call before this call to impeach




                                                                   Page 263
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 264 of 282



 1 it.

 2          THE COURT:      I'll tell you what, counsel.       Why

 3 don't you do this?     This is an esoteric issue.       For now

 4 let's leave this esoteric issue until            Monday.   Why

 5 don't you continue with other matters and we'll discuss

 6 this matter on     Monday afternoon.

 7          MR. WARD:     Thank you, Judge.

 8                        (Back in open court.)

 9          BY MR. WARD:

10 Q.       Ms. Dobie, you recall a telephone conversation

11 that was played for the jury when Sergeant             Sakala was

12 on the stand, where       Paulette   Martin was complaining

13 that you had gone over there in the middle of the night

14 banging on the door and banging on the windows and so

15 forth and making, generally, a nuisance of yourself?

16 Do you understand?

17 A.       I remember.

18 Q.       Was that or was that not one of the occasions

19 when you went over there to --

20          MS. GREENBERG:     Objection to the leading.

21          THE COURT:      Rephrase the question.

22          BY MR. WARD:

23 Q.       Can you tell us the purpose for which you went

24 over there and banged on the doors and windows in the

25 middle of the night?




                                                                Page 264
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 265 of 282



 1 A.       It could either have been to borrow some money

 2 because the gambling --        I may have gotten broke at the

 3 gambling joint, or it either could have been to get

 4 some cocaine from her.

 5          MS. GREENBERG:     Objection to what may have been,

 6 Your Honor, and move to strike.

 7          THE COURT:     Overruled.

 8          BY MR. WARD:

 9 Q.       All right.    Let's turn now to the June 1, '04

10 raid on your house.     Do you recall that?

11 A.       Yes, I do.

12 Q.       All right.    Among the items found under the bed

13 -- I believe on the right-hand side of the bed,

14 underneath, was a box.      It may have been a cracker box

15 or something like that -- two boxes.

16          In any event, there were two guns there; is that

17 right?

18 A.       Two guns in one box.

19 Q.       Can you put your hand out?       Two guns in one box?

20 A.       Yes.

21 Q.       I want you to tell the ladies and gentlemen of

22 the jury if you knew about those guns before the raid;

23 and if you did how you knew about them; and under what

24 circumstances you got to know about them.

25 A.       I did know about the guns prior to the police




                                                                Page 265
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 266 of 282



1 coming into my home.          I was going to the bathroom or

2 doing something in my home, maybe --           I don't know for

3 sure --    I know for a fact that it wasn't more than 48

4 hours prior to the raid, and exactly what time               I don't

5 remember.     My bedroom --      I don't have the picture --

6 y'all seen the pictures of the house.         My bedroom sits

7 across from two bedrooms -- two bathrooms on the same

8 level in my home, and         I was going into the bathroom and

9 I heard my son's voice.       He's a teenager.    He wasn't

10 there when I had went to sleep or whatever.

11 Q.        Excuse me.    This was   Ta'Vaughn ?

12 A.        Ta'vaughn .   Goldie's locked up.

13 Q.        What time of the day or night was this?

14 A.        To be honest,    I really can't say, because        I was

15 awakened.     I woke up to use the restroom.      From my room

16 to the bathroom --      I couldn't tell what time of day it

17 was.   Only once    I went into my son's room.      That's when

18 I looked out, you know, and        I could see the window,

19 because where his bed is it's a window right there.

20 And I'm coming in the door and I'm not --

21 Q.        Was it daytime or nighttime?

22 A.        I would say it was maybe evening-time.       It

23 wasn't 10 o'clock in the morning for sure.        It wasn't

24 bright like that outside, but it wasn't pitch black

25 either.     I entered the bedroom door -- went right in.




                                                                Page 266
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 267 of 282



1 My son was standing -- he was actually at the end of

2 the bed sitting with a gun in his hand.         It was another

3 gun laying on the bed with a kid which is a friend of

4 my son's which      I call a "play little nephew" or

5 whatever.

6             Immediately, without thinking,       I went to grab

7 the gun.      My son said, wait a minute, Ma.     It's not --

8 you know,     I guess he was in the process of loading it

9 or whatever.      When   I seen that he had it in his hand

10 like this (Witness indicating) --          I've been shot before

11 -- I immediately went and reached for the gun.         He at

12 that point, more or less, like, grabbed my hand with

13 the gun and said, wait a minute, Ma.        Let me do this to

14 make sure.     At that point he said, let me do it.      He

15 said, well, push it all the way in.           I got the gun like

16 this and    I did like this and pushed the bottom of it

17 which, as    I learned in this courtroom, was the clip of

18 that gun.    That's where my      DNA test came up on that

19 gun. I beat him to reach --        I grabbed the gun like

20 this, and both of them tried to convince me -- my son

21 and his friend said, Ma, the gun belongs to somebody

22 else and they gonna get mad.      I said, tell them to come

23 see me.     I'm not giving you this gun.     At that point         I

24 asked my son, does this have anything to do with you

25 being afraid for your life?      Ma, it ain't like that.




                                                                 Page 267
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 268 of 282



 1          MS. GREENBERG:     Objection.

 2          THE WITNESS:     At that point --

 3          MS. GREENBERG:     Objection.

 4          THE COURT:     What's the basis?

 5          MS. GREENBERG:     Hearsay.

 6          THE COURT:     Please do not tell what someone else

 7 told you.

 8          THE WITNESS:     Well,    I questioned -- okay,       Your

 9 Honor.    I questioned my son -- due to my other son's

10 case and incarceration       I questioned my 17 year-old to

11 make sure his life wasn't in jeopardy or he wasn't in

12 fear for his life.

13          BY MR. WARD:

14 Q.       Ms. Dobie, why on Earth would you take two

15 loaded guns out of the hands of two teenagers?

16 A.       Why?

17 Q.       Yes.   Why?    Tell the ladies and gentlemen of the

18 jury.

19 A.       I feel as though      I've lost one of my sons to the

20 system and to my own negative behavior and lacking in

21 parenting skills because of my past bad choices.                I

22 seen my son with a gun -- I've been shot myself in the

23 chest by a gun before and         I carry the bullet with me

24 today.    I would have done it for anybody's kid.

25          Even after being here today,         I would still do




                                                                Page 268
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 269 of 282



 1 it.    In them group homes      I worked at, every day       I tried

 2 to save somebody else's child.            I was going to make

 3 sure that my 17 year-old son didn't accidentally shoot

 4 himself or that kid that was in that room at that time

 5 and date or didn't go out there and shoot or kill

 6 somebody else in society.

 7           I took the guns from them that the moment            and

 8 went back into my room, after           I assured them that it

 9 was nothing neither one of them could have said to me

10 to get them guns back from me.

11 Q.        Ms. Dobie, did you think at the time that you

12 were a convicted felon and that your mere possession of

13 the gun was a federal crime?

14 A.        It didn't matter about my past.       It was about my

15 kid.    I even wrote the government a letter in this case

16 stating --

17           MS. GREENBERG:     Objection,     Your Honor.

18           THE WITNESS:     -- stating     I would take

19 responsibility for those guns.

20           MR. WARD:    That's all you can say about that.

21           THE COURT:     Sustained.

22           BY MR. WARD:

23 Q.        Did your having those guns and putting them in

24 the boxes under the bed have anything -- anything at

25 all to do with any drug trafficking activity by you?




                                                                Page 269
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 270 of 282



 1 A.        With a moral certainty in the name of           God and

 2 his Disciples, the guns never left my home.          They never

 3 left out that house after        I took them from my sons.

 4           I went in my room,      I emptied the crackers out of

 5 the box -- the crackers were prepackaged, like, Ritz

 6 crackers, but they're not round.        They're the square

 7 crackers.    I placed the remaining of the crackers at

 8 the end of my bed, which was a hamper -- a nice wicker

 9 hamper.   I took the guns and placed them in the box,

10 went under my bed and placed them under my bed, opened

11 the chest of drawers, slammed the chest of drawers,

12 slammed the closet door to throw my son off to where                I

13 may have been hiding the guns.            I never even removed

14 the guns.

15           The next time    I seen the guns was on June 1,

16 '04.    I never left my home after that incident with the

17 guns.   The police know      I didn't.     They were watching my

18 home --

19           MS. GREENBERG:     Objection.

20           THE WITNESS:     -- for this raid.

21           THE COURT:     Sustained.

22           Disregard what the witness said.

23           BY MR. WARD:

24 Q.        Did it ever occur to you,        Ms. Dobie, when you

25 found these young men with the guns and took them away,




                                                                Page 270
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 271 of 282



1 to call the police and turn them in?

2 A.         No, it did not.      I wouldn't have called the

3 police and told the police that          I just took two guns

4 from my son.         I would be lying to you all to tell you

5 all that.         I'm not that confident with the police

6 through my own personal behavior and stuff.               I wouldn't

7 have picked up the phone and called the police.

8 Q.         Ms. Dobie, also in your house was -- aside from

9 some traces of cocaine and heroin, I believe there were

10 some empty bags with residue?

11 A.        Yes.

12 Q.        Do you know where they came from?

13 A.        Sure.     I would have had them in my home.

14 Q.        Was your husband using drugs at that time?

15 A.        found out my husband had relapsed through

16 parole and probation when they requested him to go into

17 treatment.       Prior to that, he had denied using to me.

18 I was the addict.

19 Q.        There was one box under the bed which had in it

20 -- I think it had a letter addressed to your husband as

21 "Julian   Dobie."     Do you recall that testimony?

22 A.        Yes, I do.

23 Q.        In the same box, according to detective -- the

24 detective who testified -- the gentleman with the

25 ponytail?




                                                               Page 271
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 272 of 282



 1 A.       I recall it.

 2 Q.       According to him, there was a bag with 11            .65

 3 grams of --     I believe it was heroin; is that correct?

 4 A.       Can you repeat that again?

 5 Q.       11 .65 grams of heroin.

 6 A.       Let me make sure      I understand the question.

 7          That's what it's alleged that was in my home?

 8 Q.       I'm saying that as       I understood it -- certainly,

 9 the jury's recollection controls -- Detective              Papalia

10 says -- showed it in court here that this was in a box

11 under the bed, together with a letter,            I think,

12 addressed to "Julian       Dobie."    Do you recall that

13 testimony?

14 A.       I recall his testimony.

15 Q.       Did you have any prior knowledge of that

16 substance before the raid?

17 A.       I didn't see a box.

18          Can I explain fully?

19 Q.       Yes.    I'm sorry.    In the absence of an

20 objection?

21          THE WITNESS:      Your Honor, can      I explain fully?

22 He's mentioning a box       I never   seen.

23          THE COURT:     You may explain something, but you

24 may not do that in a manner that describes what

25 somebody else told.




                                                                Page 272
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 273 of 282



 1           THE WITNESS:     Okay.      I never seen the box.        I

 2 didn't learn about the box until another the court

 3 hearing which was April 6, '05.        That's when        I learned

 4 about a box that had been pulled under my bed somewhere

 5 -- that particular box, not the cracker box with the

 6 guns.   On June 1, '04 the gentleman -- the Detective

 7 Papalia   who testified here, he came down the steps and

 8 he had us all placed in the living room of my home.           He

 9 came down the steps with a baggy.         He said, "Got it."

10 I said, "Got what?"      And he showed that.          I said,

11 "That's not mine."     He at that point asked somebody for

12 a kit and did a test and shook his head.         If some drugs

13 were found in my home that day, Detective             Papalia

14 didn't find any drugs.

15           MS. GREENBERG:     Objection as to what Detective

16 Papalia   did, Your Honor.

17           THE COURT:     Overruled.

18           THE WITNESS:     That day he acknowledged in front

19 of me and the rest of those agents --

20           THE COURT:     Ms. Dobie, do not say what he said.

21 Say what he did.

22           THE WITNESS:     He tested --

23           BY MR. WARD:

24 Q.        Let me ask you this.     Did you hear him testify

25 in court about doing a test?




                                                                 Page 273
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 274 of 282



 1 A.         Yes.

 2 Q.         Did you hear him say that the test turned out to

 3 be negative?

 4 A.         Yes.

 5 Q.         Okay.   There was a double-something scale found

 6 in the basement.

 7 A.         A triple beam.

 8 Q.         A triple beam.     I'm sorry,    I was thinking double

 9 beam, but triple beam.

10            Were you aware that that triple beam scale was

11 down there?

12 A.         Yes.    I placed it --   I believe they may have

13 found it on one of the upper shelves in the basement.

14 I placed it there in a green garbage bag.

15 Q.         Why had you had or possessed that triple beam

16 scale?

17 A.         Actually,   I had got the scale from someone.              I

18 had got an abundance of jewelry -- heavy jewelry --                   I'm

19 not talking about diamonds or diamond rings.          It was

20 some pieces that actually had some brooches on them.

21 Later --    I mean, they were taken in this case.              I've

22 weighed some of the gold on them, and particularly                I

23 obtained that scale for this lot of jewelry             I had

24 recently obtained prior to this arrest.              I hadn't had

25 the scale that long.        I didn't purchase it brand new.




                                                                  Page 274
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 275 of 282



1 I wanted to sell the items that were seized as bulk

2 weight or whatever, and that's why that particular

3 scale was in my basement.

4 Q.       There were two other digital scales that were

5 found, as    I recall.      I think one was found in the box

6 with the substance that was tested by Detective              Papalia

7 and one was found somewhere else.

8          Can you tell the jury what you know about the

9 digital scales?

10 A.      I can tell you what        I know about the digital

11 scale that was found in the night stand drawer.               I had

12 never seen the box, and to this day          I haven't seen the

13 actual box how it was supposed to be found.              I seen

14 something and     I tried to --     I even asked     Mr. Ward,

15 could they unwrap something they set up here that said

16 was this white box before         I would know, too.      I had

17 never seen before either.     However, in the night stand

18 drawer -- I believe it would have been the left-hand

19 side, but it may have been the right.              I'm assuming it

20 would have been the left-hand side, maybe, that they

21 found a scale.

22 Q.      Excuse me.      Was that your side of the bed, the

23 left-hand side?

24 A.      Actually, either side.       A lot of times -- like            I

25 said, we were both gamblers and we were both hustlers.




                                                               Page 275
    Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 276 of 282



1 He may have went out of town and          I might have slept on

2 either side.      The phone stayed on the right side of the

3 bed.   So if     I'm in the bed by myself,       I'm going to be

4 on the right side.      If he's out and prior to him coming

5 home, he will have to say, Stink, slide over.          But it's

6 no either side.     He didn't smoke cigarettes but I had

7 Kool cigarettes on the right-hand side of the bed and I

8 had some on the left-hand side.       So, to be honest with

9 you, it wasn't a left side or right side that was his

10 or mine.     Whoever got in the bed first --

11 Q.         In any event, that digital scale in the night

12 stand or whatever it was on the left side.        What could

13 you tell the jury about that?

14 A.         I don't think it should have had any traces on

15 it, the one that was on the left side.            I'm not going

16 to sit here and lie to      y'all that I've never weighed

17 any cocaine or anything else on it.       If      I copped a

18 sixteenth,     I would snort some prior to getting home.

19 If I copped two or three grams of heroin, prior to

20 getting home I'm going to take a blow of it because

21 it's not for resell.     It's for me.    So,      I'm going to

22 take a blow of it.       I may go home because       I have these

23 scales, and     I can put it on the scale and weigh it.         If

24 it's way off, common sense lets me know that if             I

25 purchased three grams, from time         I got home from 2600




                                                               Page 276
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 277 of 282



 1 block of    Georgia to the 7400 block of Ninth Street --

 2 that's right past       Walter Reed -- I ain't snorting no

 3 gram of dope and driving the car.            I'd be dead.    So     I

 4 could put the stuff on the scale and know if the person

 5 had cheated me or whatever.       Basically, even if         I'm

 6 copping out of Chuck & Billy's,           I know the same person

 7 I'm dealing with it may be two or three people and this

 8 is where they sell their drugs at at this bar, that                 I

 9 could always go back and say, that wasn't right.          That

10 was a half a gram short or whatever.             I was a addict.

11 I used.     I never purchased less than a 50 or a gram of

12 it, so it wasn't like       I was a $5 or $10 customer.       The

13 person would have straightened it up or whatever.

14            THE COURT:    Mr. Ward, unless you have, like --

15            MR. WARD:    I have, really.

16            THE COURT:    -- one more question on this

17 subject?

18            MR. WARD:    Well, it's not -- it's one -- we're

19 going to carry over until Monday anyway.

20            THE COURT:    We're going to carry over.     Unless

21 you're going to lose your train thought, let's adjourn

22 for the weekend.

23            MR. WARD:    It's not going to interrupt my train

24 of thought.

25            THE COURT:    Fine.   We will freeze that thought




                                                                Page 277
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 278 of 282



 1 right in mid-word, and we will resume on              Tuesday at 9

 2 o'clock with the jury.

 3          Counsel and the parties on          Monday at 2:00 or

 4 earlier, if you can get here.         2:00 or 1      :30.

 5                          (Jury excused at 4:27 p.m.)

 6          THE COURT:      Counsel, stay behind.

 7          Mr.   Martin.

 8          MR. MARTIN:      Yes, sir.

 9          THE COURT:       I have been advised by the marshals'

10 office that the Prince          George's County Detention Center

11 is going to do their best to have your client seen by a

12 dentist on     Monday.    They will advise me and the marshal

13 of the results of that examination.               I have told them

14 that your client has advised me that he has some dental

15 device, whether it's bridge or a cap or --

16          MR. MARTIN:      It's a bridge.

17          THE COURT:      -- or crown,      I don't know, that has

18 simply come loose.       So     I have simply said, in my

19 unsophisticated dental language, tell the dentist to

20 bring glue.

21          MR. MARTIN:      A bonding agent.

22          THE COURT:      They would probably call it an

23 adhesive.

24          MR. SUSSMAN:         Judge, before you leave.      Since

25 we're doing the charge on the instruction thing, my




                                                                  Page 278
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 279 of 282



 1 client would prefer not to be here and would waive her

 2 presence.      I don't know about other people.           Mr.

 3 Martin's has dental responsibilities.

 4            Mr. Hall:    My client has no problem waiving.

 5            THE COURT:     We're going to be discussing the

 6 charge and we're going to be discussing the verdict

 7 form, and we will be discussing the issue of the

 8 recordings.     Those are all matters that are not

 9 testimonial.     They're legal matters.     If they wish to

10 -- it might be arguable as to whether they can or

11 cannot be present if they wish to affirmatively waive

12 on the record their right to be present.

13            MR. MONTEMARANO:      Ms. Martin will waive her

14 presence and would request not to be transported on

15 Monday regarding that.

16            MR . HALL:   I do, too, with my client        Mr.

17 Whiting,     Your Honor.

18            THE COURT:     Let's do it one at a time.

19            Mr. Goodwin.

20            MR. MARTIN:     Mr. Goodwin also waives his

21 presence.

22            THE COURT:     Ms. Martin, you understand you had a

23 right -- you may have a right to be present during the

24 proceedings on      Monday, and you're willing to waive your

25 presence?




                                                                  Page 279
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 280 of 282



 1            MR . MONTEMARANO:    She understands,        Your Honor.

 2 I've advised her.

 3            THE COURT:    Mr. Goodwin, do you understand you

 4 have a right to be present on          Monday or may have a

 5 right?     Do you wish to waive that right?

 6            DEFENDANT GOODWIN:        I'm going to get my teeth

 7 fixed.     Yes, sir.

 8            THE COURT:    Mr. Whiting?

 9            DEFENDANT WHITING:     I waive my right.

10            MR. WARD:    Your Honor,        I've just discussed in

11 front of the marshals with         Ms. Dobie her right to be

12 present.     She tells me she wishes to waive her

13 presence.

14            THE COURT:    Do you wish to waive your right as

15 well?

16            DEFENDANT DOBIE:       I decline to be here.

17            THE COURT:    I'm giving you the right not to be

18 here.

19            DEFENDANT DOBIE:       Thank you.

20            THE COURT:    Mr. Bynum.

21            MR. MITCHELL:       Your Honor,     I've spoken to    Mr.

22 Bynum and he wishes to be here             Monday.

23            THE COURT:   We will have him transported            Monday.

24            THE COURT:   Ms. Harden     ?

25            DEFENDANT HARDEN:       I waive my presence.




                                                                   Page 280
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 281 of 282



 1          THE COURT:    Do you wish to be present on           Monday,

 2 Ms. Ali?

 3          DEFENDANT ALI:       Yes, I waive my presence.

 4          THE COURT:     All right.    We will only have one

 5 defendant here on      Monday, and that's      Mr. Bynum.

 6          MS. JOHNSTON:       Your Honor, can we get the list

 7 or the order of witnesses for         Tuesday?

 8          THE COURT:     Counsel, be sure to give         Ms.- --

 9          MS. JOHNSTON:     There's been discussions          Ms.

10 Ali's going next.

11          THE COURT:     We don't want us running out of

12 witnesses.

13          MS. JOHNSTON:     We would like to be prepared.

14          THE COURT:     Could you please communicate that to

15 Ms. Johnston today, counsel?

16                        (Off the record at 4      :28 p.m.)

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                                                                Page 281
     Case 8:04-cr-00235-DKC Document 1201 Filed 04/30/08 Page 282 of 282



 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al,     Criminal Action Number        RWT -04-0235 on

10 July 28 , 2006.

11

12       I further certify that the foregoing            281 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this     31st day of March 2008.

19

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21                                    __________________________

22                                    TRACY RAE DUNLAP, RPR , CRR
                                      OFFICIAL COURT REPORTER
23

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                                                                Page 282
